Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25            Page 1 of 528 PageID #:
                                          2754



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


 BARDY DIAGNOSTICS, INC.,

                Plaintiff,
                                                  C.A. No. 24-1355-JDW
        v.
                                                  JURY TRIAL DEMANDED
 IRHYTHM TECHNOLOGIES, INC.,

                Defendant.


                             SECOND AMENDED COMPLAINT

       Plaintiff, Bardy Diagnostics, Inc. (“Bardy”) files this complaint against Defendant

iRhythm Technologies, Inc. (“iRhythm”), seeking damages and other relief for patent

infringement, alleging as follows:

                                      Nature of the Action

       1.      This is a civil action arising under the patent laws of the United States,

35 U.S.C. § 1 et seq., including specifically 35 U.S.C. § 271, seeking relief arising out of

iRhythm’s infringement of U.S. Patent No. 12,161,473 (the “’473 Patent”), U.S. Patent No.

12,171,562 (the “’562 Patent”), U.S. Patent No. 12,285,261 (the “’261 Patent”), and U.S. Patent

No. 12,310,735 (the “’735 Patent”) (collectively, the “Asserted Patents”).

       2.      Bardy is the owner by assignment of the ’473 Patent. A copy of the ’473 Patent is

attached as Exhibit 1.

       3.      Bardy is the owner by assignment of the ’562 Patent. A copy of the ’562 Patent is

attached as Exhibit 2.

       4.      Bardy is the owner by assignment of the ’261 Patent. A copy of the ’261 Patent is

attached as Exhibit 16.
Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25            Page 2 of 528 PageID #:
                                           2755



         5.    Bardy is the owner by assignment of the ’735 Patent. A copy of the ’735 Patent is

attached as Exhibit 17.

                                           The Parties

         6.    Bardy is a corporation organized and existing under the laws of the State of

Delaware, with its principal place of business at 220 120th Ave NE, Suite 100, Bellevue, WA

98005.

         7.    Upon information and belief, iRhythm is a corporation organized and existing

under the laws of the State of Delaware since September 14, 2006.

         8.    Upon information and belief, iRhythm has its headquarters and principal place of

business at 699 8th Street, Suite 600, San Francisco, California, 94103.

         9.    According to iRhythm’s website, iRhythm is a “digital healthcare company that

creates trusted solutions that detect, predict, and prevent disease. Combining wearable biosensors

and cloud-based data analytics with powerful proprietary algorithms that distill data from millions

of heartbeats into clinically actionable information.”

         10.   According to iRhythm’s 2023 Form 10-K, iRhythm “offer[s] remote cardiac

monitoring technology and also function[s] as [a] diagnostic service provider[].”

         11.   iRhythm and Bardy are and have been competitors in the cardiac or

electrocardiogram (“ECG”) monitoring field.

                                     Jurisdiction and Venue

         12.   This action arises under the patent laws of the United States, 35 U.S.C. § 1, et seq.

This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

         13.   Upon information and belief, as a corporation organized and existing under the laws

of the State of Delaware, iRhythm has substantial and continuous contacts with Delaware and has




                                                 2
Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25             Page 3 of 528 PageID #:
                                          2756



committed acts of infringement in Delaware sufficient to confer personal jurisdiction over

iRhythm.

        14.     Upon information and belief, iRhythm is a commercial entity that makes, uses,

advertises, offers for sale, and/or sells heart monitors, including but not limited to ECG monitors

and ECG monitoring services. iRhythm currently manufactures, makes, uses, advertises, offers

for sale, and/or sells certain ECG monitoring products, including at least the Next-Generation Zio

Monitor (the “Zio Monitor”).

        15.     Upon information and belief, iRhythm makes its Zio line of ECG monitors

available to healthcare providers and patients in Delaware.

        16.     Venue properly lies in this Court under 28 U.S.C. §§ 1391 and 1400(b) because

iRhythm, as a Delaware-incorporated corporation, resides in Delaware.

               Background and Ambulatory Cardiac Monitoring Devices Market

        17.     The ambulatory cardiac monitoring devices market can be segmented into Holter

monitors, ECG devices, event monitors, mobile cardiac telemetry, and implantable loop recorders.

Ex. 3, at 1.




Id.



                                                3
Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25             Page 4 of 528 PageID #:
                                          2757



       18.     ECG devices accounted for the largest market share of 38.9% in 2022, and the

demand for ECG devices is expected to continue to grow due to the increasing incidences of

cardiovascular disease and hypertension worldwide, coupled with the ease of access, continuous

monitoring, and high accuracy capabilities of the devices. Id. at 2. According to a study conducted

by the World Health Organization, 17.9 million people die every year due to cardiovascular

diseases, which accounts for 32% of the total deaths globally. Id.

       19.     Bardy was founded in 2013 by an electrophysiologist and entrepreneur, Gust H.

Bardy, M.D., to overcome common challenges in ambulatory cardiac monitoring.               Having

witnessed firsthand his late wife’s medical challenges, Dr. Bardy sought to elevate the cardiac

standard of care by developing a long-term ECG monitor for identifying arrhythmias.

       20.     Since its founding in 2013, Bardy has been a leading global manufacturer of cardiac

monitoring solutions. For example, Bardy manufactures, markets, and sells an industry leading

electrocardiography monitor called the Carnation Ambulatory Monitor, or CAMTM Patch (shown

below).




                                                4
Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25            Page 5 of 528 PageID #:
                                           2758




       21.     The CAMTM Patch is widely recognized as the first P-wave centric ECG patch

monitor. This innovation was significant because P-wave analysis was traditionally performed

using 12-lead ECGs. Although clinically effective, the traditional 12-lead ECG monitor had

several drawbacks. Namely, the traditional 12-lead ECG monitor required patients to remain

stationary due to the multiple wires or leads connected to electrodes or sensors, with the connected

electrodes needing precise placement on the body for accurate readings.           As a result, the

application and wear of the traditional 12-lead ECG system had to be handled carefully to avoid

inaccurate and unusable results.

       22.     The CAMTM Patch monitor was revolutionary in that it is a P-wave centric ECG

wearable monitor designed to be adhered to a patient’s chest without physically restricting the

patient’s mobility during use. The CAMTM Patch monitor is worn on a patient’s chest and




                                                 5
Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25            Page 6 of 528 PageID #:
                                           2759



continuously records ECG data for up to 14 days. The CAMTM Patch monitor is wearable during

sleep, shower, and exercise.

       23.     Beginning on September 23, 2013, Bardy inventors sought patent protection for

these important innovations across a family of patents. This new and innovative body-worn

ambulatory ECG monitor allowed physicians and healthcare providers to more effectively and

efficiently monitor their patients remotely for longer periods. Not only did the patented inventions

improve the quality and amount of data collected, but it also significantly reduced the cost of

monitoring patients over long periods of time remotely as opposed to having the patient remain in

a clinical setting during the monitoring period.

       24.     In addition, these patented inventions allowed for reporting of serious cardiac

events, such as atrial fibrillation (“AFib”). AFib is an irregular heartbeat, or arrhythmia. It is a

serious condition that can lead to blood clots, stroke, heart failure, and other heart-related

complications. According to the American Heart Association, over 12 million people are projected

to have AFib by 2030.

       25.     Bardy has numerous U.S. and international patents that cover the innovative

CAMTM Patch monitor.

       26.     In 2021, Bardy was acquired by Hill-Rom Holdings, Inc. (“Hill-Rom”), a leading

global medical technology company.

       27.     In 2017, prior to Hill-Rom’s acquisition of Bardy, Hill-Rom strengthened its focus

on diagnostic cardiology and patient monitoring through its acquisition of Mortara Instrument, Inc.

(“Mortara”), a leader in the field. Even earlier, in 2015, Hill-Rom acquired another leading global

medical technology company, Welch Allyn, Inc. (“Welch Allyn”).




                                                   6
Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25              Page 7 of 528 PageID #:
                                           2760



       28.     The 2021 acquisition of Bardy brings together the innovative research and

development teams of Mortara and Welch Allyn with Bardy.

       29.     Today, Bardy continues to be a leading global manufacturer of physical

examination instruments and accessories and electronic medical record connected vital sign and

cardiac monitoring solutions through its manufacturing, marketing, and selling of the CAMTM

Patch monitor, a leading remote cardiac monitoring solution.

                                      The Asserted Patents

       30.     Bardy is the assignee of the entire right, title, and interest in numerous United States

patents, including the ’473 Patent, the ’562 Patent, the ’261 Patent, and the ’735 Patent.

       31.     The ’473 Patent is titled “Electrocardiography Patch” and was duly and legally

issued on December 10, 2024, and is assigned to Bardy.

       32.     The ’473 Patent claims, among other things, an electrocardiography monitor patch.

       33.     The ’562 Patent is titled “Electrocardiography Patch” and was duly and legally

issued on December 24, 2024, and is assigned to Bardy.

       34.     The ’562 Patent claims, among other things, an electrocardiography monitor patch.

       35.     The ’261 Patent is titled “Moisture-Resistant Electrocardiography Monitor” and

was duly and legally issued on April 29, 2025, and is assigned to Bardy.

       36.     The ’261 Patent claims, among other things, an electrocardiography monitor patch.

       37.     The ’735 Patent is titled “Extended Wear Ambulatory Electrocardiography

Monitor” and was duly and legally issued on May 27, 2025, and is assigned to Bardy.

       38.     The ’735 Patent claims, among other things, an electrocardiography monitor patch.




                                                  7
Case 1:24-cv-01355-JDW            Document 48-1 Filed 06/02/25          Page 8 of 528 PageID #:
                                             2761



                                            iRhythm

       39.     iRhythm was founded by Uday Kumar in 2006, and currently iRhythm makes, uses,

advertises, offers for sale, and/or sells various ECG monitoring products, including the Zio

Monitor. See Ex. 4.

       40.     According to iRhythm’s website, iRhythm’s technology “combin[es] wearable

biosensors and cloud-based data analytics with powerful proprietary algorithms, [and] distills data

from millions of heartbeats into clinically actionable information.”

       41.     In addition to the Zio Monitor, iRhythm offers two other ECG monitoring products,

including the Zio XT Monitor and the Zio AT Monitor.

       42.     iRhythm’s Zio XT Monitor was cleared by the FDA under Section 510(k) of the

Federal Food, Drug and Cosmetic Act on July 18, 2012. See Ex. 5. The Zio XT Monitor was

originally called the Zio Patch, but iRhythm rebranded the Zio Patch as the Zio XT Monitor.

Compare id., with Ex. 6, at 20.

       43.     iRhythm’s Zio AT Monitor was cleared by the FDA under Section 510(k) of the

Federal Food, Drug and Cosmetic Act on June 2, 2017. See Ex. 7. The Zio AT Monitor was

originally called the Zio QX Monitor, but iRhythm rebranded the Zio QX Monitor as the Zio AT

Monitor. Compare id., with Ex. 8, at 2/5.

       44.     iRhythm’s Zio Monitor was cleared by the FDA under Section 510(k) of the Federal

Food, Drug and Cosmetic Act on May 21, 2021. See Ex. 8.

                           iRhythm’s Next-Generation Zio Monitor

       45.     The Zio Monitor (also referred to as the “Next-Generation Zio Monitor”) is similar

to iRhythm’s Zio AT and Zio XT Monitors but has an improved form factor, “which is 23%

thinner, 62% lighter, and 72% smaller.” Ex. 9, at 2; see also Ex. 10. iRhythm’s Chief Technology

Officer explained that “miniaturization was focused on very clever ways of handling some of the


                                                 8
Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25              Page 9 of 528 PageID #:
                                           2762



larger components, which for example involved moving some of the big resistors that are required

on the device to the more flexible part of the patch instead of on the actual printed circuit board in

the housing” by “integrat[ing] [the resistors] into the ECG tracings themselves.” Ex. 9, at 3.

         46.   iRhythm promotes and markets the Zio Monitor on its website. A screenshot of the

Zio Monitor from iRhythm’s website is copied below.




Ex. 4.

         47.   The Zio Monitor includes adhesive portions for adhering to a patient’s chest to

“capture symptomatic and asymptomatic cardiac events in a continuous electrocardiogram record

for long-term monitoring.” Ex. 11, at 21. The electrocardiographic data is acquired by two

electrodes provided on each end of the Zio Monitor. Id. at 3.




                                                  9
Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25            Page 10 of 528 PageID #:
                                           2763




 Id.

         48.    The Zio Monitor senses and records the ECG data continuously for up to 14 days.

 Id. at 6. After conclusion of the wear period (up to 14 days), the patient removes the Zio Monitor

 and returns it by mail to an iRhythm data processing center. Id. at 2. Upon iRhythm’s receipt the

 ECG data is further processed, and a report is generated. Id.

         49.    iRhythm makes the Zio Monitor available to patients directly or through healthcare

 providers. Ex. 12, at 2.




 Id. at 2–3.



                                                10
Case 1:24-cv-01355-JDW           Document 48-1 Filed 06/02/25             Page 11 of 528 PageID #:
                                             2764



          50.   Upon information and belief, iRhythm manufactures the Zio Monitor in the U.S.

          51.   iRhythm plans to release its Zio MCT monitor, which “will be on the same form

 factor that Zio Monitor is on currently. . . . With [Zio] MCT and [Zio] Monitor, they will be the

 same exact product and manufactured on a single line.” Ex. 13, at 10.

          52.   iRhythm intends to commercially launch its Zio MCT monitor in 2027 or 2028. Id.

 at 11.

                                              COUNT I

                          Patent Infringement of U.S. Patent No. 12,161,473

          53.   Bardy realleges and incorporates by reference the allegations in paragraphs 1–52

 of this Second Amended Complaint.

          54.   iRhythm makes, uses, sells, and/or offers for sale the Zio Monitor in the United

 States. Any of these individual activities is an act of infringement under 35 U.S.C. § 271(a), and,

 as set forth in the attached non-limiting Claim Chart (Ex. 14), iRhythm directly infringes at least

 claims 1–3, 6, 8, 10, 13, 15, 16, and 19 of the ’473 Patent, either literally or under the doctrine of

 equivalents.

          55.   iRhythm has engaged in the foregoing conduct with respect to the patented

 invention in the United States without authority from Bardy and during the term of the ’473 Patent.

          56.   On information and belief, iRhythm has had knowledge of the ’473 Patent since at

 least December 10, 2024, when Bardy filed its original Complaint alleging infringement of the

 ’473 Patent. D.I. ¶ 1.

          57.   On information and belief, despite having knowledge of the ’473 Patent and

 knowledge that the Zio Monitor infringes at least claims 1–3, 6, 8, 10, 13, 15, 16, and 19 of the

 ’473 Patent since at least December 10, 2024, iRhythm has continued to make, use, sell, import,

 and/or offer to sell the Zio Monitor in the United States.


                                                  11
Case 1:24-cv-01355-JDW           Document 48-1 Filed 06/02/25             Page 12 of 528 PageID #:
                                             2765



        58.     iRhythm has willfully infringed the ’473 Patent by continuing to make, use, import,

 offer to sell, and/or sell the Zio Monitor in the United States after having knowledge of the ’473

 Patent and knowledge that the Zio Monitor infringes at least claims 1–3, 6, 8, 10, 13, 15, 16, and

 19 of the ’473 Patent.

        59.     Thus, iRhythm is liable to Bardy in an amount that compensates it for such

 infringement, which by law cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284.

        60.     This case is exceptional under 35 U.S.C. § 285, including due to iRhythm’s willful

 infringement of the ’473 Patent.

        61.     As a result of the acts of infringement by iRhythm, Bardy has suffered and/or will

 continue to suffer substantial damages in an amount to be proven at trial.

                                             COUNT II

                          Patent Infringement of U.S. Patent No. 12,171,562

        62.     Bardy realleges and incorporates by reference the allegations in paragraphs 1–61

 of this Second Amended Complaint.

        63.     iRhythm makes, uses, sells, and/or offers for sale the Zio Monitor in the United

 States. Any of these individual activities is an act of infringement under 35 U.S.C. § 271(a), and,

 as set forth in the attached non-limiting Claim Chart (Ex. 15), iRhythm directly infringes at least

 claims 8–30 of the ’562 Patent, either literally or under the doctrine of equivalents.

        64.     iRhythm has engaged in the foregoing conduct with respect to the patented

 invention in the United States without authority from Bardy and during the term of the ’562 Patent.

        65.     On information and belief, iRhythm has had knowledge of the ’562 Patent since at

 least December 26, 2024, when Bardy filed its First Amended Complaint alleging infringement of

 the ’562 Patent. D.I. ¶ 9.


                                                  12
Case 1:24-cv-01355-JDW           Document 48-1 Filed 06/02/25             Page 13 of 528 PageID #:
                                             2766



        66.     On information and belief, despite having knowledge of the ’562 Patent and

 knowledge that the Zio Monitor infringes at least claims 8–30 of the ’562 Patent since at least

 December 26, 2024, iRhythm has continued to make, use, sell, import, and/or offer to sell the Zio

 Monitor in the United States.

        67.     iRhythm has willfully infringed the ’562 Patent by continuing to make, use, import,

 offer to sell, and/or sell the Zio Monitor in the United States after having knowledge of the ’562

 Patent and knowledge that the Zio Monitor infringes at least claims 8–30 of the ’562 Patent.

        68.     Thus, iRhythm is liable to Bardy in an amount that compensates it for such

 infringement, which by law cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284.

        69.     This case is exceptional under 35 U.S.C. § 285, including due to iRhythm’s willful

 infringement of the ’562 Patent.

        70.     As a result of the acts of infringement by iRhythm, Bardy has suffered and/or will

 continue to suffer substantial damages in an amount to be proven at trial.

                                             COUNT III

                        Patent Infringement of U.S. Patent No. 12,285,261

        71.     Bardy realleges and incorporates by reference the allegations in paragraphs 1–70

 of this Second Amended Complaint.

        72.     iRhythm makes, uses, sells, and/or offers for sale the Zio Monitor in the United

 States. Any of these individual activities is an act of infringement under 35 U.S.C. § 271(a), and,

 as set forth in the attached non-limiting Claim Chart (Ex. 18), iRhythm directly infringes at least

 claim 1 of the ’261 Patent, either literally or under the doctrine of equivalents.

        73.     iRhythm has engaged in the foregoing conduct with respect to the patented

 invention in the United States without authority from Bardy and during the term of the ’261 Patent.


                                                  13
Case 1:24-cv-01355-JDW           Document 48-1 Filed 06/02/25            Page 14 of 528 PageID #:
                                             2767



           74.    On information and belief, iRhythm has had knowledge of the ’261 Patent since at

 least May 28, 2025, when Bardy’s counsel sent a letter to iRhythm’s counsel identifying the ’261

 Patent.

           75.    On information and belief, despite having knowledge of the ’261 Patent and

 knowledge that the Zio Monitor infringes at least claim 1 of the ’261 Patent since at least May 28,

 2025, iRhythm has continued to make, use, sell, import, and/or offer to sell the Zio Monitor in the

 United States.

           76.    iRhythm has willfully infringed the ’261 Patent by continuing to make, use, import,

 offer to sell, and/or sell the Zio Monitor in the United States after having knowledge of the ’261

 Patent and knowledge that the Zio Monitor infringes at least claim 1 of the ’261 Patent.

           77.    Thus, iRhythm is liable to Bardy in an amount that compensates it for such

 infringement, which by law cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284.

           78.    This case is exceptional under 35 U.S.C. § 285, including due to iRhythm’s willful

 infringement of the ’261 Patent.

           79.    As a result of the acts of infringement by iRhythm, Bardy has suffered and/or will

 continue to suffer substantial damages in an amount to be proven at trial.

                                             COUNT IV

                         Patent Infringement of U.S. Patent No. 12,310,735

           80.    Bardy realleges and incorporates by reference the allegations in paragraphs 1–79

 of this Second Amended Complaint.

           81.    iRhythm makes, uses, sells, and/or offers for sale the Zio Monitor in the United

 States. Any of these individual activities is an act of infringement under 35 U.S.C. § 271(a), and,




                                                  14
Case 1:24-cv-01355-JDW           Document 48-1 Filed 06/02/25             Page 15 of 528 PageID #:
                                             2768



 as set forth in the attached non-limiting Claim Chart (Ex. 19), iRhythm directly infringes at least

 claim 1 of the ’735 Patent, either literally or under the doctrine of equivalents.

           82.    iRhythm has engaged in the foregoing conduct with respect to the patented

 invention in the United States without authority from Bardy and during the term of the ’735 Patent.

           83.    On information and belief, iRhythm has had knowledge of the ’735 Patent since at

 least May 28, 2025, when Bardy’s counsel sent a letter to iRhythm’s counsel identifying the ’735

 Patent.

           84.    On information and belief, despite having knowledge of the ’735 Patent and

 knowledge that the Zio Monitor infringes at least claim 1 of the ’735 Patent since at least May 28,

 2025, iRhythm has continued to make, use, sell, import, and/or offer to sell the Zio Monitor in the

 United States.

           85.    iRhythm has willfully infringed the ’735 Patent by continuing to make, use, import,

 offer to sell, and/or sell the Zio Monitor in the United States after having knowledge of the ’735

 Patent and knowledge that the Zio Monitor infringes at least claim 1 of the ’735 Patent.

           86.    Thus, iRhythm is liable to Bardy in an amount that compensates it for such

 infringement, which by law cannot be less than a reasonable royalty, together with interest and

 costs as fixed by this Court under 35 U.S.C. § 284.

           87.    This case is exceptional under 35 U.S.C. § 285, including due to iRhythm’s willful

 infringement of the ’735 Patent.

           88.    As a result of the acts of infringement by iRhythm, Bardy has suffered and/or will

 continue to suffer substantial damages in an amount to be proven at trial.

                                       RELIEF REQUESTED

           WHEREFORE, Bardy requests that the Court enter a judgment in its favor and against

 iRhythm and provide Bardy the following relief:


                                                  15
Case 1:24-cv-01355-JDW      Document 48-1 Filed 06/02/25           Page 16 of 528 PageID #:
                                        2769



       A.   Order, adjudge, and decree that iRhythm has infringed the Asserted Patents;

       B.   Order, adjudge, and decree that iRhythm’s infringement of the Asserted Patents is

            exceptional under 35 U.S.C. § 285;

       C.   Order, adjudge, and decree that iRhythm’s infringement of the Asserted Patents has

            been willful;

       D.   Award Bardy damages for patent infringement including prejudgment interest and

            costs against iRhythm under 35 U.S.C. §§ 284 and 289;

       E.   Award Bardy up to three times its damages to compensate Bardy under 35 U.S.C.

            § 284;

       F.   Award Bardy its reasonable attorneys’ fees under 35 U.S.C. § 285; and

       G.   Award such other and further relief as the Court may deem just including but not

            limited to an accounting for acts of infringement made but not otherwise awarded

            to Bardy.




                                            16
Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25            Page 17 of 528 PageID #:
                                           2770



                                        JURY DEMAND

        Bardy demands trial by jury on all issues presented in this complaint.



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  Dated: June 2, 2025




                                                17
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 18 of 528 PageID #:
                                     2771




                         Exhibit 1
Case 1:24-cv-01355-JDW                     Document 48-1 Filed 06/02/25                             Page 19 of 528 PageID #:
                                                       2772
                                                                                           US012161473B1


  (12)   United States Patent                                          (10) Patent No.:                 US 12,161,473 B1
         Felix et al.                                                  (45) Date of Patent:                         Dec. 10, 2024

  (54)   ELECTROCARDIOGRAPHY PATCH                                                         A61B 5/021; A61B 5/03; A61B 5/0816;
                                                                                                A61B 5/087; A61B 5/1118; A61B
  (71)   Applicant: Bardy Diagnostics, Inc., Bellevue, WA                                 5/14532; A61B 5/14542; A61B 5/14551;
                    (US)                                                                   A61B 5/259; A61B 5/282; A61B 5/335;
                                                                                               (Continued)
  (72)   Inventors: Jason Felix, Vashon Island, WA (US);
                    Jon Mikalson Bishay, Seattle, WA                (56)                    References Cited
                    (US); Gust H. Bardy, Carnation, WA
                    (US)                                                             U.S. PATENT DOCUMENTS

  (73)   Assignee: BARDY DIAGNOSTICS, INC.,                                7,395,106 B2      7/2008 Ryu et al.
                                                                           7,468,032 B2     12/2008 Stahmann et al.
                   Vashon, WA (US)
                                                                                                (Continued)
  (*)    Notice:      Subject to any disclaimer, the term of this
                      patent is extended or adjusted under 35                          OTHER PUBLICATIONS
                      U.S.C. 154(b) by 0 days.                      Anand et al., “Design of the Multi-Sensor Monitoring in Congestive
                                                                    Heart Failure (MUSIC) Study: Prospective Trial to Assess the
  (21)   Appl. No.: 18/800,675                                      Utility of Continuous Wireless Physiologic Monitoring in Heart
                                                                    Failure”, Journal of Cardiac Failure, vol. 17, No. 1, Jan. 1, 2011, pp.
  (22)   Filed:       Aug. 12, 2024                                 11-16 (6 pages).
                                                                                                (Continued)
                  Related U.S. Application Data
  (63)   Continuation of application No. 18/647,762, ﬁled on        Primary Examiner — George Manuel
         Apr. 26, 2024, now Pat. No. 12,089,943, which is a         (74) Attorney, Agent, or Firm — K&L Gates LLP
                          (Continued)
                                                                    (57)                    ABSTRACT
  (51)   Int. Cl.                                                   An apparatus is provided. A strip has ﬁrst and second end
         A61B 5/335             (2021.01)                           sections, and a ﬁrst face and second face. Two electrocar-
         A61B 5/00              (2006.01)                           diographic electrodes are provided on the strip with one of
                           (Continued)                              the electrocardiographic electrodes provided on the ﬁrst face
                                                                    of the ﬁrst end section of the strip and another of the
  (52)   U.S. Cl.
                                                                    electrocardiographic electrodes positioned on the ﬁrst face
         CPC ............ A61B 5/335 (2021.01); A61B 5/0006
                                                                    on the second end section of the strip. A ﬂexible circuit is
                               (2013.01); A61B 5/0022 (2013.01);
                                                                    mounted to the second face of the strip and includes a circuit
                               (Continued)                          trace electrically coupled to each of the electrocardiographic
  (58)   Field of Classiﬁcation Search                              electrodes. The apparatus includes a wireless transceiver and
         CPC .................... G16H 40/63; G16H 40/67; A61B      a battery.
                              2560/0214; A61B 2560/0443; A61B
                          5/0006; A61B 5/0022; A61B 5/02055;                        30 Claims, 8 Drawing Sheets
Case 1:24-cv-01355-JDW                   Document 48-1 Filed 06/02/25                             Page 20 of 528 PageID #:
                                                     2773

                                                   US 12,161,473 B1
                                                             Page 2


               Related U.S. Application Data                                             A61B 5/14551 (2013.01); A61B 5/349
                                                                                  (2021.01); A61B 2560/0214 (2013.01); A61B
         continuation of application No. 18/353,398, ﬁled on                                              2560/0443 (2013.01)
         Jul. 17, 2023, which is a continuation of application    (58)     Field of Classiﬁcation Search
         No. 17/946,933, ﬁled on Sep. 16, 2022, now Pat. No.               CPC ..... A61B 5/349; A61B 5/6823; A61B 5/6833;
         11,723,575, which is a continuation of application                                 A61B 5/7405; A61B 5/7455; A61B
         No. 17/367,476, ﬁled on Jul. 5, 2021, now Pat. No.                                                             5/7475
         11,445,967, which is a continuation of application                See application ﬁle for complete search history.
         No. 17/119,945, ﬁled on Dec. 11, 2020, now Pat. No.
         11,051,743, which is a continuation of application       (56)                    References Cited
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         10,888,239, which is a continuation of application                        U.S. PATENT DOCUMENTS
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Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 21 of 528 PageID #:
                                     2774

  U.S. Patent        Dec. 10, 2024    Sheet 1 of 8       US 12,161,473 B1
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 22 of 528 PageID #:
                                     2775

  U.S. Patent        Dec. 10, 2024    Sheet 2 of 8       US 12,161,473 B1
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 23 of 528 PageID #:
                                     2776

  U.S. Patent        Dec. 10, 2024    Sheet 3 of 8       US 12,161,473 B1
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 24 of 528 PageID #:
                                     2777

  U.S. Patent        Dec. 10, 2024    Sheet 4 of 8       US 12,161,473 B1
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 25 of 528 PageID #:
                                     2778

  U.S. Patent        Dec. 10, 2024    Sheet 5 of 8       US 12,161,473 B1
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 26 of 528 PageID #:
                                     2779

  U.S. Patent        Dec. 10, 2024    Sheet 6 of 8       US 12,161,473 B1
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 27 of 528 PageID #:
                                     2780

  U.S. Patent        Dec. 10, 2024    Sheet 7 of 8       US 12,161,473 B1
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 28 of 528 PageID #:
                                     2781

  U.S. Patent        Dec. 10, 2024    Sheet 8 of 8       US 12,161,473 B1
Case 1:24-cv-01355-JDW                     Document 48-1 Filed 06/02/25                            Page 29 of 528 PageID #:
                                                       2782

                                                      US 12,161,473 B1
                                1                                                                    2
           ELECTROCARDIOGRAPHY PATCH                                   by PQRSTU waveforms that can be interpreted post-ECG
                                                                       recordation to derive heart rate and physiology. The P-wave
        PRIORITY CLAIM AND CROSS-REFERENCE                             represents atrial electrical activity. The QRSTU components
                 TO RELATED APPLICATIONS                               represent ventricular electrical activity.
                                                                     5    An ECG is a tool used by physicians to diagnose heart
     This application is a continuation of U.S. patent applica-        problems and other potential health concerns. An ECG is a
  tion Ser. No. 18/647,762, ﬁled Apr. 26, 2024, titled ELEC-           snapshot of heart function, typically recorded over 12 sec-
  TROCARDIOGRAPHY PATCH, which is a continuation of                    onds, that can help diagnose rate and regularity of heart-
  U.S. patent application Ser. No. 18/353,398, ﬁled Jul. 17,           beats, effect of drugs or cardiac devices, including pace-
  2023, titled ELECTROCARDIOGRAPHY PATCH, which 10 makers and implantable cardioverter-deﬁbrillators (ICDs),
  is a continuation of U.S. patent application Ser. No. 17/946,        and whether a patient has heart disease. ECGs are used
  933, ﬁled Sep. 16, 2022, titled ELECTROCARDIOGRA-                    in-clinic during appointments, and, as a result, are limited to
  PHY PATCH, which is a continuation of U.S. patent appli-             recording only those heart-related aspects present at the time
  cation Ser. No. 17/367,476, ﬁled Jul. 5, 2021, titled                of recording. Sporadic conditions that may not show up
  ELECTROCARDIOGRAPHY PATCH, which is a continu- 15 during a spot ECG recording require other means to diag-
  ation of U.S. patent application Ser. No. 17/119,945, ﬁled           nose them. These disorders include fainting or syncope;
  Dec. 11, 2020, titled ELECTROCARDIOGRAPHY                            rhythm disorders, such as tachyarrhythmias and bradyar-
  PATCH, which is a continuation of U.S. patent application            rhythmias; apneic episodes; and other cardiac and related
  Ser. No. 16/241,929, ﬁled Jan. 7, 2019, titled REMOTE                disorders. Thus, an ECG only provides a partial picture and
  INTERFACING ELECTROCARDIOGRAPHY PATCH, 20 can be insufficient for complete patient diagnosis of many
  which is a continuation of U.S. patent application Ser. No.          cardiac disorders.
  15/818,437, ﬁled Nov. 20, 2017, titled REMOTE INTER-                    Diagnostic efficacy can be improved, when appropriate,
  FACING ELECTROCARDIOGRAPHY PATCH, which is a                         through the use of long-term extended ECG monitoring.
  continuation of U.S. patent application Ser. No. 15/256,266,         Recording sufficient ECG and related physiology over an
  ﬁled Sep. 2, 2016, titled REMOTE INTERFACING OF 25 extended period is challenging, and often essential to
  EXTENDED WEAR ELECTROCARDIOGRAPHY AND                                enabling a physician to identify events of potential concern.
  PHYSIOLOGICAL SENSOR MONITOR, which is a con-                        A 30-day observation period is considered the “gold stan-
  tinuation of U.S. patent application Ser. No. 14/082,071,            dard” of ECG monitoring, yet achieving a 30-day observa-
  ﬁled Nov. 15, 2013, titled REMOTE INTERFACING OF                     tion day period has proven unworkable because such ECG
  EXTENDED WEAR ELECTROCARDIOGRAPHY AND 30 monitoring systems are arduous to employ, cumbersome to
  PHYSIOLOGICAL SENSOR MONITOR, which is a con-                        the patient, and excessively costly. Ambulatory monitoring
  tinuation-in-part of U.S. patent application Ser. No. 14/080,        in-clinic is implausible and impracticable. Nevertheless, if a
  717, ﬁled Nov. 14, 2013, titled EXTENDED WEAR ELEC-                  patient’s ECG could be recorded in an ambulatory setting,
  TROCARDIOGRAPHY PATCH, which claims priority to                      thereby allowing the patient to engage in activities of daily
  U.S. Provisional Patent App. No. 61/882,403, ﬁled Sep. 25, 35 living, the chances of acquiring meaningful information and
  2013, titled LONG-TERM WEARABLE PHYSIOLOGI-                          capturing an abnormal event while the patient is engaged in
  CAL MONITOR. U.S. patent application Ser. No. 14/082,                normal activities becomes more likely to be achieved.
  071 is also a continuation-in-part of U.S. patent application           For instance, the long-term wear of ECG electrodes is
  Ser. No. 14/080,725, ﬁled Nov. 14, 2013, titled EXTENDED             complicated by skin irritation and the inability ECG elec-
  WEAR AMBULATORY ELECTROCARDIOGRAPHY 40 trodes to maintain continual skin contact after a day or two.
  AND PHYSIOLOGICAL SENSOR MONITOR, which                              Moreover, time, dirt, moisture, and other environmental
  claims priority to U.S. Provisional Patent App. No. 61/882,          contaminants, as well as perspiration, skin oil, and dead skin
  403, ﬁled Sep. 25, 2013, titled LONG-TERM WEARABLE                   cells from the patient’s body, can get between an ECG
  PHYSIOLOGICAL MONITOR. The entire contents of                        electrode, the non-conductive adhesive used to adhere the
  these applications are incorporated by reference herein in 45 ECG electrode, and the skin’s surface. All of these factors
  their entirely and relied upon.                                      adversely affect electrode adhesion and the quality of car-
                                                                       diac signal recordings. Furthermore, the physical move-
                               FIELD                                   ments of the patient and their clothing impart various
                                                                       compressional, tensile, and torsional forces on the contact
     This application relates in general to electrocardiographic 50 point of an ECG electrode, especially over long recording
  monitoring and, in particular, to an electrocardiography             times, and an inﬂexibly fastened ECG electrode will be
  patch.                                                               prone to becoming dislodged. Moreover, dislodgment may
                                                                       occur unbeknownst to the patient, making the ECG record-
                          BACKGROUND                                   ings worthless. Further, some patients may have skin that is
                                                                    55 susceptible to itching or irritation, and the wearing of ECG
     The heart emits electrical signals as a by-product of the         electrodes can aggravate such skin conditions. Thus, a
  propagation of the action potentials that trigger depolariza-        patient may want or need to periodically remove or replace
  tion of heart ﬁbers. An electrocardiogram (ECG) measures             ECG electrodes during a long-term ECG monitoring period,
  and records such electrical potentials to visually depict the        whether to replace a dislodged electrode, reestablish better
  electrical activity of the heart over time. Conventionally, a 60 adhesion, alleviate itching or irritation, allow for cleansing
  standardized set format 12-lead conﬁguration is used by an           of the skin, allow for showering and exercise, or for other
  ECG machine to record cardiac electrical signals from                purpose. Such replacement or slight alteration in electrode
  well-established traditional chest locations. Electrodes at the      location actually facilitates the goal of recording the ECG
  end of each lead are placed on the skin over the anterior            signal for long periods of time.
  thoracic region of the patient’s body to the lower right and 65         Conventionally, Holter monitors are widely used for long-
  to the lower left of the sternum, on the left anterior chest, and    term extended ECG monitoring. Typically, they are used for
  on the limbs. Sensed cardiac electrical activity is represented      only 24-48 hours. A typical Holter monitor is a wearable and
Case 1:24-cv-01355-JDW                    Document 48-1 Filed 06/02/25                            Page 30 of 528 PageID #:
                                                      2783

                                                      US 12,161,473 B1
                                3                                                                   4
  portable version of an ECG that include cables for each            worn for a long period of time in both men and women and
  electrode placed on the skin and a separate battery-powered        capable of recording atrial signals reliably.
  ECG recorder. The cable and electrode combination (or                 A further need remains for facilities to integrate wider-
  leads) are placed in the anterior thoracic region in a manner      ranging physiological and “life tracking”-type data into
  similar to what is done with an in-clinic standard ECG 5 long-term ECG and physiological data monitoring.
  machine. The duration of a Holter monitoring recording
  depends on the sensing and storage capabilities of the                                      SUMMARY
  monitor, as well as battery life. A “looping” Holter monitor
  (or event) can operate for a longer period of time by                 Physiological monitoring can be provided through a wear-
                                                                  10 able monitor that includes two components, a ﬂexible
  overwriting older ECG tracings, thence “recycling” storage
  in favor of extended operation, yet at the risk of losing event    extended wear electrode patch and a removable reusable
  data. Although capable of extended ECG monitoring, Holter          monitor recorder. The wearable monitor sits centrally (in the
  monitors are cumbersome, expensive and typically only              midline) on the patient’s chest along the sternum oriented
  available by medical prescription, which limits their usabil- 15 top-to-bottom. The placement of the wearable monitor in a
  ity. Further, the skill required to properly place the elec-       location at the sternal midline (or immediately to either side
  trodes on the patient’s chest hinders or precludes a patient       of the sternum), with its unique narrow “hourglass”-like
  from replacing or removing the precordial leads and usually        shape, beneﬁts long-term extended wear by removing the
  involves moving the patient from the physician office to a         requirement that ECG electrodes be continually placed in
  specialized center within the hospital or clinic.               20 the same spots on the skin throughout the monitoring period.
     The ZIO XT Patch and ZIO Event Card devices, manu-              Instead, the patient is free to place an electrode patch
  factured by iRhythm Tech., Inc., San Francisco, CA, are            anywhere within the general region of the sternum, the area
  wearable stick-on monitoring devices that are typically worn       most likely to record high quality atrial signals or P-waves.
  on the upper left pectoral region to respectively provide          The wearable monitor can also interoperate wirelessly with
  continuous and looping ECG recording. The location is used 25 other wearable physiology and activity sensors and with
  to simulate surgically implanted monitors. Both of these           wearable or mobile communications devices, including so-
  devices are prescription-only and for single patient use. The      called “smart phones,” to download monitoring data either
  ZIO XT Patch device is limited to a 14-day monitoring              in real-time or in batches. The monitor recorder can also be
  period, while the electrodes only of the ZIO Event Card            equipped with a wireless transceiver to either provide data or
  device can be worn for up to 30 days. The ZIO XT Patch 30 other information to, or receive data or other information
  device combines both electronic recordation components,            from, an interfacing wearable physiology and activity sen-
  including battery, and physical electrodes into a unitary          sor, or wearable or mobile communications devices for relay
  assembly that adheres to the patient’s skin. The ZIO XT            to a further device, such as a server, analysis, or other
  Patch device uses adhesive sufficiently strong to support the      purpose.
  weight of both the monitor and the electrodes over an 35
                                                                        One embodiment provides a remotely-interfaceable elec-
  extended period of time and to resist disadherance from the
                                                                     trocardiography patch. The remotely-interfaceable electro-
  patient’s body, albeit at the cost of disallowing removal or
  relocation during the monitoring period. Moreover, through-        cardiography patch includes a backing formed of a strip of
  out monitoring, the battery is continually depleted and            material and an electrocardiographic electrode on each end
  battery capacity can potentially limit overall monitoring 40 of the backing to capture electrocardiographic signals. A
  duration. The ZIO Event Card device is a form of downsized         ﬂexible circuit includes a pair of circuit traces electrically
  Holter monitor with a recorder component that must be              coupled to the electrocardiographic electrodes. A wireless
  removed temporarily during baths or other activities that          transceiver communicates at least one of the electrocardio-
  could damage the non-waterproof electronics. Both devices          graphic signals and other physiological measures with one
  represent compromises between length of wear and quality 45 or more of a physiology and activity sensor, communication
  of ECG monitoring, especially with respect to ease of long         device, server, and personal computer.
  term use, female-friendly ﬁt, and quality of atrial (P-wave)          A further embodiment provides an electrocardiography
  signals.                                                           patch. The patch includes a backing and at least two elec-
     In addition, with the advent of wireless communications         trocardiographic electrodes each positioned on the backing,
  and wearable computing, other types of personal ambulatory 50 across from another of the electrocardiographic electrodes,
  monitors, of varying degrees of sophistication, have become        to capture electrocardiographic signals. A ﬂexible circuit
  increasingly available. For example, adherents to the so-          includes a pair of circuit traces electrically coupled to the
  called “Quantiﬁed Self” movement combine wearable sen-             electrocardiographic electrodes. A wireless transceiver com-
  sors and wearable computing to self-track activities of their      municates at least a portion of the electrocardiographic
  daily lives, including inputs, states, and performance. The 55 signals.
  Nike+FuelBand, manufactured by Nike Inc., Beaverton,                  A still further embodiment provides an apparatus. A strip
  OR, for instance, provides an activity tracker that is worn on     has ﬁrst and second end sections, and a ﬁrst surface and
  the wrist and allows the wearer to temporally track the            second surface. Two electrocardiographic electrodes are
  number of foot steps taken each day and an estimation of the       provided on the strip with one of the electrocardiographic
  calories burned. The activity tracker can interface with a 60 electrodes provided on the ﬁrst surface of the ﬁrst end
  smart phone device to allow a wearer to monitor their              section of the strip and another of the electrocardiographic
  progress towards a ﬁtness goal. Such quantiﬁed physiology,         electrodes positioned on the ﬁrst surface on the second end
  however, is typically tracked for only the personal use of the     section of the strip. A ﬂexible circuit is mounted to the
  wearer and is not time-correlated to physician-supervised          second surface of the strip and includes a circuit trace
  monitoring.                                                     65 electrically coupled to each of the electrocardiographic
     Therefore, a need remains for an extended wear continu-         electrodes. A wireless transceiver is affixed on one of the ﬁrst
  ously recording ECG monitor practicably capable of being           or second end sections, and a battery is positioned on one of
Case 1:24-cv-01355-JDW                    Document 48-1 Filed 06/02/25                           Page 31 of 528 PageID #:
                                                      2784

                                                     US 12,161,473 B1
                                5                                                                  6
  the ﬁrst or second end sections. A processor is positioned on          FIG. 13 is a ﬂow diagram showing a method for offload-
  one of the ﬁrst or second end sections and is housed separate       ing and converting ECG and other physiological data from
  from the battery.                                                   an extended wear electrocardiography and physiological
     The monitoring patch is especially suited to the female          sensor monitor in accordance with one embodiment.
  anatomy. The narrow longitudinal midsection can ﬁt nicely 5
  within the intermammary cleft of the breasts without induc-                         DETAILED DESCRIPTION
  ing discomfort, whereas conventional patch electrodes are
  wide and, if adhesed between the breasts, would cause                  Physiological monitoring can be provided through a wear-
  chaﬁng, irritation, frustration, and annoyance, leading to low      able monitor that includes two components, a ﬂexible
                                                                   10 extended wear electrode patch and a removable reusable
  patient compliance.
                                                                      monitor recorder. FIGS. 1 and 2 are diagrams showing, by
     The foregoing aspects enhance ECG monitoring perfor-
                                                                      way of examples, an extended wear electrocardiography and
  mance and quality, facilitating long-term ECG recording,            physiological sensor monitor 12, including a monitor
  critical to accurate arrhythmia diagnosis.                          recorder 14 in accordance with one embodiment, respec-
     In addition, the foregoing aspects enhance comfort in 15 tively ﬁtted to the sternal region of a female patient 10 and
  women (and certain men), but not irritation of the breasts, by      a male patient 11. The wearable monitor 12 sits centrally (in
  placing the monitoring patch in the best location possible for      the midline) on the patient’s chest along the sternum 13
  optimizing the recording of cardiac signals from the atrium,        oriented top-to-bottom with the monitor recorder 14 prefer-
  another feature critical to proper arrhythmia diagnosis.            ably situated towards the patient’s head. In a further embodi-
     Finally, the foregoing aspects as relevant to monitoring 20 ment, the orientation of the wearable monitor 12 can be
  are equally applicable to recording other physiological mea-        corrected post-monitoring, as further described infra. The
  sures, such as temperature, respiratory rate, blood sugar,          electrode patch 15 is shaped to ﬁt comfortably and confor-
  oxygen saturation, and blood pressure, as well as other             mal to the contours of the patient’s chest approximately
  measures of body chemistry and physiology.                          centered on the sternal midline 16 (or immediately to either
     Still other embodiments will become readily apparent to 25 side of the sternum 13). The distal end of the electrode patch
  those skilled in the art from the following detailed descrip-       15 extends towards the Xiphoid process and, depending
  tion, wherein are described embodiments by way of illus-            upon the patient’s build, may straddle the region over the
  trating the best mode contemplated. As will be realized,            Xiphoid process. The proximal end of the electrode patch
  other and different embodiments are possible and the                15, located under the monitor recorder 14, is below the
  embodiments’ several details are capable of modiﬁcations in 30 manubrium and, depending upon patient’s build, may
  various obvious respects, all without departing from their          straddle the region over the manubrium.
  spirit and the scope. Accordingly, the drawings and detailed           The placement of the wearable monitor 12 in a location at
  description are to be regarded as illustrative in nature and not    the sternal midline 16 (or immediately to either side of the
  as restrictive.                                                     sternum 13) signiﬁcantly improves the ability of the wear-
                                                                   35 able monitor 12 to cutaneously sense cardiac electric sig-
         BRIEF DESCRIPTION OF THE DRAWINGS                            nals, particularly the P-wave (or atrial activity) and, to a
                                                                      lesser extent, the QRS interval signals in the ECG wave-
     FIGS. 1 and 2 are diagrams showing, by way of examples,          forms that indicate ventricular activity, while simultaneously
  an extended wear electrocardiography and physiological              facilitating comfortable long-term wear for many weeks.
  sensor monitor respectively ﬁtted to the sternal region of a 40 The sternum 13 overlies the right atrium of the heart and the
  female patient and a male patient.                                  placement of the wearable monitor 12 in the region of the
     FIG. 3 is a functional block diagram showing a system for        sternal midline 13 puts the ECG electrodes of the electrode
  remote interfacing of an extended wear electrocardiography          patch 15 in a location better adapted to sensing and record-
  and physiological sensor monitor in accordance with one             ing P-wave signals than other placement locations, say, the
  embodiment.                                                      45 upper left pectoral region or lateral thoracic region or the
     FIG. 4 is a perspective view showing an extended wear            limb leads. In addition, placing the lower or inferior pole
  electrode patch with a monitor recorder inserted.                   (ECG electrode) of the electrode patch 15 over (or near) the
     FIG. 5 is a perspective view showing the monitor recorder        Xiphoid process facilitates sensing of ventricular activity
  of FIG. 4.                                                          and provides superior recordation of the QRS interval.
     FIG. 6 is a perspective view showing the extended wear 50           When operated standalone, the monitor recorder 14 of the
  electrode patch of FIG. 4 without a monitor recorder                extended wear electrocardiography and physiological sensor
  inserted.                                                           monitor 12 senses and records the patient’s ECG data into an
     FIG. 7 is a bottom plan view of the monitor recorder of          onboard memory. In addition, the wearable monitor 12 can
  FIG. 4.                                                             interoperate with other devices. FIG. 3 is a functional block
     FIG. 8 is a top view showing the ﬂexible circuit of the 55 diagram showing a system 120 for remote interfacing of an
  extended wear electrode patch of FIG. 4 when mounted                extended wear electrocardiography and physiological sensor
  above the ﬂexible backing.                                          monitor 12 in accordance with one embodiment. The moni-
     FIG. 9 is a functional block diagram showing the com-            tor recorder 14 is a reusable component that can be ﬁtted
  ponent architecture of the circuitry of the monitor recorder        during patient monitoring into a non-conductive receptacle
  of FIG. 4.                                                       60 provided on the electrode patch 15, as further described infra
     FIG. 10 is a functional block diagram showing the cir-           with reference to FIG. 4, and later removed for offloading of
  cuitry of the extended wear electrode patch of FIG. 4.              stored ECG data or to receive revised programming. The
     FIG. 11 is a ﬂow diagram showing a monitor recorder-             monitor recorder 14 can then be connected to a download
  implemented method for monitoring ECG data for use in the           station 125, which could be a programmer or other device
  monitor recorder of FIG. 4.                                      65 that permits the retrieval of stored ECG monitoring data,
     FIG. 12 is a graph showing, by way of example, a typical         execution of diagnostics on or programming of the monitor
  ECG waveform.                                                       recorder 14, or performance of other functions. The monitor
Case 1:24-cv-01355-JDW                    Document 48-1 Filed 06/02/25                           Page 32 of 528 PageID #:
                                                      2785

                                                     US 12,161,473 B1
                                7                                                                  8
  recorder 14 has a set of electrical contacts (not shown) that        The wearable monitor 12 can interoperate wirelessly with
  enable the monitor recorder 14 to physically interface to a       other wearable physiology and activity sensors 131 and with
  set of terminals 128 on a paired receptacle 127 of the            wearable or mobile communications devices 133. Wearable
  download station 125. In turn, the download station 125           physiology and activity sensors 131 encompass a wide range
  executes a communications or offload program 126 (“Off- 5 of wirelessly interconnectable devices that measure or moni-
  load”) or similar program that interacts with the monitor         tor data physical to the patient’s body, such as heart rate,
  recorder 14 via the physical interface to retrieve the stored     temperature, blood pressure, and so forth; physical states,
  ECG monitoring data. The download station 125 could be a          such as movement, sleep, footsteps, and the like; and per-
  server, personal computer, tablet or handheld computer,           formance, including calories burned or estimated blood
                                                                 10 glucose level. These devices originate both within the medi-
  smart mobile device, or purpose-built programmer designed
                                                                    cal community to sense and record traditional medical
  speciﬁc to the task of interfacing with a monitor recorder 14.
                                                                    physiology that could be useful to a physician in arriving at
  Still other forms of download station 125 are possible.           a patient diagnosis or clinical trajectory, as well as from
     Upon retrieving stored ECG monitoring data from a              outside the medical community, from, for instance, sports or
  monitor recorder 14, middleware ﬁrst operates on the 15 lifestyle product companies who seek to educate and assist
  retrieved data to adjust the ECG capture quality, as neces-       individuals with self-quantifying interests.
  sary, and to convert the retrieved data into a format suitable       Frequently, wearable physiology and activity sensors 131
  for use by third party post-monitoring analysis software, as      are capable of wireless interfacing with wearable or mobile
  further described infra with reference to FIG. 13. The            communications devices 133, particularly smart mobile
  formatted data can then be retrieved from the download 20 devices, including so-called “smart phones,” to download
  station 125 over a hard link 135 using a control program 137      monitoring data either in real-time or in batches. The wear-
  (“Ctl”) or analogous application executing on a personal          able or mobile communications device 133 executes an
  computer 136 or other connectable computing device, via a         application (“App”) that can retrieve the data collected by
  communications link (not shown), whether wired or wire-           the wearable physiology and activity sensor 131 and evalu-
  less, or by physical transfer of storage media (not shown). 25 ate the data to generate information of interest to the wearer,
  The personal computer 136 or other connectable device may         such as an estimation of the effectiveness of the wearer’s
  also execute middleware that converts ECG data and other          exercise efforts. Still other wearable or mobile communica-
  information into a format suitable for use by a third-party       tions device 133 functions on the collected data are possible.
  post-monitoring analysis program, as further described infra         The wearable or mobile communications devices 133
  with reference to FIG. 13. Note that formatted data stored on 30 could also serve as a conduit for providing the data collected
  the personal computer 136 would have to be maintained and         by the wearable physiology and activity sensor 131 to a
  safeguarded in the same manner as electronic medical              server 122, or, similarly, the wearable physiology and activ-
  records (EMRs) 134 in the secure database 124, as further         ity sensor 131 could itself directly provide the collected data
  discussed infra. In a further embodiment, the download            to the server 122. The server 122 could then merge the
  station 125 is able to directly interface with other devices 35 collected data into the wearer’s EMRs 134 in the secure
  over a computer communications network 121, which could           database 124, if appropriate (and permissible), or the server
  be some combination of a local area network and a wide area       122 could perform an analysis of the collected data, perhaps
  network, including the Internet, over a wired or wireless         based by comparison to a population of like wearers of the
  connection.                                                       wearable physiology and activity sensor 131. Still other
     A client-server model could be used to employ a server 40 server 122 functions on the collected data are possible.
  122 to remotely interface with the download station 125              Finally, the monitor recorder 14 can also be equipped with
  over the network 121 and retrieve the formatted data or other     a wireless transceiver, as further described infra with refer-
  information. The server 122 executes a patient management         ence to FIGS. 9 and 10. Thus, when wireless-enabled, both
  program 123 (“Mgt”) or similar application that stores the        wearable physiology and activity sensors 131 and wearable
  retrieved formatted data and other information in a secure 45 or mobile communications devices 133 could wirelessly
  database 124 cataloged in that patient’s EMRs 134. In             interface with the monitor recorder 14, which could either
  addition, the patient management program 123 could man-           provide data or other information to, or receive data or other
  age a subscription service that authorizes a monitor recorder     information from an interfacing device for relay to a further
  14 to operate for a set period of time or under pre-deﬁned        device, such as the server 122, analysis, or other purpose. In
  operational parameters.                                        50 addition, the monitor recorder 14 could wirelessly interface
     The patient management program 123, or other trusted           directly with the server 122, personal computer 129, or other
  application, also maintains and safeguards the secure data-       computing device connectable over the network 121, when
  base 124 to limit access to patient EMRs 134 to only              the monitor recorder 14 is appropriately equipped for inter-
  authorized parties for appropriate medical or other uses,         facing with such devices. Still other types of remote inter-
  such as mandated by state or federal law, such as under the 55 facing of the monitor recorder 14 are possible.
  Health Insurance Portability and Accountability Act                  During use, the electrode patch 15 is ﬁrst adhesed to the
  (HIPAA) or per the European Union’s Data Protection               skin along the sternal midline 16 (or immediately to either
  Directive. For example, a physician may seek to review and        side of the sternum 13). A monitor recorder 14 is then
  evaluate his patient’s ECG monitoring data, as securely           snapped into place on the electrode patch 15 to initiate ECG
  stored in the secure database 124. The physician would 60 monitoring. FIG. 4 is a perspective view showing an
  execute an application program 130 (“Pgm”), such as a             extended wear electrode patch 15 with a monitor recorder 14
  post-monitoring ECG analysis program, on a personal com-          in accordance with one embodiment inserted. The body of
  puter 129 or other connectable computing device, and,             the electrode patch 15 is preferably constructed using a
  through the application 130, coordinate access to his             ﬂexible backing 20 formed as an elongated strip 21 of wrap
  patient’s EMRs 134 with the patient management program 65 knit or similar stretchable material with a narrow longitu-
  123. Other schemes and safeguards to protect and maintain         dinal mid-section 23 evenly tapering inward from both
  the integrity of patient EMRs 134 are possible.                   sides. A pair of cut-outs 22 between the distal and proximal
Case 1:24-cv-01355-JDW                   Document 48-1 Filed 06/02/25                          Page 33 of 528 PageID #:
                                                     2786

                                                    US 12,161,473 B1
                               9                                                                10
  ends of the electrode patch 15 create a narrow longitudinal     in a location at the sternal midline 16 (or immediately to
  midsection 23 or “isthmus” and deﬁnes an elongated “hour-       either side of the sternum 13) beneﬁts long-term extended
  glass”-like shape, when viewed from above.                      wear by removing the requirement that ECG electrodes be
     The electrode patch 15 incorporates features that signiﬁ-    continually placed in the same spots on the skin throughout
  cantly improve wearability, performance, and patient com- 5 the monitoring period. Instead, the patient is free to place an
  fort throughout an extended monitoring period. During           electrode patch 15 anywhere within the general region of the
  wear, the electrode patch 15 is susceptible to pushing,         sternum 13.
  pulling, and torqueing movements, including compressional          As a result, at any point during ECG monitoring, the
  and torsional forces when the patient bends forward, and        patient’s skin is able to recover from the wearing of an
  tensile and torsional forces when the patient leans back- 10 electrode patch 15, which increases patient comfort and
  wards. To counter these stress forces, the electrode patch 15   satisfaction, while the monitor recorder 14 ensures ECG
  incorporates strain and crimp reliefs, such as described in     monitoring continuity with minimal effort. A monitor
  commonly-assigned U.S. Patent, entitled “Extended Wear          recorder 14 is merely unsnapped from a worn out electrode
  Electrocardiography Patch,” U.S. Pat. No. 9,545,204, issued     patch 15, the worn out electrode patch 15 is removed from
  Jan. 17, 2017, the disclosure of which is incorporated by 15 the skin, a new electrode patch 15 is adhered to the skin,
  reference. In addition, the cut-outs 22 and longitudinal        possibly in a new spot immediately adjacent to the earlier
  midsection 23 help minimize interference with and discom-       location, and the same monitor recorder 14 is snapped into
  fort to breast tissue, particularly in women (and gynecomas-    the new electrode patch 15 to reinitiate and continue the
  tic men). The cut-outs 22 and longitudinal midsection 23        ECG monitoring.
  further allow better conformity of the electrode patch 15 to 20    During use, the electrode patch 15 is ﬁrst adhered to the
  sternal bowing and to the narrow isthmus of ﬂat skin that can   skin in the sternal region. FIG. 6 is a perspective view
  occur along the bottom of the intermammary cleft between        showing the extended wear electrode patch 15 of FIG. 4
  the breasts, especially in buxom women. The cut-outs 22 and     without a monitor recorder 14 inserted. A ﬂexible circuit 32
  longitudinal midsection 23 help the electrode patch 15 ﬁt       is adhered to each end of the ﬂexible backing 20. A distal
  nicely between a pair of female breasts in the intermammary 25 circuit trace 33 and a proximal circuit trace (not shown)
  cleft. Still other shapes, cut-outs and conformities to the     electrically couple ECG electrodes (not shown) to a pair of
  electrode patch 15 are possible.                                electrical pads 34. The electrical pads 34 are provided within
     The monitor recorder 14 removably and reusably snaps         a moisture-resistant seal 35 formed on the bottom surface of
  into an electrically non-conductive receptacle 25 during use.   the non-conductive receptacle 25. When the monitor
  The monitor recorder 14 contains electronic circuitry for 30 recorder 14 is securely received into the non-conductive
  recording and storing the patient’s electrocardiography as      receptacle 25, that is, snapped into place, the electrical pads
  sensed via a pair of ECG electrodes provided on the elec-       34 interface to electrical contacts (not shown) protruding
  trode patch 15, such as described in commonly-assigned          from the bottom surface of the monitor recorder 14, and the
  U.S. Patent, entitled “Extended Wear Ambulatory Electro-        moisture-resistant seal 35 enables the monitor recorder 14 to
  cardiography and Physiological Sensor Monitor,” U.S. Pat. 35 be worn at all times, even during bathing or other activities
  No. 9,730,593, issued Aug. 15, 2017, the disclosure which       that could expose the monitor recorder 14 to moisture.
  is incorporated by reference. The non-conductive receptacle        In addition, a battery compartment 36 is formed on the
  25 is provided on the top surface of the ﬂexible backing 20     bottom surface of the non-conductive receptacle 25, and a
  with a retention catch 26 and tension clip 27 molded into the   pair of battery leads (not shown) electrically interface the
  non-conductive receptacle 25 to conformably receive and 40 battery to another pair of the electrical pads 34. The battery
  securely hold the monitor recorder 14 in place.                 contained within the battery compartment 35 can be replace-
     The monitor recorder 14 includes a sealed housing that       able, rechargeable or disposable.
  snaps into place in the non-conductive receptacle 25. FIG. 5       The monitor recorder 14 draws power externally from the
  is a perspective view showing the monitor recorder 14 of        battery provided in the non-conductive receptacle 25,
  FIG. 4. The sealed housing 50 of the monitor recorder 14 45 thereby uniquely obviating the need for the monitor recorder
  intentionally has a rounded isosceles trapezoidal-like shape    14 to carry a dedicated power source. FIG. 7 is a bottom plan
  52, when viewed from above, such as described in com-           view of the monitor recorder 14 of FIG. 4. A cavity 58 is
  monly-assigned U.S. Design Patent, entitled “Electrocardi-      formed on the bottom surface of the sealed housing 50 to
  ography Monitor,” No. D717,955, issued Nov. 18, 2014, the       accommodate the upward projection of the battery compart-
  disclosure of which is incorporated by reference. The edges 50 ment 36 from the bottom surface of the non-conductive
  51 along the top and bottom surfaces are rounded for patient    receptacle 25, when the monitor recorder 14 is secured in
  comfort. The sealed housing 50 is approximately 47 mm           place on the non-conductive receptacle 25. A set of electrical
  long, 23 mm wide at the widest point, and 7 mm high,            contacts 56 protrude from the bottom surface of the sealed
  excluding a patient-operable tactile-feedback button 55. The    housing 50 and are arranged in alignment with the electrical
  sealed housing 50 can be molded out of polycarbonate, ABS, 55 pads 34 provided on the bottom surface of the non-conduc-
  or an alloy of those two materials. The button 55 is water-     tive receptacle 25 to establish electrical connections between
  proof and the button’s top outer surface is molded silicon      the electrode patch 15 and the monitor recorder 14. In
  rubber or similar soft pliable material. A retention detent 53  addition, a seal coupling 57 circumferentially surrounds the
  and tension detent 54 are molded along the edges of the top     set of electrical contacts 56 and securely mates with the
  surface of the housing 50 to respectively engage the reten- 60 moisture-resistant seal 35 formed on the bottom surface of
  tion catch 26 and the tension clip 27 molded into non-          the non-conductive receptacle 25.
  conductive receptacle 25. Other shapes, features, and con-         The placement of the ﬂexible backing 20 on the sternal
  formities of the sealed housing 50 are possible.                midline 16 (or immediately to either side of the sternum 13)
     The electrode patch 15 is intended to be disposable. The     also helps to minimize the side-to-side movement of the
  monitor recorder 14, however, is reusable and can be trans- 65 wearable monitor 12 in the left- and right-handed directions
  ferred to successive electrode patches 15 to ensure continu-    during wear. To counter the dislodgment of the ﬂexible
  ity of monitoring. The placement of the wearable monitor 12     backing 20 due to compressional and torsional forces, a
Case 1:24-cv-01355-JDW                    Document 48-1 Filed 06/02/25                            Page 34 of 528 PageID #:
                                                      2787

                                                      US 12,161,473 B1
                               11                                                                  12
  layer of non-irritating adhesive, such as hydrocolloid, is           contacts 56. The microcontroller 61 connects to the ECG
  provided at least partially on the underside, or contact,            front end circuit 63 that measures raw cutaneous electrical
  surface of the ﬂexible backing 20, but only on the distal end        signals and generates an analog ECG signal representative
  30 and the proximal end 31. As a result, the underside, or           of the electrical activity of the patient’s heart over time.
  contact surface of the longitudinal midsection 23 does not 5            The circuitry 60 of the monitor recorder 14 also includes
  have an adhesive layer and remains free to move relative to          a ﬂash memory 62, which the micro-controller 61 uses for
  the skin. Thus, the longitudinal midsection 23 forms a crimp         storing ECG monitoring data and other physiology and
  relief that respectively facilitates compression and twisting        information. The ﬂash memory 62 also draws power exter-
  of the ﬂexible backing 20 in response to compressional and           nally from the battery provided on the electrode patch 15 via
  torsional forces. Other forms of ﬂexible backing crimp 10 a pair of the electrical contacts 56. Data is stored in a serial
  reliefs are possible.                                                ﬂash memory circuit, which supports read, erase and pro-
     Unlike the ﬂexible backing 20, the ﬂexible circuit 32 is          gram operations over a communications bus. The ﬂash
  only able to bend and cannot stretch in a planar direction.          memory 62 enables the microcontroller 61 to store digitized
  The ﬂexible circuit 32 can be provided either above or below         ECG data. The communications bus further enables the ﬂash
  the ﬂexible backing 20. FIG. 8 is a top view showing the 15 memory 62 to be directly accessed externally over the
  ﬂexible circuit 32 of the extended wear electrode patch 15 of        external connector 65 when the monitor recorder 14 is
  FIG. 4 when mounted above the ﬂexible backing 20. A distal           interfaced to a download station.
  ECG electrode 38 and proximal ECG electrode 39 are                      The circuitry 60 of the monitor recorder 14 further
  respectively coupled to the distal and proximal ends of the          includes an actigraphy sensor 64 implemented as a 3-axis
  ﬂexible circuit 32. A strain relief 40 is deﬁned in the ﬂexible 20 accelerometer. The accelerometer may be conﬁgured to
  circuit 32 at a location that is partially underneath the battery    generate interrupt signals to the microcontroller 61 by
  compartment 36 when the ﬂexible circuit 32 is affixed to the         independent initial wake up and free fall events, as well as
  ﬂexible backing 20. The strain relief 40 is laterally extend-        by device position. In addition, the actigraphy provided by
  able to counter dislodgment of the ECG electrodes 38, 39             the accelerometer can be used during post-monitoring analy-
  due to tensile and torsional forces. A pair of strain relief 25 sis to correct the orientation of the monitor recorder 14 if, for
  cutouts 41 partially extend transversely from each opposite          instance, the monitor recorder 14 has been inadvertently
  side of the ﬂexible circuit 32 and continue longitudinally           installed upside down, that is, with the monitor recorder 14
  towards each other to deﬁne in ‘S’-shaped pattern, when              oriented on the electrode patch 15 towards the patient’s feet,
  viewed from above. The strain relief respectively facilitates        as well as for other event occurrence analyses, such as
  longitudinal extension and twisting of the ﬂexible circuit 32 30 described in commonly-assigned U.S. Pat. No. 9,737,224,
  in response to tensile and torsional forces. Other forms of          issued Aug. 22, 2017, the disclosure of which is incorporated
  circuit board strain relief are possible.                            by reference.
     ECG monitoring and other functions performed by the                  The circuitry 60 of the monitor recorder 14 includes a
  monitor recorder 14 are provided through a micro controlled          wireless transceiver 69 that can provides wireless interfacing
  architecture. FIG. 9 is a functional block diagram showing 35 capabilities. The wireless transceiver 69 also draws power
  the component architecture of the circuitry 60 of the monitor        externally from the battery provided on the electrode patch
  recorder 14 of FIG. 4. The circuitry 60 is externally powered        15 via a pair of the electrical contacts 56. The wireless
  through a battery provided in the non-conductive receptacle          transceiver 69 can be implemented using one or more forms
  25 (shown in FIG. 6). Both power and raw ECG signals,                of wireless communications, including the IEEE 802.11
  which originate in the pair of ECG electrodes 38, 39 (shown 40 computer communications standard, that is Wi-Fi; the 4G
  in FIG. 8) on the distal and proximal ends of the electrode          mobile phone mobile communications standard; the Blu-
  patch 15, are received through an external connector 65 that         etooth data exchange standard; or other wireless communi-
  mates with a corresponding physical connector on the elec-           cations or data exchange standards and protocols. The type
  trode patch 15. The external connector 65 includes the set of        of wireless interfacing capability could limit the range of
  electrical contacts 56 that protrude from the bottom surface 45 interoperability of the monitor recorder 14; for instance,
  of the sealed housing 50 and which physically and electri-           Bluetooth-based implementations are designed for low
  cally interface with the set of pads 34 provided on the              power consumption with a short communications range.
  bottom surface of the non-conductive receptacle 25. The                 The microcontroller 61 includes an expansion port that
  external connector includes electrical contacts 56 for data          also utilizes the communications bus. External devices,
  download, microcontroller communications, power, analog 50 separately drawing power externally from the battery pro-
  inputs, and a peripheral expansion port. The arrangement of          vided on the electrode patch 15 or other source, can interface
  the pins on the electrical connector 65 of the monitor               to the microcontroller 61 over the expansion port in half
  recorder 14 and the device into which the monitor recorder           duplex mode. For instance, an external physiology sensor
  14 is attached, whether an electrode patch 15 or download            can be provided as part of the circuitry 60 of the monitor
  station (not shown), follow the same electrical pin assign- 55 recorder 14, or can be provided on the electrode patch 15
  ment convention to facilitate interoperability. The external         with communication with the micro-controller 61 provided
  connector 65 also serves as a physical interface to a down-          over one of the electrical contacts 56. The physiology sensor
  load station that permits the retrieval of stored ECG moni-          can include an SpO2 sensor, blood pressure sensor, tempera-
  toring data, communication with the monitor recorder 14,             ture sensor, respiratory rate sensor, glucose sensor, airﬂow
  and performance of other functions.                               60 sensor, volumetric pressure sensing, or other types of sensor
     Operation of the circuitry 60 of the monitor recorder 14 is       or telemetric input sources. For instance, the integration of
  managed by a microcontroller 61. The micro-controller 61             an airﬂow sensor is described in commonly-assigned U.S.
  includes a program memory unit containing internal ﬂash              Pat. No. 9,364,155, issued Jun. 14, 2016, the disclosure
  memory that is readable and writeable. The internal ﬂash             which is incorporated by reference.
  memory can also be programmed externally. The micro- 65                 Finally, the circuitry 60 of the monitor recorder 14
  controller 61 draws power externally from the battery pro-           includes patient-interfaceable components, including a tac-
  vided on the electrode patch 15 via a pair of the electrical         tile feedback button 66, which a patient can press to mark
Case 1:24-cv-01355-JDW                   Document 48-1 Filed 06/02/25                           Page 35 of 528 PageID #:
                                                     2788

                                                     US 12,161,473 B1
                               13                                                                14
  events or to perform other functions, and a buzzer 67, such      described in commonly-assigned U.S. Pat. No. 9,655,538,
  as a speaker, magnetic resonator or piezoelectric buzzer. The    issued May 23, 2017, the disclosure which is incorporated
  buzzer 67 can be used by the microcontroller 61 to output        by reference.
  feedback to a patient such as to conﬁrm power up and                In a further embodiment, the circuitry 70 of the electrode
  initiation of ECG monitoring. Still other components as part 5 patch 15 includes a wireless transceiver 75, in lieu the
  of the circuitry 60 of the monitor recorder 14 are possible.     including of the wireless transceiver 69 in the circuitry 60 of
     While the monitor recorder 14 operates under micro            the monitor recorder 14, which interfaces with the micro-
  control, most of the electrical components of the electrode      controller 61 over the microcontroller’s expansion port via
  patch 15 operate passively. FIG. 10 is a functional block        the external connector 74.
  diagram showing the circuitry 70 of the extended wear 10            The monitor recorder 14 continuously monitors the
  electrode patch 15 of FIG. 4. The circuitry 70 of the            patient’s heart rate and physiology. FIG. 11 is a ﬂow diagram
  electrode patch 15 is electrically coupled with the circuitry    showing a monitor recorder-implemented method 100 for
  60 of the monitor recorder 14 through an external connector      monitoring ECG data for use in the monitor recorder 14 of
  74. The external connector 74 is terminated through the set      FIG. 4. Initially, upon being connected to the set of pads 34
  of pads 34 provided on the bottom of the non-conductive 15 provided with the non-conductive receptacle 25 when the
  receptacle 25, which electrically mate to corresponding          monitor recorder 14 is snapped into place, the microcon-
  electrical contacts 56 protruding from the bottom surface of     troller 61 executes a power up sequence (step 101). During
  the sealed housing 50 to electrically interface the monitor      the power up sequence, the voltage of the battery 71 is
  recorder 14 to the electrode patch 15.                           checked, the state of the ﬂash memory 62 is conﬁrmed, both
     The circuitry 70 of the electrode patch 15 performs three 20 in terms of operability check and available capacity, and
  primary functions. First, a battery 71 is provided in a battery  microcontroller operation is diagnostically conﬁrmed. In a
  compartment formed on the bottom surface of the non-             further embodiment, an authentication procedure between
  conductive receptacle 25. The battery 71 is electrically         the microcontroller 61 and the electrode patch 15 are also
  interfaced to the circuitry 60 of the monitor recorder 14 as     performed.
  a source of external power. The unique provisioning of the 25       Following satisfactory completion of the power up
  battery 71 on the electrode patch 15 provides several advan-     sequence, an iterative processing loop (steps 102-109) is
  tages. First, the locating of the battery 71 physically on the   continually executed by the microcontroller 61. During each
  electrode patch 15 lowers the center of gravity of the overall   iteration (step 102) of the processing loop, the ECG frontend
  wearable monitor 12 and thereby helps to minimize shear          63 (shown in FIG. 9) continually senses the cutaneous ECG
  forces and the effects of movements of the patient and 30 electrical signals (step 103) via the ECG electrodes 38, 29
  clothing. Moreover, the housing 50 of the monitor recorder       and is optimized to maintain the integrity of the P-wave. A
  14 is sealed against moisture and providing power externally     sample of the ECG signal is read (step 104) by the micro-
  avoids having to either periodically open the housing 50 for     controller 61 by sampling the analog ECG signal output
  the battery replacement, which also creates the potential for    front end 63. FIG. 12 is a graph showing, by way of
  moisture intrusion and human error, or to recharge the 35 example, a typical ECG waveform 110. The x-axis repre-
  battery, which can potentially take the monitor recorder 14      sents time in approximate units of tenths of a second. The
  off line for hours at a time. In addition, the electrode patch   y-axis represents cutaneous electrical signal strength in
  15 is intended to be disposable, while the monitor recorder      approximate units of millivolts. The P-wave 111 has a
  14 is a reusable component. Each time that the electrode         smooth, normally upward, that is, positive, waveform that
  patch 15 is replaced, a fresh battery is provided for the use 40 indicates atrial depolarization. The QRS complex usually
  of the monitor recorder 14, which enhances ECG monitoring        begins with the downward deﬂection of a Q wave 112,
  performance quality and duration of use. Finally, the archi-     followed by a larger upward deﬂection of an R-wave 113,
  tecture of the monitor recorder 14 is open, in that other        and terminated with a downward waveform of the S wave
  physiology sensors or components can be added by virtue of       114, collectively representative of ventricular depolariza-
  the expansion port of the microcontroller 61. Requiring 45 tion. The T wave 115 is normally a modest upward wave-
  those additional sensors or components to draw power from        form, representative of ventricular depolarization, while the
  a source external to the monitor recorder 14 keeps power         U wave 116, often not directly observable, indicates the
  considerations independent of the monitor recorder 14.           recovery period of the Purkinje conduction ﬁbers.
  Thus, a battery of higher capacity could be introduced when         Sampling of the R-to-R interval enables heart rate infor-
  needed to support the additional sensors or components 50 mation derivation. For instance, the R-to-R interval repre-
  without effecting the monitor recorders circuitry 60.            sents the ventricular rate and rhythm, while the P-to-P
     Second, the pair of ECG electrodes 38, 39 respectively        interval represents the atrial rate and rhythm. Importantly,
  provided on the distal and proximal ends of the ﬂexible          the PR interval is indicative of atrioventricular (AV) con-
  circuit 32 are electrically coupled to the set of pads 34        duction time and abnormalities in the PR interval can reveal
  provided on the bottom of the non-conductive receptacle 25 55 underlying heart disorders, thus representing another reason
  by way of their respective circuit traces 33, 37. The signal     why the P-wave quality achievable by the extended wear
  ECG electrode 39 includes a protection circuit 72, which is      ambulatory electrocardiography and physiological sensor
  an inline resistor that protects the patient from excessive      monitor described herein is medically unique and important.
  leakage current.                                                 The long-term observation of these ECG indicia, as pro-
     Last, in a further embodiment, the circuitry 70 of the 60 vided through extended wear of the wearable monitor 12,
  electrode patch 15 includes a cryptographic circuit 73 to        provides valuable insights to the patient’s cardiac function
  authenticate an electrode patch 15 for use with a monitor        and overall well-being.
  recorder 14. The cryptographic circuit 73 includes a device         Each sampled ECG signal, in quantized and digitized
  capable of secure authentication and validation. The cryp-       form, is temporarily staged in buffer (step 105), pending
  tographic device 73 ensures that only genuine, non-expired, 65 compression preparatory to storage in the ﬂash memory 62
  safe, and authenticated electrode patches 15 are permitted to    (step 106). Following compression, the compressed ECG
  provide monitoring data to a monitor recorder 14, such as        digitized sample is again buffered (step 107), then written to
Case 1:24-cv-01355-JDW                    Document 48-1 Filed 06/02/25                           Page 36 of 528 PageID #:
                                                      2789

                                                     US 12,161,473 B1
                               15                                                                 16
  the ﬂash memory 62 (step 108) using the communications            middleware (steps 153-159) in an iterative processing loop.
  bus. Processing continues (step 109), so long as the moni-        During each iteration (step 153), the ECG datum is read
  toring recorder 14 remains connected to the electrode patch       (step 154) and, if necessary, the gain of the ECG signal is
  15 (and storage space remains available in the ﬂash memory        adjusted (step 155) to compensate, for instance, for reloca-
  62), after which the processing loop is exited and execution 5 tion or replacement of the electrode patch 15 during the
  terminates. Still other operations and steps are possible.        monitoring period.
     In a further embodiment, the monitor recorder 14 also             In addition, depending upon the conﬁguration of the
  continuously receives data from wearable physiology and           wearable monitor 12, other physiological data (or other
  activity sensors 131 and wearable or mobile communica-            information), including patient events, such as a fall, peak
  tions devices 133 (shown in FIG. 3). The data is received in 10
                                                                    activity level, sleep detection, Detection of patient activity
  a conceptually-separate execution thread as part of the
                                                                    levels and states, and so on, may be recorded along with the
  iterative processing loop (steps 102-109) continually
  executed by the microcontroller 61. During each iteration         ECG monitoring data. For instance, actigraphy data may
  (step 102) of the processing loop, if wireless data is available  have been sampled by the actigraphy sensor 64 based on a
  (step 140), a sample of the wireless is read (step 141) by the 15 sensed event occurrence, such as a sudden change in orien-
  microcontroller 61 and, if necessary, converted into a digital    tation due to the patient taking a fall. In response, the
  signal by the onboard ADC of the microcontroller 61. Each         monitor recorder 14 will embed the actigraphy data samples
  wireless data sample, in quantized and digitized form, is         into the stream of data, including ECG monitoring data, that
  temporarily staged in buffer (step 142), pending compres-         is recorded to the ﬂash memory 62 by the micro-controller
  sion preparatory to storage in the ﬂash memory 62 (step 20 61. Post-monitoring, the actigraphy data is temporally
  143). Following compression, the compressed wireless data         matched to the ECG data to provide the proper physiological
  sample is again buffered (step 144), then written to the ﬂash     context to the sensed event occurrence. As a result, the
  memory 62 (step 145) using the communications bus. Pro-           three-axis actigraphy signal is turned into an actionable
  cessing continues (step 109), so long as the monitoring           event occurrence that is provided, through conversion by the
  recorder 14 remains connected to the electrode patch 15 (and 25 middleware, to third party post-monitoring analysis pro-
  storage space remains available in the ﬂash memory 62),           grams, along with the ECG recordings contemporaneous to
  after which the processing loop is exited and execution           the event occurrence. Other types of processing of the other
  terminates. Still other operations and steps are possible.        physiological data (or other information) are possible.
     The monitor recorder 14 stores ECG data and other                 Thus, during execution of the middleware, any other
  information in the ﬂash memory 62 (shown in FIG. 9) using 30 physiological data (or other information) that has been
  a proprietary format that includes data compression. As a         embedded into the recorded ECG monitoring data is read
  result, data retrieved from a monitor recorder 14 must ﬁrst       (step 156) and time-correlated to the time frame of the ECG
  be converted into a format suitable for use by third party        signals that occurred at the time that the other physiological
  post-monitoring analysis software. FIG. 13 is a ﬂow diagram       data (or other information) was noted (step 157). Finally, the
  showing a method 150 for offloading and converting ECG 35 ECG datum, signal gain adjusted, if appropriate, and other
  and other physiological data from an extended wear elec-          physiological data, if applicable and as time-correlated, are
  trocardiography and physiological sensor monitor 12 in            stored in a format suitable to the backend software (step 158)
  accordance with one embodiment. The method 150 can be             used in post-monitoring analysis.
  implemented in software and execution of the software can            In a further embodiment, the other physiological data, if
  be performed on a download station 125, which could be a 40 apropos, is embedded within an unused ECG track. For
  programmer or other device, or a computer system, includ-         example, the SCP-ENG standard allows multiple ECG chan-
  ing a server 122 or personal computer 129, such as further        nels to be recorded into a single ECG record. The monitor
  described supra with reference to FIG. 3, as a series of          recorder 14, though, only senses one ECG channel. The
  process or method modules or steps. For convenience, the          other physiological data can be stored into an additional
  method 150 will be described in the context of being 45 ECG channel, which would otherwise be zero-padded or
  performed by a personal computer 136 or other connectable         altogether omitted. The backend software would then be
  computing device (shown in FIG. 3) as middleware that             able to read the other physiological data in context with the
  converts ECG data and other information into a format             single channel of ECG monitoring data recorded by the
  suitable for use by a third-party post-monitoring analysis        monitor recorder 14, provided the backend software imple-
  program. Execution of the method 150 by a computer 50 mented changes necessary to interpret the other physiologi-
  system would be analogous mutatis mutandis.                       cal data. Still other forms of embedding of the other physi-
     Initially, the download station 125 is connected to the        ological data with formatted ECG monitoring data, or of
  monitor recorder 14 (step 151), such as by physically             providing the other physiological data in a separate manner,
  interfacing to a set of terminals 128 on a paired receptacle      are possible.
  127 or by wireless connection, if available. The data stored 55      Processing continues (step 159) for each remaining ECG
  on the monitor recorder 14, including ECG and physiologi-         datum, after which the processing loop is exited and execu-
  cal monitoring data, other recorded data, and other infor-        tion terminates. Still other operations and steps are possible.
  mation are retrieved (step 152) over a hard link 135 using a         While the invention has been particularly shown and
  control program 137 (“Ctl”) or analogous application              described as referenced to the embodiments thereof, those
  executing on a personal computer 136 or other connectable 60 skilled in the art will understand that the foregoing and other
  computing device.                                                 changes in form and detail may be made therein without
     The data retrieved from the monitor recorder 14 is in a        departing from the spirit and scope.
  proprietary storage format and each datum of recorded ECG
  monitoring data, as well as any other physiological data or          What is claimed is:
  other information, must be converted, so that the data can be 65     1. A wearable electrocardiography monitoring device,
  used by a third-party post-monitoring analysis program.           comprising:
  Each datum of ECG monitoring data is converted by the                a ﬂexible backing including a strip comprising:
Case 1:24-cv-01355-JDW                     Document 48-1 Filed 06/02/25                            Page 37 of 528 PageID #:
                                                       2790

                                                      US 12,161,473 B1
                               17                                                                   18
        a ﬁrst face and a second face, wherein a portion of the             a ﬁrst face and a second face, wherein a portion of the
           ﬁrst face is covered in adhesive to adhere the strip to             ﬁrst face is covered in adhesive to adhere the strip to
           skin of a patient,                                                  skin of a patient,
        a ﬁrst end section,                                                 a ﬁrst end section,
        a second end section opposite the ﬁrst end section, and 5           a second end section opposite the ﬁrst end section, and
        a mid-section between the ﬁrst end section and the                  a mid-section between the ﬁrst end section and the
           second end section, wherein the mid-section is nar-                 second end section, wherein the mid-section is nar-
           rower than the ﬁrst end section and the second end                  rower than the ﬁrst end section and the second end
           section;                                                            section, and wherein the mid-section comprises a
     a ﬂexible circuit mounted to the second face of the strip, 10             ﬁrst edge parallel to a second edge;
        the ﬂexible circuit comprising a ﬁrst circuit trace and a        a ﬂexible circuit mounted to the second face of the strip,
        second circuit trace;                                               the ﬂexible circuit comprising a ﬁrst circuit trace and a
     a ﬁrst electrocardiographic electrode and a second elec-               second circuit trace;
        trocardiographic electrode, wherein the ﬁrst electrocar-         a ﬁrst electrocardiographic electrode and a second elec-
        diographic electrode and the second electrocardio- 15               trocardiographic electrode, wherein the ﬁrst electrocar-
        graphic electrode are conﬁgured to sense                            diographic electrode and the second electrocardio-
        electrocardiographic signals, wherein the ﬁrst electro-             graphic electrode are conﬁgured to sense
        cardiographic electrode and the second electrocardio-               electrocardiographic signals, wherein the ﬁrst electro-
        graphic electrode are coupled to the ﬂexible circuit,               cardiographic electrode and the second electrocardio-
        wherein the ﬁrst electrocardiographic electrode is con- 20          graphic electrode are coupled to the ﬂexible circuit,
        ductively exposed at the ﬁrst face along the ﬁrst end               wherein the ﬁrst electrocardiographic electrode is con-
        section of the strip, wherein the second electrocardio-             ductively exposed at the ﬁrst face along the ﬁrst end
        graphic electrode is conductively exposed at the ﬁrst               section of the strip, wherein the second electrocardio-
        face along the second end section of the strip, wherein             graphic electrode is conductively exposed at the ﬁrst
        the ﬁrst circuit trace is electrically coupled to the ﬁrst 25       face along the second end section of the strip, wherein
        electrocardiographic electrode, wherein the second cir-             the ﬁrst circuit trace is electrically coupled to the ﬁrst
        cuit trace is electrically coupled to the second electro-           electrocardiographic electrode, wherein the second cir-
        cardiographic electrode, and wherein the ﬁrst electro-              cuit trace is electrically coupled to the second electro-
        cardiographic electrode includes an inline resistor;                cardiographic electrode, and wherein the ﬁrst electro-
     a battery vertically aligned with a sealed housing, wherein 30         cardiographic electrode includes an inline resistor;
        the sealed housing includes rounded edges on a top               a battery;
        surface, wherein the sealed housing is coupled to the            a wireless transceiver, wherein the wireless transceiver
        ﬂexible backing, and wherein the sealed housing                     draws power from the battery; and
        includes a processor, wherein the processor is electri-          a sealed housing having rounded edges on a top surface,
        cally coupled to the ﬁrst electrocardiographic electrode, 35        wherein the sealed housing is coupled to the ﬂexible
        the second electrocardiographic electrode, and the bat-                backing, and wherein the sealed housing includes a
        tery, wherein the processor is conﬁgured to process the                processor, wherein the processor is electrically
        electrocardiographic signals sensed via the ﬁrst elec-                 coupled to the ﬁrst electrocardiographic electrode,
        trocardiographic electrode and the second electrocar-                  the second electrocardiographic electrode, and the
        diographic electrode; and                                  40          battery, wherein the processor is conﬁgured to pro-
     a wireless transceiver, wherein the wireless transceiver                  cess the electrocardiographic signals sensed via the
        draws power from the battery.                                          ﬁrst electrocardiographic electrode and the second
     2. The wearable electrocardiography monitoring device of                  electrocardiographic electrode.
  claim 1, wherein the mid-section comprises a ﬁrst edge                 9. The wearable electrocardiography monitoring device of
  parallel to a second edge.                                       45 claim 8, wherein the battery is vertically aligned with the
     3. The wearable electrocardiography monitoring device of         sealed housing.
  claim 1, wherein the wireless transceiver is conﬁgured to              10. The wearable electrocardiography monitoring device
  communicate with an external device via Wi-Fi, mobile               of claim 8, wherein the wireless transceiver is conﬁgured to
  phone communication standards, or Bluetooth.                        communicate with an external device via Wi-Fi, mobile
     4. The wearable electrocardiography monitoring device of 50 phone communication standards, or Bluetooth.
  claim 1, wherein the electrocardiographic signals are con-             11. The wearable electrocardiography monitoring device
  verted to a different format.                                       of claim 8, wherein the electrocardiographic signals are
     5. The wearable electrocardiography monitoring device of         converted to a different format.
  claim 4, wherein the electrocardiographic signals are                  12. The wearable electrocardiography monitoring device
  retrieved by one of a server, a client computer, and a mobile 55 of claim 11, wherein the electrocardiographic signals are
  device via the wireless transceiver after the electrocardio-        retrieved by one of a server, a client computer, and a mobile
  graphic signals are converted to the different format.              device via the wireless transceiver after the electrocardio-
     6. The wearable electrocardiography monitoring device of         graphic signals are converted to the different format.
  claim 1, wherein the adhesive covering the portion of the              13. The wearable electrocardiography monitoring device
  ﬁrst face of the strip is provided on the ﬁrst end section and 60 of claim 8, wherein the adhesive covering the portion of the
  the second end section only.                                        ﬁrst face of the strip is provided on the ﬁrst end section and
     7. The wearable electrocardiography monitoring device of         the second end section only.
  claim 1, wherein the battery is vertically aligned with the            14. The wearable electrocardiography monitoring device
  wireless transceiver.                                               of claim 8, wherein the battery is vertically aligned with the
     8. A wearable electrocardiography monitoring device, 65 wireless transceiver.
  comprising:                                                            15. A wearable electrocardiography monitoring device,
     a ﬂexible backing including a strip comprising:                  comprising:
Case 1:24-cv-01355-JDW                    Document 48-1 Filed 06/02/25                           Page 38 of 528 PageID #:
                                                      2791

                                                     US 12,161,473 B1
                               19                                                                  20
     a ﬂexible backing including a strip comprising:                     wherein the wireless transceiver is conﬁgured to commu-
        a ﬁrst face and a second face, wherein a portion of the            nicate with an external device via Wi-Fi, mobile phone
           ﬁrst face is covered in adhesive to adhere the strip to         communication standards, or Bluetooth,
           skin of a patient,                                            wherein the electrocardiographic signals are converted to
        a ﬁrst end section,                                         5      a different format,
        a second end section opposite the ﬁrst end section, and          wherein the electrocardiographic signals are retrieved by
        a mid-section between the ﬁrst end section and the                 one of a server, a client computer, and a mobile device
           second end section, wherein the mid-section is nar-             via the wireless transceiver after the electrocardio-
           rower than the ﬁrst end section and the second end              graphic signals are converted to the different format,
                                                                   10
           section, and wherein the mid-section comprises a              wherein the adhesive covering the portion of the ﬁrst face
           ﬁrst edge parallel to a second edge;                            of the strip is provided on the ﬁrst end section and the
     a ﬂexible circuit mounted to the second face of the strip,            second end section only, and
        the ﬂexible circuit comprising a ﬁrst circuit trace and a        wherein the battery is vertically aligned with the wireless
        second circuit trace;                                      15      transceiver.
     a ﬁrst electrocardiographic electrode and a second elec-            22. The wearable electrocardiography monitoring device
        trocardiographic electrode, wherein the ﬁrst electrocar-      of claim 20,
        diographic electrode and the second electrocardio-               wherein the wireless transceiver is conﬁgured to commu-
        graphic electrode are conﬁgured to sense                           nicate with an external device via Wi-Fi, mobile phone
        electrocardiographic signals, wherein the ﬁrst electro- 20         communication standards, or Bluetooth,
        cardiographic electrode and the second electrocardio-            wherein the electrocardiographic signals are retrieved by
        graphic electrode are coupled to the ﬂexible circuit,              one of a server, a client computer, and a mobile device
        wherein the ﬁrst electrocardiographic electrode is con-            via the wireless transceiver after the electrocardio-
        ductively exposed at the ﬁrst face along the ﬁrst end              graphic signals are converted to a different format,
        section of the strip, wherein the second electrocardio- 25       wherein the adhesive covering the portion of the ﬁrst face
        graphic electrode is conductively exposed at the ﬁrst              of the strip is provided on the ﬁrst end section and the
        face along the second end section of the strip, wherein            second end section only, and
        the ﬁrst circuit trace is electrically coupled to the ﬁrst       wherein the battery is vertically aligned with the wireless
        electrocardiographic electrode, wherein the second cir-            transceiver.
        cuit trace is electrically coupled to the second electro-  30    23. The wearable electrocardiography monitoring device
                                                                      of claim 20,
        cardiographic electrode, and wherein the ﬁrst electro-
                                                                         wherein the wireless transceiver is conﬁgured to commu-
        cardiographic electrode includes an inline resistor;
                                                                           nicate with an external device via Wi-Fi, mobile phone
     a battery vertically aligned with a sealed housing, wherein           communication standards, or Bluetooth,
        the sealed housing includes rounded edges on a top 35            wherein the electrocardiographic signals are converted to
        surface, wherein the sealed housing is coupled to the              a different format,
        ﬂexible backing, and wherein the sealed housing                  wherein the adhesive covering the portion of the ﬁrst face
        includes a processor, wherein the processor is electri-            of the strip is provided on the ﬁrst end section and the
        cally coupled to the ﬁrst electrocardiographic electrode,          second end section only, and
        the second electrocardiographic electrode, and the bat- 40       wherein the battery is vertically aligned with the wireless
        tery, wherein the processor is conﬁgured to process the            transceiver.
        electrocardiographic signals sensed via the ﬁrst elec-           24. The wearable electrocardiography monitoring device
        trocardiographic electrode and the second electrocar-         of claim 20,
        diographic electrode; and                                        wherein the wireless transceiver is conﬁgured to commu-
     a wireless transceiver, wherein the wireless transceiver 45           nicate with an external device via Wi-Fi, mobile phone
        draws power from the battery.                                      communication standards, or Bluetooth,
     16. The wearable electrocardiography monitoring device              wherein the electrocardiographic signals are converted to
  of claim 15, wherein the wireless transceiver is conﬁgured               a different format,
  to communicate with an external device via Wi-Fi, mobile               wherein the electrocardiographic signals are retrieved by
  phone communication standards, or Bluetooth.                     50      one of a server, a client computer, and a mobile device
     17. The wearable electrocardiography monitoring device                via the wireless transceiver after the electrocardio-
  of claim 15, wherein the electrocardiographic signals are                graphic signals are converted to the different format,
  converted to a different format.                                         and
     18. The wearable electrocardiography monitoring device              wherein the battery is vertically aligned with the wireless
  of claim 17, wherein the electrocardiographic signals are 55             transceiver.
  retrieved by one of a server, a client computer, and a mobile          25. The wearable electrocardiography monitoring device
  device via the wireless transceiver after the electrocardio-        of claim 20,
  graphic signals are converted to the different format.                 wherein the wireless transceiver is conﬁgured to commu-
     19. The wearable electrocardiography monitoring device                nicate with an external device via Wi-Fi, mobile phone
  of claim 15, wherein the adhesive covering the portion of the 60         communication standards, or Bluetooth,
  ﬁrst face of the strip is provided on the ﬁrst end section and         wherein the electrocardiographic signals are converted to
  the second end section only.                                             a different format,
     20. The wearable electrocardiography monitoring device              wherein the electrocardiographic signals are retrieved by
  of claim 15, wherein the battery is vertically aligned with the          one of a server, a client computer, and a mobile device
  wireless transceiver.                                            65      via the wireless transceiver after the electrocardio-
     21. The wearable electrocardiography monitoring device                graphic signals are converted to the different format,
  of claim 20,                                                             and
Case 1:24-cv-01355-JDW                   Document 48-1 Filed 06/02/25                           Page 39 of 528 PageID #:
                                                     2792

                                                     US 12,161,473 B1
                               21                                                                22
     wherein the adhesive covering the portion of the ﬁrst face       wherein the electrocardiographic signals are converted to
       of the strip is provided on the ﬁrst end section and the         a different format, and
       second end section only.                                       wherein the battery is vertically aligned with the wireless
     26. The wearable electrocardiography monitoring device             transceiver.
  of claim 20,                                                   5    29. The wearable electrocardiography monitoring device
     wherein the wireless transceiver is conﬁgured to commu-       of claim 20,
       nicate with an external device via Wi-Fi, mobile phone         wherein the wireless transceiver is conﬁgured to commu-
       communication standards, or Bluetooth,                           nicate with an external device via Wi-Fi, mobile phone
     wherein the electrocardiographic signals are converted to
                                                                        communication standards, or Bluetooth,
       a different format, and                                  10
     wherein the electrocardiographic signals are retrieved by        wherein  the electrocardiographic signals are retrieved by
       one of a server, a client computer, and a mobile device          one of a server, a client computer, and a mobile device
       via the wireless transceiver after the electrocardio-            via the wireless transceiver after the electrocardio-
       graphic signals are converted to the different format.           graphic signals are converted to a different format, and
     27. The wearable electrocardiography monitoring device 15        wherein  the adhesive covering the portion of the ﬁrst face
  of claim 20,                                                          of the strip is provided on the ﬁrst end section and the
     wherein the wireless transceiver is conﬁgured to commu-            second end section only.
       nicate with an external device via Wi-Fi, mobile phone         30. The wearable electrocardiography monitoring device
       communication standards, or Bluetooth,                      of claim 20,
     wherein the electrocardiographic signals are converted to 20     wherein the wireless transceiver is conﬁgured to commu-
       a different format, and                                          nicate with an external device via Wi-Fi, mobile phone
     wherein the adhesive covering the portion of the ﬁrst face         communication standards, or Bluetooth,
       of the strip is provided on the ﬁrst end section and the       wherein  the electrocardiographic signals are retrieved by
       second end section only.                                         one of a server, a client computer, and a mobile device
     28. The wearable electrocardiography monitoring device 25          via the wireless transceiver after the electrocardio-
  of claim 20,                                                          graphic signals are converted to a different format, and
     wherein the wireless transceiver is conﬁgured to commu-          wherein  the battery is vertically aligned with the wireless
       nicate with an external device via Wi-Fi, mobile phone           transceiver.
       communication standards, or Bluetooth,                                             ∗ ∗ ∗ ∗ ∗
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 40 of 528 PageID #:
                                     2793




                         Exhibit 2
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 41 of 528 PageID #:
                                     2794
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 42 of 528 PageID #:
                                     2795
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 43 of 528 PageID #:
                                     2796
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 44 of 528 PageID #:
                                     2797
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 45 of 528 PageID #:
                                     2798
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 46 of 528 PageID #:
                                     2799
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 47 of 528 PageID #:
                                     2800
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 48 of 528 PageID #:
                                     2801
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 49 of 528 PageID #:
                                     2802
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 50 of 528 PageID #:
                                     2803
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 51 of 528 PageID #:
                                     2804
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 52 of 528 PageID #:
                                     2805
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 53 of 528 PageID #:
                                     2806
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 54 of 528 PageID #:
                                     2807
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 55 of 528 PageID #:
                                     2808
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 56 of 528 PageID #:
                                     2809
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 57 of 528 PageID #:
                                     2810
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 58 of 528 PageID #:
                                     2811
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 59 of 528 PageID #:
                                     2812
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 60 of 528 PageID #:
                                     2813
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 61 of 528 PageID #:
                                     2814
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 62 of 528 PageID #:
                                     2815
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 63 of 528 PageID #:
                                     2816
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 64 of 528 PageID #:
                                     2817




                         Exhibit 3
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 65 of 528 PageID #:
                                     2818
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 66 of 528 PageID #:
                                     2819
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 67 of 528 PageID #:
                                     2820
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 68 of 528 PageID #:
                                     2821
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 69 of 528 PageID #:
                                     2822
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 70 of 528 PageID #:
                                     2823
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 71 of 528 PageID #:
                                     2824
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 72 of 528 PageID #:
                                     2825
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 73 of 528 PageID #:
                                     2826




                         Exhibit 4
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 74 of 528 PageID #:
                                     2827
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 75 of 528 PageID #:
                                     2828
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 76 of 528 PageID #:
                                     2829
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 77 of 528 PageID #:
                                     2830
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 78 of 528 PageID #:
                                     2831
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 79 of 528 PageID #:
                                     2832
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 80 of 528 PageID #:
                                     2833
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 81 of 528 PageID #:
                                     2834
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 82 of 528 PageID #:
                                     2835
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 83 of 528 PageID #:
                                     2836
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 84 of 528 PageID #:
                                     2837
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 85 of 528 PageID #:
                                     2838
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 86 of 528 PageID #:
                                     2839




                         Exhibit 5
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 87 of 528 PageID #:
                                     2840
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 88 of 528 PageID #:
                                     2841
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 89 of 528 PageID #:
                                     2842
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 90 of 528 PageID #:
                                     2843




                         Exhibit 6
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 91 of 528 PageID #:
                                     2844
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 92 of 528 PageID #:
                                     2845
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 93 of 528 PageID #:
                                     2846
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 94 of 528 PageID #:
                                     2847
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 95 of 528 PageID #:
                                     2848
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 96 of 528 PageID #:
                                     2849
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 97 of 528 PageID #:
                                     2850
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 98 of 528 PageID #:
                                     2851
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 99 of 528 PageID #:
                                     2852




                         Exhibit 7
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 100 of 528 PageID #:
                                     2853
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 101 of 528 PageID #:
                                     2854
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 102 of 528 PageID #:
                                     2855
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 103 of 528 PageID #:
                                     2856
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 104 of 528 PageID #:
                                     2857
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 105 of 528 PageID #:
                                     2858
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 106 of 528 PageID #:
                                     2859
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 107 of 528 PageID #:
                                     2860
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 108 of 528 PageID #:
                                     2861
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 109 of 528 PageID #:
                                     2862




                         Exhibit 8
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 110 of 528 PageID #:
                                     2863
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 111 of 528 PageID #:
                                     2864
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 112 of 528 PageID #:
                                     2865
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 113 of 528 PageID #:
                                     2866
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 114 of 528 PageID #:
                                     2867
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 115 of 528 PageID #:
                                     2868
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 116 of 528 PageID #:
                                     2869
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 117 of 528 PageID #:
                                     2870
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 118 of 528 PageID #:
                                     2871




                         Exhibit 9
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 119 of 528 PageID #:
                                     2872
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 120 of 528 PageID #:
                                     2873
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 121 of 528 PageID #:
                                     2874
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 122 of 528 PageID #:
                                     2875
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 123 of 528 PageID #:
                                     2876
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 124 of 528 PageID #:
                                     2877
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 125 of 528 PageID #:
                                     2878
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 126 of 528 PageID #:
                                     2879
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 127 of 528 PageID #:
                                     2880
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 128 of 528 PageID #:
                                     2881




                         Exhibit 10
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 129 of 528 PageID #:
                                     2882
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 130 of 528 PageID #:
                                     2883




                         Exhibit 11
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 131 of 528 PageID #:
                                     2884




                                                Instructions for Use
                                                             Read this booklet to
                                                          learn more about using
                                                                 your Zio monitor.




                                                          Apply your Zio monitor
                                                         immediately and do not
                                                         throw away this booklet.
Case 1:24-cv-01355-JDW      Document 48-1 Filed 06/02/25            Page 132 of 528 PageID #:
                                        2885


    MyZio app                                         We are here to support you

    Use the MyZio app to log symptoms, track          •   Contact Customer Care at
    progress, access information about your Zio           (888) 693-2401
    monitor, and view helpful video tutorials         •   Customer Care is available 24 hours
                                                          a day/7 days a week to answer
                                                          questions about your Zio monitor.
                 Scan QR code to download
                                                      •   Customer Care troubleshoots
                1. Open the camera app on                 issues with you and reminds you to
                   your phone.                            return your Zio monitor.
                2. Hold the camera so you can see     •   Customer Care collects your
                   the QR code on your screen.            feedback about the Zio monitor.
                   A notification should appear in
                   your camera app.
                3. Tap the notification to download
                   the app.
Case 1:24-cv-01355-JDW                  Document 48-1 Filed 06/02/25                      Page 133 of 528 PageID #:
  Contents                                          2886

  Welcome to Zio monitor                                   2       Logging symptoms                         15
  Description                                              2       Troubleshooting – flashing lights        17
  Example of Zio monitor                                   3       Troubleshooting – general                18
  Package contents                                         4       Removing Zio monitor                     19
  Getting started                                          6       Returning Zio monitor                    20
  Register the patient                                     6       Technical references                     21
  1. Position prep area                                    8       Safety Information                       23
  2. Prep skin                                             9       Device specification                     28
  3. Apply the Zio monitor                                 10
  4. Activate the Zio monitor                              12
  Wearing Zio monitor                                      13


  Visit iRhythm’s website www.irhythmtech.com/user-manuals to view and download
  documents pertinent to privacy notices, product warranty, terms of service, and other
  product information, including additional copies of user manuals.
Case 1:24-cv-01355-JDW           Document 48-1 Filed 06/02/25                Page 134 of 528 PageID #:
  Welcome to Zio monitor                     2887

  Product Description
  The Zio® ECG Monitoring System is an ambulatory Electrocardiogram
  (ECG) monitoring system. The Zio ECG Monitoring System consists of
  two components:
  (1) Zio monitor
  (2) proprietary algorithm software.
  The Zio monitor is a single-use ECG monitor that provides a continuous,
  single-channel recording for up to 14 days. The Zio monitor records
  ECG data without patient interaction, with the goal of improving patient
  compliance via simplicity of operation. Patients have the option of pressing
  a convenient button and filling out a log to document symptomatic events,
  which will support symptom-rhythm correlation in the diagnostic report.
  After conclusion of the wear period (up to 14 days), the patient removes the
  Zio monitor and returns it by mail to iRhythm for processing. After receipt,
  the data is analyzed by iRhythm’s proprietary algorithm before a Certified
  Cardiographic Technician (CCT) reviews the results and generates a report
  of the key findings.

  2
Case 1:24-cv-01355-JDW       Document 48-1 Filed 06/02/25           Page 135 of 528 PageID #:
  Example of Zio monitor                 2888


                2                            1 Electrode – acquires ECG data
        1
                         3                   2 Adhesive wings – adheres the Zio monitor
                                 1       2     to the upper-left chest
                                             3 Light – momentarily flashes green when
                                               activated and orange in the event of an error.
                                                After activation, you will not see any lights.
                                                Refer to Troubleshooting - flashing lights on
                                                page 17.
            5
                                             4 Zio button – activates the Zio monitor.
                                               The patient presses this button when a
                     4                         symptom is felt.
                                             5 Clear plastic backings – remove from back
                                     5
                                               of Zio monitor and discard before applying
                                               to the chest.




                                                                                                 3
Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25                        Page 136 of 528 PageID #:
  Package contents                          2889

  Note: The patient must keep the device box until the end of the prescribed
  wear period. The postage-paid box is re-used to return the device and
  Symptom Log to iRhythm.




                                                  MM / DD / YYYY   MM / DD / YYYY




      Instructions for Use,                   Symptom Log,                                 Zio monitor,
            quantity 1                          quantity 1                                  quantity 1
                                                                                       Note: The Zio monitor is
                                                                                           within a pouch




  4
Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25                        Page 137 of 528 PageID #:
                                            2890




      Prep Materials box,            Postage-paid return box                         Adhesive remover wipes,
          quantity 1                  (same as device box)                                 quantity 2
                                     The patient must keep this box.                      Note: The adhesive
                                       The Zio monitor is returned                     remover wipes are in the
                                       in the box at the end of the                      Instructions for Use.
                                         prescribed wear period.



                                                                                                  Alcohol
                                                                       Exfoliator
     The Prep Materials box is                                                                    Wipe


     within the device box and
     contains the following items
     for skin preparation:            Disposable razor,          Exfoliator disc,           Alcohol wipe,
                                         quantity 1                quantity 1                quantity 2

                                                                                                                  5
Case 1:24-cv-01355-JDW            Document 48-1 Filed 06/02/25               Page 138 of 528 PageID #:
  Getting started                             2891

  The Zio monitor is an ECG monitor that continuously records the
  electrical activity of the heart. It is intended to be worn continuously
  for a time period specified by a provider for up to 14 days.
  Each patient’s wear duration may differ due to individual wear
  experiences. Excessive sweating may decrease wear duration.
  In-clinic:
  Register the patient
  1. Register the patient online at www.ziosuite.com.
  2. Remove the following items from the device box:
       • Pouch with Zio monitor
       • Prep Materials box
       • Symptom Log
  3. Instruct the patient to keep the box. The box is used to return
     the device at the end of the prescribed wear period.
  4. On the cover of the Symptom Log, write the patient’s name,
     start date, and prescribed wear duration.
      The patient writes the date on the cover when they remove the
      Zio monitor for return.
  6
Case 1:24-cv-01355-JDW           Document 48-1 Filed 06/02/25             Page 139 of 528 PageID #:
                                             2892


  At home:
  1. Remove the following items from the device box:
      • Pouch with Zio monitor
      • Prep Materials box
      • Symptom Log
  2. Keep the box. The box is used to return the device at the end of
     the prescribed wear period.
  3. On the cover of the Symptom Log, write your name and start date.
  4. Refer to your welcome letter and write the number of days on the
     cover prescribed by your physician for wearing this Zio monitor.
  5. Do not write the removal date until you remove the Zio monitor for
     return at the end of your prescribed wear period.




                                                                                              7
Case 1:24-cv-01355-JDW           Document 48-1 Filed 06/02/25                   Page 140 of 528 PageID #:
  1. Position prep area                      2893

  Remove the razor, exfoliator, and alcohol wipe from the prep materials box.




  In-clinic:                                             At home:
  1. Request the patient stand with their arms           1. Make sure your chest is visible and clear in
     relaxed by their sides during the Zio monitor          front of a mirror.
     application. If standing is not possible, the       2. Find the area on your upper-left chest one
     patient may sit upright.                               finger width below the left collarbone from
  2. Locate the area on the patient’s upper-left            the center of the chest.
     chest one finger width below the left collarbone       The Zio monitor will be placed diagonally on
     from the center of the chest.                          the chest after the skin is prepared.
      The Zio monitor will be placed diagonally on the
      chest after the skin is prepared.
  8
Case 1:24-cv-01355-JDW              Document 48-1 Filed 06/02/25               Page 141 of 528 PageID #:
  2. Prep skin                                  2894


                                                                               Alcohol
                                           Exfoliator                          Wipe




  1. Shave chest area requiring        2. Exfoliate prep area:             3. Clean and let dry:
     skin preparation (all genders,    a. Lift up the plastic tab on the   a. Use an alcohol wipe to clean
     including those with no
     visible hair).                       exfoliator to use as a handle.      the prepared chest area.
                                       b. Gently exfoliate the entire        Cleaning may cause a slight
  a. Hold the protective cover on         area with the rough side of        tingling sensation.
     the razor and pull the razor         the exfoliator
     from the cover.                                                       b. Let the skin dry for at least
                                       c. Focus on the top and bottom
  b. Shave the entire area with the                                           1 minute for proper adhesion.
                                          corners; complete 40 strokes
     razor. Shaving is necessary          in total: both diagonal
     whether hair is visible or           directions, up and down, and
     not visible.                         side to side.
  c. Ensure the skin is fully clean       Exfoliating may cause
     and dry before you continue.         expected skin redness.
                                                                                                             9
Case 1:24-cv-01355-JDW              Document 48-1 Filed 06/02/25              Page 142 of 528 PageID #:
  3. Apply Zio monitor                          2895




  1. Open the Zio monitor pouch:       2. Peel clear backings:             3. Apply the Zio monitor:
  a. Tear open from either notch.      a. Hold the middle of the           a. Ensure the white arrow on the
  b. Remove the Zio monitor.              Zio monitor.                        paper tab is pointing upward.
                                       b. Pull off the clear plastic       b. Place the Zio monitor
                                          backings carefully and              diagonally on the prepared
                                          avoid touching the                  skin area, one finger width
                                          exposed adhesive.                   below the left collarbone
                                       c. Keep the paper tabs intact on       from the center of the
                                          the other side of the monitor.      upper-left chest.

                                         Note: Wait to remove the
                                         paper tabs in Step 5.
  10
Case 1:24-cv-01355-JDW               Document 48-1 Filed 06/02/25                 Page 143 of 528 PageID #:
                                                 2896




  4. Massage paper tabs:                5. Remove paper tabs:                 6. Massage wings again:
  a. Massage the paper tabs on          a. Find the double arrows             a. Massage the adhesive wings
     the wings of the Zio monitor          located above and below the           firmly onto the skin for
     firmly for 2 minutes to fully         center of the Zio monitor.            another 2 minutes to prevent
     adhere the Zio monitor to          b. Peel the tab in the direction of      the Zio monitor from slipping
     the chest.                            the double arrows. Ensure the         or falling off the chest.
                                           adhesive wing does not lift        b. If remnants of the paper
  b. Do not move or remove the
                                           using your other hand.                tab are on the wings, peel
     Zio monitor after applying it                                               outward from the center of
     to the chest.                        The center of the Zio monitor
                                                                                 the monitor.
                                          may slightly lift from the skin
                                          as the tab is peeled.               c. Do not move or remove the
                                                                                 Zio monitor after applying it
                                        c. Remove the remaining tab.
                                                                                 to the chest.
                                                                                                                 11
Case 1:24-cv-01355-JDW              Document 48-1 Filed 06/02/25               Page 144 of 528 PageID #:
  4. Activate Zio monitor                       2897




   • Press and release button:
       a. Press and quickly release the button on the Zio monitor.
       b. Watch the light briefly flash green to indicate the Zio monitor is
          recording ECG data.
       c. If you do not see a green light, call Customer Care at (888) 693-2401.
       d. Retrieve the Symptom Log and write the “Start Time” on the cover.




  12
Case 1:24-cv-01355-JDW            Document 48-1 Filed 06/02/25            Page 145 of 528 PageID #:
  Wearing Zio monitor                         2898

   During the first 24 hours, avoid the                  After the first 24 hours, you can continue
   following activities:                                 normal activities:

               Do not swim or take a                                Take brief showers with
               shower/bath                                          your back to the water

                                                                    Light exercise is
               Avoid activities that may                            acceptable but avoid
               cause you to sweat                                   excess sweating (intense
                                                                    exercise, sauna)
               Do not submerge your                                 Do not submerge your
               Zio monitor in water                                 Zio monitor in water
               (pool, hot tub, bath)                                (pool, hot tub, bath)

               Do not apply soap                                    Do not apply soap
               or lotions near your                                 or lotions near your
               Zio monitor                                          Zio monitor

  In-clinic: review with your patient
   • Ensure the patient understands the purpose and importance of the Zio ECG monitoring system.
   • While towel drying after a shower, the patient should hold the Zio monitor with one hand.
   • Review how to log symptoms with the patient. Refer to Logging symptoms on page 15.
                                                                                                      13
Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25             Page 146 of 528 PageID #:
  MyZio app                            2899


  Use the MyZio app to log symptoms, track progress,
  access information about your Zio monitor, and view
  helpful video tutorials.




                         Scan QR code to download the app
                         1. Open the camera app on your phone.
                         2. Hold the camera so you can see the QR code on your screen.
                            A notification should appear in your camera app.
                         3. Tap on the notification to download the app.




  14
Case 1:24-cv-01355-JDW             Document 48-1 Filed 06/02/25               Page 147 of 528 PageID #:
  Logging symptoms                             2900

  Logging symptoms provides the healthcare provider with additional information to help analyze
  the patient’s health condition and develop a plan of care. Not all patients experience symptoms.
  A “symptom” is anything unusual the patient feels or experiences.
  1. Press the button on your Zio monitor when          2. L
                                                            og the symptom in either the MyZio
     you feel a symptom.                                   app or in the Symptom Log with the
  • The light does not flash when the button               following information:
    is pressed.                                         • Date and time the button was pressed.
  • If you forget to either press the button or log    • Symptom and length of time the symptom
     a symptom, the Zio monitor is recording the          was felt or experienced.
     ECG data.                                            Note: If the reason for the button press 		
                                                          is not listed, select “Other” and describe 		
                                                          the symptom.
                                                        • Activity when the symptom was experienced.
                                                          (for example, walking the dog, sleeping,
                                                          standing after sitting)
                                                        • If all pages in the Symptom Log are used,
                                                          download the MyZio app and continue
                                                          logging symptoms.
                                                                                                        15
Case 1:24-cv-01355-JDW           Document 48-1 Filed 06/02/25                Page 148 of 528 PageID #:
  Types of symptoms                          2901

           Chest pain                                          Racing
           Discomfort, tightness, or pressure in
                                                               Heart is pounding or beating too fast
           the chest area

           Fainted                                             Short of breath
           Passed out or lost consciousness                    Difficulty breathing or unable to
                                                               catch breath

           Irregular beats                                     Other
           Heart is skipping beats or beating out              Select and write the reason for button
           of its normal rhythm                                press, if not listed

           Lightheaded
           Dizzy and/or slightly faint

  Any writing outside of the requested entries on the Symptom Log or on
  any materials included with the device will not be documented or shared.
  Contact your physician to share additional information with them.
  If you have questions or concerns about your Zio monitor,
  visit https://www.irhythmtech.com/patients/myzio

  16
Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25         Page 149 of 528 PageID #:
  Troubleshooting – flashing lights         2902



                                                  If an orange light is slowly flashing:
      You will not see any lights or
      hear any sounds when your Zio
      monitor is functioning properly.




                                                  • This indicates your Zio monitor is not well
                                                    attached to your skin. It does not mean
     If an orange light is rapidly flashing         something is wrong with your heart.
     (3 flashes per second):                      • Massage the adhesive wings for
     • This indicates your Zio monitor              3-5 minutes until the orange light
       is not working.                              disappears to secure your Zio monitor
                                                    to your skin.
     • Call Customer Care at (888) 693-2401.
                                                  • If flashing persists or reoccurs, call
                                                    Customer Care at (888) 693-2401.

                                                                                                  17
Case 1:24-cv-01355-JDW            Document 48-1 Filed 06/02/25                 Page 150 of 528 PageID #:
  Troubleshooting – general                   2903


  My Zio monitor fell off. What should I do?
  If your Zio monitor has fallen off, call Customer Care at (888) 693-2401.

  Can I travel while wearing my Zio monitor?
  Yes. If you are questioned about your Zio monitor, show the Security
  Screening Statement also found in your Symptom Log or in the MyZio app.
  This person is wearing an iRhythm Zio monitor prescribed by their
  provider. This device is currently adhered to the patient’s chest, where it is
  monitoring their heart. It can only be removed under the direction of
  their provider.
  If you have any questions, please contact the iRhythm Customer Care.

  Can I ship with UPS or FedEx to return my Zio monitor?
  If you decide not to return your Zio monitor with USPS, please send back
  your Zio monitor via expedited shipping (FedEx, UPS) at your own expense.
  Send it to the following address:
  iRhythm Technologies
  Three Parkway North, Suite 400
  Deerfield, Illinois 60015
  18
Case 1:24-cv-01355-JDW              Document 48-1 Filed 06/02/25   Page 151 of 528 PageID #:
  Removing Zio monitor                          2904

  At the end of your prescribed wear time, open the
  adhesive remover and follow steps below to peel off
  your Zio monitor
  1. Gently lift the center of your Zio monitor up.
  2. Starting from the center, use the adhesive remover
     to wipe the area between your skin and your Zio
     monitor.
  3. Continue to wipe as you peel off your Zio monitor, one
     side at a time.
  4. Keep your Zio monitor aside for return and refer to
     step 2 on page 20 for further instructions.
  5. Finally, wash your skin with mild soap, rinse with water,
     and pat dry.

  It is expected for your skin to feel slightly irritated after
  removing your Zio monitor.
  It is expected for your Zio monitor to flash orange as you
  remove it.
                                                                                       19
Case 1:24-cv-01355-JDW                                              Document 48-1 Filed 06/02/25                                     Page 152 of 528 PageID #:
  Returning Zio monitor                                                         2905


                                                                                                                                                MAIL
                                                  feel about Zio?
                                     How do you
                         feedback.
         We value your
                                                                           1   2   3

                                                                                                   Log
                                                                                           Symptom




                                                                                                                         / YYYY
                                                                                                                 MM / DD
                                                                                                        / YYYY
                                                                                                MM / DD




                                                                                       1    2                        3




  1. Complete your Symptom Log                                         2. Package your Zio monitor                                3. Mail your Zio monitor
     & survey                                                             & Symptom Log                                           • Drop the Zio monitor box
  • On the cover of the Symptom                                        • Adhere your Zio monitor to                                 inside any USPS mailbox or
    Log, fill in the date the Zio                                        the inside bottom of the Zio                               take it to a post office.
    monitor was removed.                                                 monitor box and place the                                • You can also schedule
  • Fill out the survey in your                                          Symptom Log on top.                                        a free USPS pickup at
    Symptom Log to tell us about                                       • Seal the box by peeling the                                www.ziopickup.com.
    your experience. If you prefer                                       tape off the front of the box
                                                                         and press firmly on the flap                             • Mail your Zio monitor back
    to give your feedback online,
                                                                                                                                    promptly so your healthcare
    go to www.ziopatient.com                                             to close.
                                                                                                                                    provider can share the results
                                                                       • It is okay to mail your                                    with you as soon as possible.
                                                                         Zio monitor if it’s still
                                                                         flashing orange.
  20
Case 1:24-cv-01355-JDW           Document 48-1 Filed 06/02/25              Page 153 of 528 PageID #:
  Technical references                       2906

  Patient identification                              Intended use
  Before placing your Zio monitor in the Zio          The Zio monitor is intended to capture
  monitor box, please write your name on the line     symptomatic and asymptomatic cardiac events
  above the return address. By writing your name      in a continuous electrocardiogram record for
  on the return label, you are providing another      long-term monitoring.
  method of identification for your Zio monitor and   Indications for use
  are consenting to the potential viewing of your     The Zio monitor is a prescription-only, single-use
  name on the return label. You may choose to not     ECG monitor that continuously records data for
  write your name on the return label.                up to 14 days. It is indicated for use on patients
  Notification of privacy practices                   who may be asymptomatic or who may suffer
  As participants in your health care, we are         from transient symptoms such as palpitations,
  required by applicable federal and state law to     shortness of breath, dizziness, lightheadedness,
  maintain the privacy of your Protected Health       pre-syncope, syncope, fatigue, or anxiety.
  Information (PHI).
  Our full Notice of Privacy Practices, found at
  www.irhythmtech.com, describes our privacy
  practices, our legal duties, and your rights
  concerning your PHI.



                                                                                                       21
Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25            Page 154 of 528 PageID #:
                                            2907

  Contraindications
  • Do not use the Zio monitor for patients with symptomatic episodes
    where instance variations in cardiac performance could result in
    immediate danger to the patient or when real-time or
    in-patient monitoring should be prescribed.
  • Do not use the Zio monitor in combination with external cardiac
    defibrillators or high frequency surgical equipment, near strong
    magnetic fields or devices such as MRI.
  • Do not use the Zio monitor on patients with a neurostimulator,
    as it may disrupt the quality of ECG data.
  • Do not use the Zio monitor on patients who do not have the
    competency to wear the device for the prescribed wear period.




  22
Case 1:24-cv-01355-JDW            Document 48-1 Filed 06/02/25                 Page 155 of 528 PageID #:
  Safety Information                          2908

  CAUTION: Federal (U.S.A.) law restricts the sale      • The Zio monitor is MR unsafe.
  of this device to or on the order of a physician.       Do not expose the Zio monitor to a magnetic
  Warnings                                                resonance (MR) environment.
                                                           • The MR magnet core can attract the
  • Do not use the Zio monitor on patients with
                                                             ferromagnetic materials in the Zio monitor,
    known allergic reaction to adhesives or
                                                             creating a risk of projectile injury to the
    hydrogels or with family history of adhesive
                                                             patient and others in proximity of the Zio
    skin allergies. If allergic symptoms, severe skin
                                                             monitor and MR device.
    irritation, or signs of skin infection develop,
    remove the device from the patient’s chest and         • Metal components in the Zio monitor can
    discontinue wear. Reaction to adhesives may              heat during MR scanning, resulting in the
    include severe redness and itching, hives, and           potential for thermal injury and burns.
    blisters. Contact your healthcare provider and      • Do not use the Zio monitor on patients with
    Customer Care to report the reaction.                 broken skin. Only apply to intact skin.
                                                        • Do not reuse the Zio monitor on the same
                                                          patient or on multiple patients. It is a single-use
                                                          device. Reuse of the device may result in mixed
                                                          patient results, poor adhesion, and poor
                                                          ECG signal.
                                                        • Do not modify this equipment without
                                                          authorization of the manufacturer.
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Case 1:24-cv-01355-JDW            Document 48-1 Filed 06/02/25                Page 156 of 528 PageID #:
                                              2909

  Precautions                                            • Recorded ECG data cannot be retrieved for
  • During storage and prior to prescription for           analysis unless you return your Zio monitor.
    a patient, do not exceed the temperature               Keep the original Zio monitor box. The box
    and humidity limitations for the Zio monitor.          is designed to protect the Zio monitor and
    Devices exposed to environmental conditions            Symptom Log in the return mail when properly
    outside the specified range may have degraded          sealed. Follow the return instructions in this
    adhesive and battery performance.                      manual. If the box is damaged during opening or
  • Observe the temperature and humidity                   handling or lost, contact Customer Care.
    specifications for transportation and storage        • Safety and effectiveness of the Zio monitor on
    listed on the box and in the instructions for use.     pediatric patients (younger than 18 years old)
  • Confirm the expiration date for the Zio monitor        has not been established.
    listed on the Zio box or pouch. Use of an expired    • Do not use the Zio monitor on patients receiving
    device may cause a degradation of ECG signal           any form of pacing therapy. Paced cardiac
    quality and a low battery condition. Apply the         rhythms may not be accurately detected leading
    device on or before expiration date.                   to incorrect preliminary findings.




  24
Case 1:24-cv-01355-JDW            Document 48-1 Filed 06/02/25                 Page 157 of 528 PageID #:
                                              2910

  • Carefully prepare skin on the patient’s upper        • If the patient has a known allergic reaction to
    left chest prior to applying the Zio monitor.          limonene, the active ingredient in the adhesive
    Observe the instructions for proper shaving,           remover, use baby oil or petroleum jelly to aid
    exfoliating, and cleaning. Proper placement and        removal instead of the adhesive remover wipe.
    alignment of the Zio monitor on the patient’s
                                                         Serious incident reporting
    chest is important for recording ECG data.
                                                         If you become aware of any malfunction of our
    Carefully follow the sequence of all steps in the
                                                         device which has resulted or could result in
    application instructions to ensure the device is
                                                         serious health consequences for the user, patient,
    properly positioned and securely adhered to the
                                                         or any other person, please inform us
    patient’s chest.
                                                         immediately and inform the Competent Authority
  • Avoid delays in recording ECG data. After            of your country.
    applying the Zio monitor to the patient’s chest,
    follow the instructions in this manual to activate
    recording of ECG data. If the light on the Zio
    monitor does not flash green after a second
    activation attempt, contact Customer Care.
  • Exposing the Zio monitor to any sources of
    infrared light, such as direct sunlight, can
    disrupt the recording of ECG data. Wear clothing
    if exposure to infrared light, such as direct
    sunlight, cannot be avoided.
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Case 1:24-cv-01355-JDW            Document 48-1 Filed 06/02/25                    Page 158 of 528 PageID #:
  Symbols glossary                            2911

  SYMBOL   SYMBOL       DESCRIPTION/                      SYMBOL   SYMBOL         DESCRIPTION/
           TITLE        EXPLANATION                                TITLE          EXPLANATION
           Manufacturer Indicates the medical device               Serial         Indicates the manufacturer’s
                        manufacturer                               number         serial number so that a
                                                                                  specific medical device
  QTY:     Net quantity Net quantity of contents
           of contents
                                                                                  can be identified
                                                                   Unique         Indicates a carrier that
           Do not use    Indicates a medical device                device         contains unique device
           if package is should not be used if the                 identifier     identifier information
           damaged       package has been damaged
                         or opened and that the
                         user should consult the                   Temperature Indicates the temperature
                         instructions for use for                  limit       limits to which the medical
                         additional information                                device can be safely exposed
                                                                   Humidity       Indicates the range of humidity
           Use-by date Indicates the date after
                                                                   limitation     to which the medical device
                       which the medical device
                                                                                  can be safely exposed
                       is not to be used
                                                                   Do not reuse Indicates a medical device that
           Batch code   Indicates the manufacturer’s                            is intended for one use, or for
                        batch code so that the batch or                         use on a single patient during a
                        lot can be identified                                   single procedure

           Catalogue    Indicates the manufacturer’s               Consult        Indicates a medical device that
           number       catalogue number so that                   instructions   is intended for one use, or for
                        the medical device can be                  for use        use on a single patient during a
                        identified                                                single procedure

  26
Case 1:24-cv-01355-JDW             Document 48-1 Filed 06/02/25                   Page 159 of 528 PageID #:
                                               2912

  SYMBOL   SYMBOL        DESCRIPTION/                      SYMBOL   SYMBOL        DESCRIPTION/
           TITLE         EXPLANATION                                TITLE         EXPLANATION
           Caution       Indicates the need for the user
                         to consult the instructions for
                                                           IP27     Degrees of
                                                                    protection
                                                                                  Protected against solid
                                                                                  foreign objects of 12.5 mm
                         use for important cautionary               provided by   diameter and greater, and
                         information such as warnings               enclosure     protected against the effects of
                         and precautions that cannot,                             temporary immersion in water
                         for a variety of reasons, be
                         presented on the medical                   FCC           Indicates compliance with
                         device itself                                            the Federal Communications
                                                                    compliant
           Type BF      To identify a type BF applied               radio         Commission (FCC) rules in the
           applied part part complying with IEC                     frequency     United States of America
                        60601-1. A Type BF Applied                  equipment     The FCC identifier (ID) includes
                        Part includes a patient                                   the grantee code and
                        connection that is intended to                            product code.
                        deliver electrical energy or an
                        electrophysiological signal to              Prescription Requires prescription in the
                        or from the patient                         only         United States of America
           Magnetic      A medical device which
           Resonance     poses unacceptable risks
           (MR) unsafe   to the patient, medical staff,
                         or other persons within the
                         MR environment
           Separate      To indicate that the
           collection    product shall be separated
                         when disposed

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Case 1:24-cv-01355-JDW                  Document 48-1 Filed 06/02/25                     Page 160 of 528 PageID #:
  Device specification                              2913

  The Zio monitor is not manufactured with natural rubber latex.
   Performance characteristics                        Power specifications
   ECG channels             1 channel                          Battery type              1 lithium manganese dioxide
                                                                                         coin cell
   Memory capacity          > 14 days
                                                               Battery life              > 14 days
   Recording format         Continuous
   Service life             Up to 14 days                      Physical characteristics
   Shelf life               6 months                           Dimensions                5.5 x 2.2 x 0.4 in
   Electrical characteristics                                                            139.7 x 55.8 x 10.6 mm

   Medical equipment type   BF Applied Part                    Weight                    10 g

   ECG frequency response   0.67 Hz to 40 Hz                   Environmental specifications
   ECG input impedance      > 10 MΩ
                                                               Operational temperature   41 to 104° F | 5 to 40° C
   ECG differential range   ± 1.65 mV
                                                               Operational altitude      -1,000 to 10,000 ft | -305 to 3,048 m
   ECG A/D sampling rate    200 Hz                             Shipping (short-term      -4 to 104° F | -20 to 40° C
                                                               storage) temperature
   ECG resolution           15.5 bits
                                                               Long-term storage         64 to 80° F | 18 to 27° C
   Gain accuracy            Maximum amplitude error            temperature
                            +/- 10%
                                                               Operational and storage   10% to 95% (non-condensing)
   Gain stability           < 3% over a 24-hour period         humidity
   Timing accuracy          < 30 sec over 14-day wear period   Storage altitude          -1,000 to 14,000 ft | -305 to 4,267 m
  28
Case 1:24-cv-01355-JDW            Document 48-1 Filed 06/02/25                 Page 161 of 528 PageID #:
                                              2914

  Essential performance
  The Zio monitor continuously records ECG data during wear. After wear, the device is
  returned, and the complete ECG recording is extracted for analysis. If the device cannot
  record as intended, the Zio monitor alerts the patient that functionality is impaired. Risks
  associated with failure of the devices to perform as intended have been mitigated to an
  acceptable level.
  Electrical Safety and Compatibility
  • WARNING: The Zio monitor should not be used adjacent to or stacked
    with other equipment.
  • WARNING: Portable and mobile RF communications equipment can affect medical
    electrical equipment. Portable RF communications equipment (including peripherals
    such as antenna cables and external antennas) should be used no closer than 30 cm
    (12 inches) to any part of the Zio monitor. Otherwise, degradation of the performance of
    this equipment could result.
  • CAUTION: The Zio monitor needs special precautions regarding EMC and needs to be
    utilized according to the EMC information provided in the following tables.
  The Zio monitor was tested for electromagnetic compatibility (EMC) according to the
  International Electrotechnical Commission (IEC) 60601-1-2 standard.
  The Zio monitor meets the requirements of the standard and is suitable for a home
  healthcare environment.
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Case 1:24-cv-01355-JDW                      Document 48-1 Filed 06/02/25                 Page 162 of 528 PageID #:
                                                        2915


   Table 1: Manufacturer’s declaration —             Table 2: Manufacturer’s declaration — electromagnetic immunity
   electromagnetic emissions
                                                     Immunity test              IEC 60601 test    Compliance level
   Emissions test                 Compliance                                    level
   RF emissions                   Group 1            Electrostatic Discharge    ±8 kV contact     ±8 kV contact
   CISPR 11                                          (ESD)                      ±15 kV air        ±15 kV air
   RF emissions                   Class B            IEC 61000-4-2
   CISPR 11                                          Power frequency            30 A/m            30 A/m
   Harmonic emissions             Not applicable     (50/60 Hz)
                                                     Magnetic field
   IEC 61000-3-2
                                                     IEC 61000-4-8
   Voltage fluctuations/flicker   Not applicable
   emissions                                                                    8 A/m             8 A/m
   IEC 61000-3-3                                                                30 kHz

                                                                                65 A/m
                                                                                                  65 A/m
                                                     Proximity magnetic field   134.2 kHz
                                                     IEC 61000 4-39             2.1 kHz Pulse

                                                                                7.5 A/m           7.5 A/m
                                                                                13.56 MHz
                                                                                50 kHz Pulse




  30
Case 1:24-cv-01355-JDW                   Document 48-1 Filed 06/02/25               Page 163 of 528 PageID #:
                                                     2916


   Table 3: Manufacturer’s declaration — electromagnetic      Table 4: Manufacturer’s declaration — electromagnetic
   immunity                                                   immunity
   Immunity test        IEC 60601 test     Compliance level   Immunity test        IEC 60601 test    Compliance
                        level                                                      level             level
                        3 Vrms             3 Vrms                                  10 V/m            10 V/m
                        150 kHz to                                                 80 MHz to
                        80 MHz                                                     2.7 GHz
                        outside ISM                                                28 V/m            28 V/m
   Conducted RF         bands                                                      385, 450, 810,
   IEC 61000-4-6
                        10 Vrms            10 Vrms                                 870, 930 MHz
                        150 kHz to                                                 18 Hz pulse
                        80 MHz                                                     9 V/m             9 V/m
                        in ISM bands                                               710, 745,
                                                              Radiated RF
                                                                                   780 MHz
                                                              IEC 61000-4-3        217 Hz pulse
                                                                                   28 V/m            28 V/m
                                                                                   1720, 1845, 1970,
                                                                                   2450 MHz
                                                                                   217 Hz pulse
                                                                                   9 V/m             9 V/m
                                                                                   5240, 5500,
                                                                                   5783 MHz
                                                                                   217 Hz pulse
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Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25         Page 164 of 528 PageID #:
                                            2917

  Federal Communications Commission (FCC) Compliance
  This system complies with part 15 of the FCC Rules. Operation is
  subject to the following two conditions: (1) this system may not
  cause harmful interference, and (2) this system must accept any
  interference received, including interference that may cause
  undesired operation.




  32
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 165 of 528 PageID #:
                                     2918
Case 1:24-cv-01355-JDW                    Document 48-1 Filed 06/02/25                      Page 166 of 528 PageID #:
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Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 167 of 528 PageID #:
                                     2920




                         Exhibit 12
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 168 of 528 PageID #:
                                     2921
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 169 of 528 PageID #:
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Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 170 of 528 PageID #:
                                     2923
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 171 of 528 PageID #:
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Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 172 of 528 PageID #:
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Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 173 of 528 PageID #:
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Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 174 of 528 PageID #:
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Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 175 of 528 PageID #:
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Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 176 of 528 PageID #:
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                         Exhibit 13
 Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25    Page 177 of 528 PageID #:

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 ÿQ.3ÿ\82ÿÿ8 83ÿ428318ÿ 40 ÿ00ÿÿÿÿ4280ÿ3545409ÿ408 4ÿ ÿ424ÿ9 ÿ8ÿÿ8443ÿ
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98 ÿ9-4ÿS8ÿQ ÿ428ÿ3545409ÿ08ÿ8 83ÿ4283ÿ)0ÿ44ÿ)042ÿÿ04ÿ424ÿ8ÿ430 ÿ4ÿ- 84 ÿ)2092ÿ
408 4ÿ4283ÿ2 -ÿ8ÿ4840 ÿ)042ÿ940S8ÿ5 040 ÿ^24ÿ8ÿ42 8ÿ408 4ÿ424ÿ8ÿ950 ÿ9.ÿ)042ÿ
234250ÿ ÿ)24ÿ4ÿ8ÿ5ÿ4288ÿ ÿ428 ÿ-405483ÿ8_ ÿ5ÿ4288ÿ( 9- 0 3ÿ 42ÿ'0 03ÿ ÿ
`ÿ424ÿ)81S8ÿ4.8ÿ -4ÿ 40 ÿ4288ÿ3545409ÿ5 040 ÿ 5ÿ42831S8ÿ 42ÿ ÿ4288ÿ8ÿ
 428ÿ0.8ÿ4285ÿ2S8ÿ448ÿ)042ÿÿ04ÿ2S8ÿ88 ÿ428ÿS-8ÿ 040 ÿ3ÿ42- 2ÿ428ÿ1Qÿ0ÿ58 0 -ÿ4ÿ
4285ÿ ÿ42831S8ÿ5 S8ÿ ÿ4ÿ-ÿ955890ÿ 5ÿ' ÿÿ420.ÿ4241ÿ83ÿ8 9- 0 ÿ72881ÿ83ÿ0 ÿ
288ÿ424ÿ424ÿ0ÿ 0 ÿ4ÿ8ÿÿ58 0 -ÿ 4- 043ÿÿ-ÿ^8ÿ0ÿ808S8ÿ04ÿ) -ÿ2 )ÿ-ÿ4ÿ58ÿ 04ÿ4ÿ)ÿ
5 8ÿÿ5448ÿÿ)28 ÿ 4ÿ0ÿa-4ÿ)818ÿ440 ÿ4ÿ88ÿ58ÿ83ÿ8 9- 0 ÿ0 ÿ4288ÿ
4A5766BC7>D7EÿF8GDÿG:HI;5ÿ=<JÿK=B85L76>BÿM?@6IÿN8D>EÿO7?;ÿ
& ÿ0ÿ424ÿ.0ÿÿ04ÿ 5ÿ8_8948ÿ4ÿ8ÿ4 ÿ9ÿ428ÿb'ÿÿ8ÿ4288ÿ5 8ÿ424ÿ)81ÿ28ÿ -4]ÿ
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UF@6G87VÿWGG876Bÿ7K?G;6ÿB<ÿXVGVGB?>85IEÿ7GYÿ@CD@Zÿ[8?@75B5HG8>EÿO7?;ÿ

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   Case 1:24-cv-01355-JDW                                                         Document 48-1 Filed 06/02/25                                                                       Page 182 of 528 PageID #:

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94028ÿ 5ÿÿ)8ÿÿ30ÿÿ0ÿ428ÿ0808ÿ& ÿ)81ÿ98403ÿ43ÿ4ÿ28ÿ5 8ÿ0 ÿ42 8ÿÿ)818ÿ
50 ÿ42 8ÿ4ÿ 8ÿ30ÿÿ9ÿ28ÿ04ÿ0ÿ98ÿ008ÿÿ)8ÿ7288ÿ8ÿ0404040 ÿ424ÿ228ÿ 48ÿ
40ÿÿ4280ÿ3545409ÿ408 4ÿ228ÿ 448 ÿ85808 98ÿ)042ÿ40ÿ728ÿ90090 ÿ28ÿ04ÿ408 4ÿ28ÿ04ÿ ÿ428 ÿ
228ÿ85 8ÿ04ÿ3545409ÿ5 040 ÿÿ)8ÿ' ÿ04ÿ014ÿ03ÿ0040 0028ÿ5ÿ0ÿ98ÿ008ÿ
)2092ÿ0ÿ)23ÿ)8ÿ 14ÿ83ÿ04ÿ04ÿ8483ÿ604ÿ98403ÿ)81ÿ028ÿ428ÿ70044028ÿ9 ÿ& ÿ 0ÿ)818ÿ
880 ÿ83ÿ8 90 0 ÿ0 ÿ288ÿ
:G;=<<HI=DJ=KÿL>MJÿM@NOA;ÿCBPÿQCH>;R=<DHÿSEF<OÿT>JDKÿU=EAÿ
(5988 4ÿÿ5ÿÿÿ0 14ÿ44ÿ)042ÿ420ÿ04ÿÿ ÿ30ÿ88ÿ4ÿ43ÿ 04ÿ58ÿÿ428ÿ8 043ÿ42)3ÿ& ÿ0ÿ
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9 4040 ÿ ÿ8440 ÿ428ÿ4) ÿX"Y3ÿ2ÿ890093ÿ ÿ424ÿ89 ÿ 8ÿ)24ÿ 8ÿ424ÿ83ÿ58 Zÿ
[LF<M>=\ÿ]MM>=<Hÿ=QEMA<ÿHBÿ^\M\MHED>;OKÿ=M_ÿFIJF`ÿa>EF=;H;NM>DKÿU=EAÿ
-82ÿ' ÿ382ÿ283ÿ8 90 0 ÿ 8ÿ4288ÿb8ÿ898028ÿ428ÿ89 ÿÿ428ÿ4) ÿX"Y3ÿ)208ÿ)8ÿ)88ÿ028ÿ
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  ÿ0ÿ80 ÿ9ÿ
:G;=<<HI=DJ=KÿL>MJÿM@NOA;ÿCBPÿQCH>;R=<DHÿSEF<OÿT>JDKÿU=EAÿ
bÿ283ÿ5409ÿ72 3ÿ30ÿ
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[LF<M>=\ÿ]MM>=<Hÿ=QEMA<ÿHBÿ^\M\MHED>;OKÿ=M_ÿFIJF`ÿa>EF=;H;NM>DKÿU=EAÿ
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89009ÿ4ÿ428ÿ)0 ÿ8448ÿ ÿ428 ÿ0405483ÿ9 8ÿ424ÿ04ÿ4ÿ58ÿ 04ÿ
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:G;=<<HI=DJ=KÿL>MJÿM@NOA;ÿCBPÿQCH>;R=<DHÿSEF<OÿT>JDKÿU=EAÿ
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[LF<M>=\ÿ]MM>=<Hÿ=QEMA<ÿHBÿ^\M\MHED>;OKÿ=M_ÿFIJF`ÿa>EF=;H;NM>DKÿU=EAÿ


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   Case 1:24-cv-01355-JDW                                                         Document 48-1 Filed 06/02/25                                                                       Page 183 of 528 PageID #:

0012   3425ÿ78 928ÿ 880988ÿÿ9ÿ17ÿ
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                                                                                       8948ÿ7 899!0!4ÿÿ
 ÿ4,ÿÿ ÿ-.840 ÿ/405483ÿ424ÿ0ÿ428ÿ% &ÿ09840 ÿ' ÿ2ÿ4ÿ89.48ÿ4288ÿ72 8ÿ8040 ÿ8ÿ
     40ÿ
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             8429                                                                               
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88ÿ8083420 ÿ5ÿÿ)0 ÿ8448ÿ4  04ÿ)208ÿ40ÿ) 10 ÿ42. 2ÿ428ÿ#2ÿ8040 ÿ& ÿ428 ÿ
.405483ÿ04,ÿ428ÿ% &,ÿ9ÿ4ÿ808ÿ428ÿ)0 ÿ8448ÿ.44 0 ÿ)208ÿ)8,8ÿ80 ÿ428ÿ428ÿ#2ÿ
 8040 ÿÿ0ÿ4283ÿ ÿ28ÿ ÿ98ÿ.ÿ
5B6877CD8?E8FÿG9HEÿH;IJ<6ÿ>=KÿL>C96M87?CÿN@A7JÿO9E?FÿP8@<ÿ
      ÿ3.ÿ208ÿÿ08ÿÿ024ÿÿÿ98Rÿ
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SGA7H98TÿUHH987Cÿ8L@H<7ÿC=ÿVTHTHC@?96JFÿ8HWÿADEAXÿY9@A86C6IH9?FÿP8@<ÿ
ÿ4201ÿ428ÿ405808ÿ)8,08ÿ.4ÿ.4ÿ4288ÿ 42ÿ9550458 4ÿ4ÿ428ÿ% &ÿÿ)8ÿÿ94000408ÿ424ÿ)8,8ÿ 0 ÿ424ÿ04ÿ
   8ÿ 08ÿ ÿ83 ÿ)24ÿ428ÿ% &ÿ0ÿ10 ÿ.ÿ4ÿ ÿ0ÿ42. 2ÿ428ÿ8 ÿÿ8Z4ÿ38ÿ
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5B6877CD8?E8FÿG9HEÿH;IJ<6ÿ>=Kÿ>LC96M87?CÿN@A7JÿO9E?FÿP8@<ÿ
 894ÿ
SGA7H98TÿUHH987Cÿ8L@H<7ÿC=ÿVTHTHC@?96JFÿ8HWÿADEAXÿY9@A86C6IH9?FÿP8@<ÿ
' ÿ.50 ÿ)8ÿ8ÿ 420 ÿ84)88 ÿ )ÿ ÿ428 ÿÿ84ÿ9 0540 ÿ5ÿ428ÿ% &ÿ424ÿ4283,8ÿ4008ÿ)042ÿ
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428ÿ92ÿ424ÿ)8,8ÿ410 ÿÿ) .ÿ3ÿ8 ÿÿ8Z4ÿ38ÿ0ÿ)28 ÿ)8ÿ) .ÿ83ÿ88ÿ ÿ .4ÿ200 ÿ428ÿ
858040 ÿ94000408ÿ95848ÿ
5B6877CD8?E8FÿG9HEÿH;IJ<6ÿ>=KÿL>C96M87?CÿN@A7JÿO9E?FÿP8@<ÿ
& ÿ2 )ÿ ÿÿ[009808\ÿ]^"_^`ÿ420ÿ)24ÿ0ÿ428ÿ0594ÿÿ428ÿ8 ÿÿ8Z4ÿ38ÿÿ98ÿ858040 Rÿÿ04ÿ
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0 90ÿ0ÿ04ÿ.94ÿ0ÿ04ÿ0Rÿ
SGA7H98TÿUHH987Cÿ8L@H<7ÿC=ÿVTHTHC@?96JFÿ8HWÿADEAXÿY9@A86C6IH9?FÿP8@<ÿ
a82ÿ
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ÿ444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444ÿ



5B6877CD8?E8FÿG9HEÿH;IJ<6ÿ>=KÿL>C96M87?CÿN@A7JÿO9E?FÿP8@<ÿ
b.408ÿÿ 0 ÿ925 8ÿ30 ÿ
                                                                                                                                                                                                                                                       Qÿ
ÿ444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444444ÿ




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SGA7H98TÿUHH987Cÿ8L@H<7ÿC=ÿVTHTHC@?96JFÿ8HWÿADEAXÿY9@A86C6IH9?FÿP8@<ÿ
a82ÿ
5B6877CD8?E8FÿG9HEÿH;IJ<6ÿ>=KÿL>C96M87?CÿN@A7JÿO9E?FÿP8@<ÿ
13ÿ)8,08ÿ 8ÿ420ÿ0 8ÿc24ÿ28 Rÿ
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   Case 1:24-cv-01355-JDW                                                         Document 48-1 Filed 06/02/25                                                                       Page 184 of 528 PageID #:

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SV7.--1A.6B.?ÿ80/Bÿ/TE>47ÿU5Wÿ3U107X.-61ÿY<9->ÿZ0B6?ÿF.<4ÿ
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SV7.--1A.6B.?ÿ80/Bÿ/TE>47ÿU5Wÿ3U107X.-61ÿY<9->ÿZ0B6?ÿF.<4ÿ
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-9:.01/;ÿ<001/.2ÿ/4=05.ÿ26ÿ>;0;02=718?@ÿ/0Aÿ:BC:DÿE1=:/828F017@ÿG/=5ÿ
H82ÿ' ÿ420ÿ0ÿ)288ÿ428ÿI 4 8ÿÿ&7ÿ ÿ428 ÿ98403ÿN7ÿ' ÿÿ408 4ÿ9 ÿJ4ÿ04ÿ ÿ ÿ0483ÿ2ÿ
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UX8/..2B/7C/@ÿ910Cÿ0VF?58ÿW6Yÿ4W218Z/.72ÿ[=:.?ÿ\1C7@ÿG/=5ÿ
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8E9;::FG;BH;IÿJ<KHÿK>LM?9ÿA@NÿOAF<9P;:BFÿQCD:MÿR<HBIÿS;C?ÿ
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XJD:K<;YÿZKK<;:Fÿ;OCK?:ÿF@ÿ[YKYKFCB<9MIÿ;K\ÿDGHD]ÿ^<CD;9F9LK<BIÿS;C?ÿ
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8E9;::FG;BH;IÿJ<KHÿK>LM?9ÿA@NÿOAF<9P;:BFÿQCD:MÿR<HBIÿS;C?ÿ
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XJD:K<;YÿZKK<;:Fÿ;OCK?:ÿF@ÿ[YKYKFCB<9MIÿ;K\ÿDGHD]ÿ^<CD;9F9LK<BIÿS;C?ÿ
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   8;ÿ0/X17CD1/CÿV1=0708/75ÿGCÿ7:8O2Vÿ/8CÿR1ÿ=8/7C?O1Vÿ.7ÿ.VX0=1ÿV170F/1VÿC8ÿD11CÿC:1ÿQ.?C0=O2.?ÿ0/X17CD1/Cÿ/11V7ÿ8;ÿ./Bÿ0/X17C8?5ÿE:07ÿ?1Q8?Cÿ07ÿQOR207:1Vÿ78212Bÿ;8?ÿ0/;8?D.C08/ÿQO?Q8717@ÿ./Vÿ07ÿ
   /8CÿC8ÿR1ÿ=8/7C?O1Vÿ.7ÿ;0/./=0.2ÿ8?ÿ8C:1?ÿ.VX0=1ÿ8?ÿ.7ÿ./ÿ8;;1?ÿC8ÿ7122ÿ8?ÿC:1ÿ7820=0C.C08/ÿ8;ÿ./ÿ8;;1?ÿC8ÿROBÿ./Bÿ71=O?0CBÿ0/ÿ./Bÿ7C.C1ÿW:1?1ÿ7O=:ÿ./ÿ8;;1?ÿ8?ÿ7820=0C.C08/ÿW8O2VÿR1ÿ0221F.25ÿP/Bÿ
   0/;8?D.C08/ÿ1[Q?1771Vÿ:1?10/ÿ8/ÿC:07ÿV.C1ÿ07ÿ7OR\1=CÿC8ÿ=:./F1ÿW0C:8OCÿ/8C0=15ÿP/Bÿ8Q0/08/7ÿ8?ÿ.771?C08/7ÿ=8/C.0/1Vÿ0/ÿC:07ÿ0/;8?D.C08/ÿV8ÿ/8Cÿ?1Q?171/CÿC:1ÿ8Q0/08/7ÿ8?ÿR1201;7ÿ8;ÿ<.=C]1Cÿ
   9.22]C?11C@ÿ^^95ÿ<.=C]1Cÿ9.22]C?11C@ÿ^^9@ÿ8?ÿ8/1ÿ8?ÿD8?1ÿ8;ÿ0C7ÿ1DQ28B117@ÿ0/=2OV0/FÿC:1ÿW?0C1?ÿ8;ÿC:07ÿ?1Q8?C@ÿD.Bÿ:.X1ÿ.ÿQ870C08/ÿ0/ÿ./Bÿ8;ÿC:1ÿ71=O?0C017ÿV07=O771Vÿ:1?10/5ÿ
   ÿ
   E_`ÿGa<>ASPEG>aÿbA>cG-`-ÿE>ÿZ>dÿ_`A`da-`AÿG]ÿbA>cG-`-ÿeP]ÿG]@eÿPa-ÿE>ÿE_`ÿSPfGSdSÿ̀fE`aEÿb`ASGEE`-ÿgZÿPbb^G9Pg^`ÿ^P6@ÿ<.=C]1Cÿ9.22]C?11C@ÿ^^9ÿPa-ÿGE]ÿ^G9`a]>A]@ÿ
   gd]Ga`]]ÿP]]>9GPE`]ÿPa-ÿ]dbb^G̀A]ÿ-G]9^PGSÿP^^ÿ6PAAPaEG̀]ÿ6GE_ÿA`]b`9EÿE>ÿE_`ÿ]PS`@ÿ`fbA`]]@ÿGSb^G̀-ÿPa-ÿ]EPEdE>AZ@ÿGa9^d-Ga4ÿ6GE_>dEÿ^GSGEPEG>aÿPaZÿGSb^G̀-ÿ
   6PAAPaEG̀]ÿ><ÿS`A9_PaEPgG^GEZ@ÿ<GEa`]]ÿ<>AÿPÿbPAEG9d^PAÿbdAb>]`@ÿP99dAP9Z@ÿ9>Sb^`E`a`]]@ÿPa-ÿa>aYGa<AGa4`S`aE5ÿE>ÿE_`ÿSPfGSdSÿ̀fE`aEÿb`ASGEE`-ÿgZÿPbb^G9Pg^`ÿ
   ^P6@ÿa`GE_`Aÿ<P9E]`Eÿ9P^^]EA``E@ÿ^^9ÿa>AÿGE]ÿ><<G9`A]@ÿS`Sg`A]@ÿ-GA`9E>A]@ÿbPAEa`A]@ÿP<<G^GPE`]@ÿgd]Ga`]]ÿP]]>9GPE`]@ÿ^G9`a]>A]ÿ>Aÿ]dbb^G̀A]ÿ6G^^ÿg`ÿ^GPg^`ÿ<>AÿPaZÿ
   Ga-GA`9E@ÿGa9G-`aEP^@ÿ]b`9GP^@ÿ9>a]`hd`aEGP^ÿ>AÿbdaGEGc`ÿ-PSP4`]@ÿGa9^d-Ga4ÿ6GE_>dEÿ^GSGEPEG>aÿ-PSP4`]ÿ<>Aÿ^>]EÿbA><GE]ÿ>AÿA`c`ad`]@ÿ4>>-6G^^@ÿ6>ANÿ]E>bbP4`@ÿ
   ]`9dAGEZÿgA`P9_`]@ÿcGAd]`]@ÿ9>SbdE`Aÿ<PG^dA`ÿ>AÿSP^<da9EG>a@ÿd]`@ÿ-PEPÿ>Aÿ>E_`AÿGaEPa4Gg^`ÿ^>]]`]ÿ>Aÿ9>SS`A9GP^ÿ-PSP4`]@ÿ̀c`aÿG<ÿPaZÿ><ÿ]d9_ÿbPAEG̀]ÿG]ÿP-cG]`-ÿ
   ><ÿE_`ÿb>]]GgG^GEZÿ><ÿ]d9_ÿ^>]]`]@ÿPAG]Ga4ÿda-`Aÿ>AÿGaÿ9>aa`9EG>aÿ6GE_ÿE_`ÿGa<>ASPEG>aÿbA>cG-`-ÿ_`A`Gaÿ>AÿPaZÿ>E_`Aÿ]dgM`9EÿSPEE`Aÿ_`A`><5ÿ
   ÿ
   E:1ÿ=8/C1/C7ÿ./Vÿ.QQ1.?./=1ÿ8;ÿC:07ÿ?1Q8?Cÿ.?1ÿ98QB?0F:C1Vÿ<.=C]1Cÿ9.22]C?11C@ÿ^^9ÿijikÿ9.22]C?11Cÿ./Vÿ<.=C]1Cÿ9.22]C?11C@ÿ^^9ÿ.?1ÿC?.V1D.?T7ÿ./Vÿ71?X0=1ÿD.?T7ÿ8;ÿ<.=C]1Cÿ9.22]C?11C@ÿ^^95ÿP22ÿ
   8C:1?ÿC?.V1D.?T7ÿD1/C08/1Vÿ.?1ÿC?.V1D.?T7ÿ8;ÿC:10?ÿ?17Q1=C0X1ÿ=8DQ./0175ÿP22ÿ?0F:C7ÿ?171?X1V5ÿ




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Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 193 of 528 PageID #:
                                     2946




       EXHIBIT 14
                  Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25            Page 194 of 528 PageID #:
                                                            2947



                                  Claim Chart for U.S. Patent No.12,161,473 (“the ’473 Patent”)

       The Accused Instrumentalities include, but are not necessarily limited to, the Next-Generation Zio Monitor by iRhythm (the
“Zio Monitor”). The Accused Instrumentalities infringe at least the claims of the ’473 Patent charted below either directly under 35
U.S.C. § 271(a), or indirectly under 35 U.S.C. §§ 271(b)–(c). The Accused Instrumentalities infringe such claims literally and/or under
the doctrine of equivalents.

              Claim 1                                               Accused Instrumentalities

 1[pre] A wearable             To the extent the preamble is deemed to be a limitation, the Accused Instrumentalities include a
 electrocardiography           wearable electrocardiography monitoring device in accordance with this claim. The Zio Monitor
 monitoring device,            satisfies 1[pre] because the Zio Monitor is a device that is worn on the patient’s body. In an example,
 comprising:                   the Zio Monitor monitors patient ECG signals.




                               (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



                                                            Page 1 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 195 of 528 PageID #:
                                                         2948



              Claim 1                                           Accused Instrumentalities




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                         Page 2 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 196 of 528 PageID #:
                                                         2949



              Claim 1                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)

                                                         Page 3 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 197 of 528 PageID #:
                                                       2950



              Claim 1                                      Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)



                                                    Page 4 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25           Page 198 of 528 PageID #:
                                                         2951



              Claim 1                                            Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/reporting)




                                                         Page 5 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 199 of 528 PageID #:
                                                         2952



              Claim 1                                           Accused Instrumentalities

 1[a] a flexible backing     The Accused Instrumentalities include a flexible backing including a strip. The Zio Monitor
 including a strip           satisfies 1[a] because the Zio Monitor includes a flexible backing including a strip.
 comprising:




                              (https://www.irhythmtech.com/company/news/irhythm-technologies-continues-to-fuel-innovation-in-
                             cardiac-monitoring-and-unveils-two-fda-clearances-for-superior-patient-care)




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)

                                                         Page 6 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 200 of 528 PageID #:
                                                         2953



              Claim 1                                           Accused Instrumentalities




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)



                                                         Page 7 of 142
321652514.2
                  Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25            Page 201 of 528 PageID #:
                                                              2954



              Claim 1                                                 Accused Instrumentalities

 1[b] a first face and a         The Accused Instrumentalities include a first face and a second face, wherein a portion of the first
 second face, wherein a          face is covered in adhesive to adhere the strip to skin of a patient. The Zio Monitor satisfies 1[b]
 portion of the first face is    because the Zio Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second
 covered in adhesive to          face). A portion of the under side is covered in adhesive to adhere the strip to skin of a patient.
 adhere the strip to skin of a
 patient,




                                 (Zio Monitor Teardown)




                                 (Zio Monitor Teardown)


                                                              Page 8 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 202 of 528 PageID #:
                                                       2955



              Claim 1                                      Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                    Page 9 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 203 of 528 PageID #:
                                                       2956



              Claim 1                                      Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                   Page 10 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25         Page 204 of 528 PageID #:
                                                         2957



              Claim 1                                          Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                             (https://www.irhythmtech.com/company/news/irhythm-technologies-continues-to-fuel-innovation-in-
                             cardiac-monitoring-and-unveils-two-fda-clearances-for-superior-patient-care)

                                                       Page 11 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 205 of 528 PageID #:
                                                        2958



              Claim 1                                         Accused Instrumentalities




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                      Page 12 of 142
321652514.2
                  Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25           Page 206 of 528 PageID #:
                                                            2959



              Claim 1                                              Accused Instrumentalities

 1[c] a first end section,     The Accused Instrumentalities include a first end section, a second end section opposite the first
 a second end section          end section, and a mid-section between the first end section and the second end section. The Zio
 opposite the first end        Monitor satisfies 1[c] because the Zio Monitor includes a first end section that is opposite a second
 section, and                  end section. The Zio Monitor also includes a mid-section between the first end section and the second
 a mid-section between the     end section that is narrower than the first and second end sections as depicted below.
 first end section and the
 second end section,
 wherein the mid-section is
 narrower than the first end
 section and the second end
 section;




                               (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                               %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                           Page 13 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 207 of 528 PageID #:
                                                         2960



              Claim 1                                           Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                        Page 14 of 142
321652514.2
                  Case 1:24-cv-01355-JDW       Document 48-1 Filed 06/02/25             Page 208 of 528 PageID #:
                                                           2961



              Claim 1                                               Accused Instrumentalities

 1[d] a flexible circuit      The Accused Instrumentalities include a flexible circuit mounted to the second face of the strip, the
 mounted to the second face   flexible circuit comprising a first circuit trace and a second circuit trace. The Zio Monitor satisfies
 of the strip, the flexible   1[d] because the Zio Monitor includes a flexible circuit comprising two circuit traces (i.e., a first
 circuit comprising a first   circuit trace and a second circuit trace). The flexible circuit is mounted to the upper side of the strip
 circuit trace and a second   (i.e., second face).
 circuit trace;




                              (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                              %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                           Page 15 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 209 of 528 PageID #:
                                                         2962



              Claim 1                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                             (Zio Monitor Teardown)




                                                        Page 16 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 210 of 528 PageID #:
                                                         2963



              Claim 1                                          Accused Instrumentalities




                             (https://patentimages.storage.googleapis.com/12/7b/34/ee9a6b3db2a824/US11399760.pdf)

                                                       Page 17 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 211 of 528 PageID #:
                                                         2964



              Claim 1                                          Accused Instrumentalities




                             (https://patentimages.storage.googleapis.com/12/7b/34/ee9a6b3db2a824/US11399760.pdf)




                                                       Page 18 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 212 of 528 PageID #:
                                                         2965



              Claim 1                                          Accused Instrumentalities




                             (https://patentimages.storage.googleapis.com/12/7b/34/ee9a6b3db2a824/US11399760.pdf)




                                                       Page 19 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 213 of 528 PageID #:
                                                         2966



              Claim 1                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/content/patents-trademarks)


                                                        Page 20 of 142
321652514.2
                  Case 1:24-cv-01355-JDW      Document 48-1 Filed 06/02/25          Page 214 of 528 PageID #:
                                                          2967



              Claim 1                                            Accused Instrumentalities

 1[e] a first                The Accused Instrumentalities include a first electrocardiographic electrode and a second
 electrocardiographic        electrocardiographic electrode. The Zio Monitor satisfies 1[e] because the Zio Monitor includes two
 electrode and a second      elecrocardiographic electrodes labeled in the figure below as “1.”
 electrocardiographic
 electrode,




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                         Page 21 of 142
321652514.2
                  Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25            Page 215 of 528 PageID #:
                                                            2968



              Claim 1                                               Accused Instrumentalities

 1[f] wherein the first        The Accused Instrumentalities include wherein the first electrocardiographic electrode and the
 electrocardiographic          second electrocardiographic electrode are configured to sense electrocardiographic signals. The
 electrode and the second      Zio Monitor satisfies 1[f] because the Zio Monitor includes two electrocardiographic electrodes that
 electrocardiographic          sense electrocardiographic signals.
 electrode are configured to
 sense electrocardiographic
 signals,




                               (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                               %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                           Page 22 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 216 of 528 PageID #:
                                                       2969



              Claim 1                                      Accused Instrumentalities




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)


                                                   Page 23 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 217 of 528 PageID #:
                                                       2970



              Claim 1                                      Accused Instrumentalities




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                   Page 24 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 218 of 528 PageID #:
                                                         2971



              Claim 1                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                        Page 25 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 219 of 528 PageID #:
                                                        2972



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 26 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 220 of 528 PageID #:
                                                       2973



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                                                    Page 27 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 221 of 528 PageID #:
                                                       2974



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)

                                                    Page 28 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 222 of 528 PageID #:
                                                       2975



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)


                                                    Page 29 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 223 of 528 PageID #:
                                                       2976



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                             (MAX30003 Datasheet)



                                                    Page 30 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 224 of 528 PageID #:
                                                        2977



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 31 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 225 of 528 PageID #:
                                                       2978



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)

                                                    Page 32 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 226 of 528 PageID #:
                                                       2979



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)

                                                    Page 33 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 227 of 528 PageID #:
                                                       2980



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)


                                                    Page 34 of 142
321652514.2
                  Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25           Page 228 of 528 PageID #:
                                                             2981



              Claim 1                                                Accused Instrumentalities

 1[g] wherein the first         The Accused Instrumentalities include wherein the first electrocardiographic electrode and the
 electrocardiographic           second electrocardiographic electrode are coupled to the flexible circuit. The Zio Monitor satisfies
 electrode and the second       1[g] because the Zio Monitor has electrocardiographic electrodes that are coupled to the flexible
 electrocardiographic           circuit.
 electrode are coupled to the
 flexible circuit,




                                (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                            Page 35 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 229 of 528 PageID #:
                                                        2982



              Claim 1                                         Accused Instrumentalities




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (Zio Monitor Teardown)

                                                      Page 36 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 230 of 528 PageID #:
                                                        2983



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 37 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 231 of 528 PageID #:
                                                        2984



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 38 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 232 of 528 PageID #:
                                                        2985



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)


                                                      Page 39 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 233 of 528 PageID #:
                                                        2986



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 40 of 142
321652514.2
                  Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25                Page 234 of 528 PageID #:
                                                             2987



              Claim 1                                                  Accused Instrumentalities

 1[h] wherein the first        The Accused Instrumentalities include wherein the first electrocardiographic electrode is
 electrocardiographic          conductively exposed at the first face along the first end section of the strip. The Zio Monitor
 electrode is conductively     satisfies 1[h] because the Zio Monitor includes an electrocardiographic electrode conductively
 exposed at the first face     exposed on the upper side (i.e., the first face) along one end (i.e., the first end section) of the strip.
 along the first end section
 of the strip,




                                                (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                 %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                              Page 41 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 235 of 528 PageID #:
                                                        2988



              Claim 1                                         Accused Instrumentalities




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



                                                      Page 42 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 236 of 528 PageID #:
                                                         2989



              Claim 1                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                             (https://vimeo.com/861741895?)




                                                        Page 43 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 237 of 528 PageID #:
                                                        2990



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 44 of 142
321652514.2
                  Case 1:24-cv-01355-JDW      Document 48-1 Filed 06/02/25           Page 238 of 528 PageID #:
                                                          2991



              Claim 1                                             Accused Instrumentalities

 1[i] wherein the second     The Accused Instrumentalities include wherein the second electrocardiographic electrode is
 electrocardiographic        conductively exposed at the first face along the second end section of the strip. The Zio Monitor
 electrode is conductively   satisfies 1[i] because the Zio Monitor includes an electrocardiographic electrode conductively exposed
 exposed at the first face   on the upper side (i.e., the first face) along one end (i.e., the second end section) of the strip.
 along the second end
 section of the strip,




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                         Page 45 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 239 of 528 PageID #:
                                                         2992



              Claim 1                                           Accused Instrumentalities




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                        Page 46 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25        Page 240 of 528 PageID #:
                                                        2993



              Claim 1                                          Accused Instrumentalities




                             (https://vimeo.com/861741895?)




                             (Zio Monitor Teardown)



                                                       Page 47 of 142
321652514.2
                  Case 1:24-cv-01355-JDW            Document 48-1 Filed 06/02/25             Page 241 of 528 PageID #:
                                                                2994



              Claim 1                                                   Accused Instrumentalities

 1[j] wherein the first circuit   The Accused Instrumentalities include wherein the first circuit trace is electrically coupled to the
 trace is electrically coupled    first electrocardiographic electrode. The Zio Monitor satisfies 1[j] because the Zio Monitor includes
 to the first                     circuit traces, one of which is electrically coupled to one of the electrocardiographic electrodes (i.e.,
 electrocardiographic             the first electrocardiographic electrode).
 electrode,




                                  (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                  %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                               Page 48 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 242 of 528 PageID #:
                                                        2995



              Claim 1                                         Accused Instrumentalities




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                      Page 49 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 243 of 528 PageID #:
                                                         2996



              Claim 1                                           Accused Instrumentalities




                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)


                                                        Page 50 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 244 of 528 PageID #:
                                                        2997



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)

                                                      Page 51 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 245 of 528 PageID #:
                                                        2998



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 52 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 246 of 528 PageID #:
                                                        2999



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)


                                                      Page 53 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 247 of 528 PageID #:
                                                        3000



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 54 of 142
321652514.2
                  Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25             Page 248 of 528 PageID #:
                                                              3001



              Claim 1                                                  Accused Instrumentalities

 1[k] wherein the second         The Accused Instrumentalities include wherein the second circuit trace is electrically coupled to the
 circuit trace is electrically   second electrocardiographic electrode. The Zio Monitor satisfies 1[k] because the Zio Monitor
 coupled to the second           includes circuit traces, one of which is coupled to one of the electrocardiographic electrodes (i.e., the
 electrocardiographic            second electrocardiographic electrode).
 electrode, and




                                 (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                 %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                              Page 55 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 249 of 528 PageID #:
                                                        3002



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 56 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 250 of 528 PageID #:
                                                        3003



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 57 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 251 of 528 PageID #:
                                                        3004



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)


                                                      Page 58 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 252 of 528 PageID #:
                                                        3005



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 59 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 253 of 528 PageID #:
                                                         3006



              Claim 1                                           Accused Instrumentalities




                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)


                                                        Page 60 of 142
321652514.2
                  Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25          Page 254 of 528 PageID #:
                                                             3007



              Claim 1                                               Accused Instrumentalities

 1[l] wherein the first         The Accused Instrumentalities include wherein the first electrocardiographic electrode includes an
 electrocardiographic           inline resistor. The Zio Monitor satisfies 1[l] because the Zio Monitor includes an inline resistor
 electrode includes an inline   located on the flexible backing. Further, the inline resister is integrated into the ECG tracings.
 resistor;




                                (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                            Page 61 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 255 of 528 PageID #:
                                                         3008



              Claim 1                                           Accused Instrumentalities




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                        Page 62 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 256 of 528 PageID #:
                                                         3009



              Claim 1                                           Accused Instrumentalities




                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)


                                                        Page 63 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 257 of 528 PageID #:
                                                        3010



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)

                                                      Page 64 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 258 of 528 PageID #:
                                                        3011



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 65 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 259 of 528 PageID #:
                                                        3012



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)


                                                      Page 66 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 260 of 528 PageID #:
                                                        3013



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 67 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25           Page 261 of 528 PageID #:
                                                         3014



              Claim 1                                            Accused Instrumentalities

 1[m] a battery vertically   The Accused Instrumentalities include a battery vertically aligned with a sealed housing. The Zio
 aligned with a sealed       Monitor satisfies 1[m] because the Zio Monitor includes a battery. The battery powers the body worn
 housing,                    device. The battery is located in and vertically aligned with a sealed housing.




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)

                                                        Page 68 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 262 of 528 PageID #:
                                                        3015



              Claim 1                                         Accused Instrumentalities




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                      Page 69 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 263 of 528 PageID #:
                                                        3016



              Claim 1                                         Accused Instrumentalities




                              (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                      Page 70 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 264 of 528 PageID #:
                                                        3017



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 71 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 265 of 528 PageID #:
                                                        3018



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 72 of 142
321652514.2
                  Case 1:24-cv-01355-JDW      Document 48-1 Filed 06/02/25           Page 266 of 528 PageID #:
                                                          3019



              Claim 1                                            Accused Instrumentalities

 1[n] wherein the sealed     The Accused Instrumentalities includes wherein the sealed housing includes rounded edges on a
 housing includes rounded    top surface. The Zio Monitor satisfies 1[n] because the Zio Monitor includes a sealed housing with
 edges on a top surface,     rounded edges on its top surface.




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


                                                         Page 73 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25        Page 267 of 528 PageID #:
                                                        3020



              Claim 1                                          Accused Instrumentalities




                             (https://www.globenewswire.com/news-release/2023/09/26/2749471/0/en/iRhythm-Launches-Next-
                             Generation-Zio-Monitor-and-Enhanced-Zio-Service-Its-Smallest-Lightest-and-Thinnest-Cardiac-
                             Monitor.html)




                             (Zio Monitor Teardown)




                                                       Page 74 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 268 of 528 PageID #:
                                                        3021



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 75 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 269 of 528 PageID #:
                                                         3022



              Claim 1                                           Accused Instrumentalities

 1[o] wherein the sealed     The Accused Instrumentalities include a sealed housing wherein the sealed housing is coupled to
 housing is coupled to the   the flexible backing. The Zio Monitor satisfies 1[o] because the Zio Monitor includes a sealed
 flexible backing, and       housing that is coupled to the flexible backing.




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


                                                        Page 76 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 270 of 528 PageID #:
                                                        3023



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 77 of 142
321652514.2
                  Case 1:24-cv-01355-JDW      Document 48-1 Filed 06/02/25          Page 271 of 528 PageID #:
                                                          3024



              Claim 1                                            Accused Instrumentalities

 1[p] wherein the sealed     The Accused Instrumentalities include a sealed housing wherein the sealed housing includes a
 housing includes a          processor. The Zio Monitor satisfies 1[p] because the Zio Monitor has a processer in its sealed
 processor,                  housing.




                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)




                                                         Page 78 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 272 of 528 PageID #:
                                                        3025



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 79 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 273 of 528 PageID #:
                                                        3026



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)




                                                      Page 80 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 274 of 528 PageID #:
                                                        3027



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 81 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 275 of 528 PageID #:
                                                       3028



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                                                    Page 82 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 276 of 528 PageID #:
                                                       3029



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)

                                                    Page 83 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 277 of 528 PageID #:
                                                       3030



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)


                                                    Page 84 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 278 of 528 PageID #:
                                                       3031



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                             (MAX30003 Datasheet)



                                                    Page 85 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 279 of 528 PageID #:
                                                        3032



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 86 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 280 of 528 PageID #:
                                                       3033



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)

                                                    Page 87 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 281 of 528 PageID #:
                                                       3034



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)

                                                    Page 88 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 282 of 528 PageID #:
                                                       3035



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)


                                                    Page 89 of 142
321652514.2
                  Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25            Page 283 of 528 PageID #:
                                                            3036



              Claim 1                                               Accused Instrumentalities

 1[q] wherein the processor    The Accused Instrumentalities include a processor wherein the processor is electrically coupled to
 is electrically coupled to    the first electrocardiographic electrode, the second electrocardiographic electrode, and the battery.
 the first                     The Zio Monitor satisfies 1[q] because the Zio Monitor includes a processor that is electrically
 electrocardiographic          coupled to the electrodes and the battery.
 electrode, the second
 electrocardiographic
 electrode, and the battery,




                               (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                               %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                           Page 90 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 284 of 528 PageID #:
                                                         3037



              Claim 1                                           Accused Instrumentalities




                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)

                                                        Page 91 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 285 of 528 PageID #:
                                                        3038



              Claim 1                                         Accused Instrumentalities




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                      Page 92 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 286 of 528 PageID #:
                                                        3039



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 93 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 287 of 528 PageID #:
                                                        3040



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 94 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 288 of 528 PageID #:
                                                        3041



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)


                                                      Page 95 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 289 of 528 PageID #:
                                                        3042



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 96 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 290 of 528 PageID #:
                                                        3043



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 97 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 291 of 528 PageID #:
                                                       3044



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                                                    Page 98 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 292 of 528 PageID #:
                                                       3045



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)

                                                    Page 99 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 293 of 528 PageID #:
                                                       3046



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)


                                                    Page 100 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 294 of 528 PageID #:
                                                       3047



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                             (MAX30003 Datasheet)



                                                    Page 101 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 295 of 528 PageID #:
                                                        3048



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 102 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 296 of 528 PageID #:
                                                       3049



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)

                                                    Page 103 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 297 of 528 PageID #:
                                                       3050



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)

                                                    Page 104 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 298 of 528 PageID #:
                                                       3051



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)



                                                    Page 105 of 142
321652514.2
                  Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25           Page 299 of 528 PageID #:
                                                             3052



              Claim 1                                               Accused Instrumentalities

 1[r] wherein the processor     The Accused Instrumentalities include a processor wherein the processor is configured to process
 is configured to process the   the electrocardiographic signals sensed via the first electrocardiographic electrode and the second
 electrocardiographic           electrocardiographic electrode. The Zio Monitor satisfies 1[r] because the Zio Monitor processes
 signals sensed via the first   electrocardiographic signals sensed by its electrocardiographic electrodes.
 electrocardiographic
 electrode and the second
 electrocardiographic
 electrode; and




                                (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                           Page 106 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 300 of 528 PageID #:
                                                       3053



              Claim 1                                      Accused Instrumentalities




                             https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf




                                                   Page 107 of 142
321652514.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 301 of 528 PageID #:
                                                         3054



              Claim 1                                           Accused Instrumentalities




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                       Page 108 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 302 of 528 PageID #:
                                                        3055



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 109 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 303 of 528 PageID #:
                                                        3056



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)




                                                      Page 110 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 304 of 528 PageID #:
                                                        3057



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 111 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 305 of 528 PageID #:
                                                       3058



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                                                    Page 112 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 306 of 528 PageID #:
                                                       3059



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)

                                                    Page 113 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 307 of 528 PageID #:
                                                       3060



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)



                                                    Page 114 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 308 of 528 PageID #:
                                                       3061



              Claim 1                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                             (MAX30003 Datasheet)



                                                    Page 115 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 309 of 528 PageID #:
                                                        3062



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 116 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 310 of 528 PageID #:
                                                       3063



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)

                                                    Page 117 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 311 of 528 PageID #:
                                                       3064



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)

                                                    Page 118 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 312 of 528 PageID #:
                                                       3065



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)




                                                    Page 119 of 142
321652514.2
                  Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25           Page 313 of 528 PageID #:
                                                             3066



              Claim 1                                                Accused Instrumentalities

 1[s] a wireless transceiver,   The Accused Instrumentalities include a wireless transceiver. The Zio Monitor satisfies 1[s]
 wherein the wireless           because the Zio Monitor includes a wireless transceiver and a battery. The wireless transceiver draws
 transceiver draws power        power from the battery.
 from the battery.




                                (Zio Monitor Teardown)




                                                           Page 120 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 314 of 528 PageID #:
                                                        3067



              Claim 1                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 121 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 315 of 528 PageID #:
                                                       3068



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)

                                                    Page 122 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 316 of 528 PageID #:
                                                       3069



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)

                                                    Page 123 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 317 of 528 PageID #:
                                                       3070



              Claim 1                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)


                                                    Page 124 of 142
321652514.2
                  Case 1:24-cv-01355-JDW      Document 48-1 Filed 06/02/25             Page 318 of 528 PageID #:
                                                          3071



              Claim 2                                             Accused Instrumentalities

 2. The wearable             The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography         Claim 1, wherein the mid-section comprises a first edge parallel to a second edge. The Zio Monitor
 monitoring device of        satisfies Claim 2 because the Zio Monitor includes a mid-section that is narrower than each end
 Claim 1, wherein the mid-   section. See, e.g., 1[c]; see also 8[d]. The mid-section has two edges (i.e., a first edge and a second
 section comprises a first   edge) that are parallel to each other. See, e.g., 1[c]; see also 8[d].
 edge parallel to a second
 edge.




                                                         Page 125 of 142
321652514.2
                  Case 1:24-cv-01355-JDW       Document 48-1 Filed 06/02/25           Page 319 of 528 PageID #:
                                                           3072




              Claim 3                                              Accused Instrumentalities

 3. The wearable               The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography           Claim 1, wherein the wireless transceiver is configured to communicate with an external device via
 monitoring device of          Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim 3
 Claim 1, wherein the          because the Zio Monitor includes a wireless transceiver that communicates with an external device,
 wireless transceiver is       for example, via Bluetooth. See, e.g., 1[s].
 configured to communicate
 with an external device via
 Wi-Fi, mobile phone
 communication standards,
 or Bluetooth.




                               (Zio Monitor Teardown)




                                                          Page 126 of 142
321652514.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 320 of 528 PageID #:
                                                        3073



              Claim 3                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 127 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 321 of 528 PageID #:
                                                       3074



              Claim 3                                       Accused Instrumentalities




                             (MAX32666 Datasheet)

                                                    Page 128 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 322 of 528 PageID #:
                                                       3075



              Claim 3                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)

                                                    Page 129 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 323 of 528 PageID #:
                                                       3076



              Claim 3                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)


                                                    Page 130 of 142
321652514.2
                  Case 1:24-cv-01355-JDW           Document 48-1 Filed 06/02/25             Page 324 of 528 PageID #:
                                                               3077



              Claim 6                                                  Accused Instrumentalities

 6. The wearable                 The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography             Claim 1, wherein the adhesive covering the portion of the first face of the strip is provided on the
 monitoring device of            first end section and the second end section only. The Zio Monitor satisfies Claim 6 because the Zio
 Claim 1, wherein the            Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second face). See 1[b]. The
 adhesive covering the           Zio Monitor includes two wing portions that are covered in adhesive to adhere the strip to skin of a
 portion of the first face of    patient. See id. Further, the mid-section portion of the Zio Monitor is not covered in adhesive. See
 the strip is provided on the    id.
 first end section and the
 second end section only.



              Claim 8                                                  Accused Instrumentalities

 8[pre] A wearable               To the extent the preamble is deemed to be a limitation, the Accused Instrumentalities include a
 electrocardiography             wearable electrocardiography monitoring device in accordance with this claim. The Zio Monitor
 monitoring device,              satisfies 8[pre] because the Zio Monitor is a device that is worn on the patient’s body. See 1[pre].
 comprising:
 8[a] a flexible backing         The Accused Instrumentalities include a flexible backing including a strip. The Zio Monitor
 including a strip               satisfies 8[a] because the Zio Monitor includes a flexible backing including a strip. See 1[a].
 comprising:
 8[b] a first face and a         The Accused Instrumentalities include a first face and a second face, wherein a portion of the first
 second face, wherein a          face is covered in adhesive to adhere the strip to skin of a patient. The Zio Monitor satisfies 8[b]
 portion of the first face is    because the Zio Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second
 covered in adhesive to          face). See 1[b]; 6. The Zio Monitor includes two wing portions that are covered in adhesive to adhere
 adhere the strip to skin of a   the strip to skin of a patient. See 1[b]; 6.
 patient,
 8[c] a first end section, a     The Accused Instrumentalities include a first end section, a second end section opposite the first
 second end section              end section, and a mid-section between the first end section and the second end section. The Zio
 opposite the first end          Monitor satisfies 8[c] because the Zio Monitor includes a first end section that is opposite a second

                                                              Page 131 of 142
321652514.2
                  Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25            Page 325 of 528 PageID #:
                                                             3078



              Claim 8                                                Accused Instrumentalities

 section, and a mid-section     end section. See 1[c]. The Zio Monitor also includes a mid-section between the first end section and
 between the first end          the second end section. See id.
 section and the second end
 section;
 8[d] wherein the mid-          The Accused Instrumentalities include a mid-section wherein the mid-section is narrower than the
 section is narrower than the   first end section and the second end section, and wherein the mid-section comprises a first edge
 first end section and the      parallel to a second edge. The Zio Monitor satisfies 8[d] because the Zio Monitor includes a mid-
 second end section, and        section that is narrower than each end section. See 1[c]. The mid-section has two edges (i.e., a first
 wherein the mid-section        edge and a second edge) that are parallel to each other. See, e.g., id.
 comprises a first edge
 parallel to a second edge;




                                (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                            Page 132 of 142
321652514.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25         Page 326 of 528 PageID #:
                                                       3079



              Claim 8                                        Accused Instrumentalities




                                           (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                               (Zio Monitor Teardown)




                                                    Page 133 of 142
321652514.2
                  Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25              Page 327 of 528 PageID #:
                                                              3080



              Claim 8                                                  Accused Instrumentalities

 8[e] a flexible circuit        The Accused Instrumentalities include a flexible circuit mounted to the second face of the strip, the
 mounted to the second face     flexible circuit comprising a first circuit trace and a second circuit trace. The Zio Monitor satisfies
 of the strip, the flexible     8[e] because the Zio Monitor includes a flexible circuit comprising two circuit traces (i.e., a first
 circuit comprising a first     circuit trace and a second circuit trace). See 1[d]. The flexible circuit is mounted to the upper side of
 circuit trace and a second     the strip (i.e., second face). See id.
 circuit trace;
 8[f] a first                   The Accused Instrumentalities include a first electrocardiographic electrode and a second
 electrocardiographic           electrocardiographic electrode. The Zio Monitor satisfies 8[f] because the Zio Monitor includes two
 electrode and a second         elecrocardiographic electrodes. See 1[e].
 electrocardiographic
 electrode,
 8[g] wherein the first         The Accused Instrumentalities include wherein the first electrocardiographic electrode and the
 electrocardiographic           second electrocardiographic electrode are configured to sense electrocardiographic signals. The
 electrode and the second       Zio Monitor satisfies 8[g] because the Zio Monitor includes two electrocardiographic electrodes that
 electrocardiographic           sense electrocardiographic signals. See 1[f].
 electrode are configured to
 sense electrocardiographic
 signals,
 8[h] wherein the first         The Accused Instrumentalities include wherein the first electrocardiographic electrode and the
 electrocardiographic           second electrocardiographic electrode are coupled to the flexible circuit. The Zio Monitor satisfies
 electrode and the second       8[h] because the Zio Monitor has electrocardiographic electrodes that are coupled to the flexible
 electrocardiographic           circuit. See 1[g].
 electrode are coupled to the
 flexible circuit,
 8[i] wherein the first         The Accused Instrumentalities include wherein the first electrocardiographic electrode is
 electrocardiographic           conductively exposed at the first face along the first end section of the strip. The Zio Monitor
 electrode is conductively      satisfies 8[i] because the Zio Monitor includes an electrocardiographic electrode conductively exposed
 exposed at the first face      on the upper side (i.e., the first face) along one end (i.e., the first end section) of the strip. See 1[h].



                                                             Page 134 of 142
321652514.2
                   Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25              Page 328 of 528 PageID #:
                                                               3081



              Claim 8                                                   Accused Instrumentalities

 along the first end section
 of the strip,
 8[j] wherein the second         The Accused Instrumentalities include wherein the second electrocardiographic electrode is
 electrocardiographic            conductively exposed at the first face along the second end section of the strip. The Zio Monitor
 electrode is conductively       satisfies 8[j] because the Zio Monitor includes an electrocardiographic electrode conductively exposed
 exposed at the first face       on the upper side (i.e., the first face) along one end (i.e., the second end section) of the strip. See 1[i].
 along the second end
 section of the strip,
 8[k] wherein the first          The Accused Instrumentalities include wherein the first circuit trace is electrically coupled to the
 circuit trace is electrically   first electrocardiographic electrode. The Zio Monitor satisfies 8[k] because the Zio Monitor includes
 coupled to the first            circuit traces, one of which is electrically coupled to one of the electrocardiographic electrodes (i.e.,
 electrocardiographic            the first electrocardiographic electrode). See 1[j].
 electrode, and
 8[l] wherein the second         The Accused Instrumentalities include wherein the second circuit trace is electrically coupled to the
 circuit trace is electrically   second electrocardiographic electrode. The Zio Monitor satisfies 8[l] because the Zio Monitor
 coupled to the second           includes circuit traces, one of which is coupled to one of the electrocardiographic electrodes (i.e., the
 electrocardiographic            second electrocardiographic electrode). See 1[k].
 electrode;
 8[m] wherein the first          The Accused Instrumentalities include wherein the first electrocardiographic electrode includes an
 electrocardiographic            inline resistor. The Zio Monitor satisfies 8[m] because the Zio Monitor includes an inline resistor
 electrode includes an inline    located on the flexible backing. Further, the inline resister is integrated into the ECG tracings. See
 resistor;                       1[l].
 8[n] a battery;                 The Accused Instrumentalities include a battery. The Zio Monitor satisfies 8[n] because the Zio
                                 Monitor includes a battery. See 1[m]. The battery powers the body worn device. See id.
 8[o] a wireless transceiver,    The Accused Instrumentalities include a wireless transceiver, wherein the wireless transceiver
 wherein the wireless            draws power from the battery. The Zio Monitor satisfies 8[o] because the Zio Monitor includes a
 transceiver draws power         wireless transceiver that draws power from the battery. See 1[s].
 from the battery; and


                                                              Page 135 of 142
321652514.2
                  Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25            Page 329 of 528 PageID #:
                                                             3082



              Claim 8                                                Accused Instrumentalities

 8[p] a sealed housing          The Accused Instrumentalities include a sealed housing having rounded edges on a top surface.
 having rounded edges on a      The Zio Monitor satisfies 8[p] because the Zio Monitor includes a sealed housing with rounded edges
 top surface,                   on its top surface. See 1[n].

 8[q] wherein the sealed        The Accused Instrumentalities include a sealed housing wherein the sealed housing is coupled to
 housing is coupled to the      the flexible backing. The Zio Monitor satisfies 8[q] because the Zio Monitor includes a sealed
 flexible backing, and          housing that is coupled to the flexible backing. See 1[o].
 8[r] wherein the sealed        The Accused Instrumentalities include a sealed housing wherein the sealed housing includes a
 housing includes a             processor. The Zio Monitor satisfies 8[r] because the Zio Monitor has a processer in its sealed
 processor,                     housing. See 1[p].
 8[s] wherein the processor     The Accused Instrumentalities include a processor wherein the processor is electrically coupled to
 is electrically coupled to     the first electrocardiographic electrode, the second electrocardiographic electrode, and the battery.
 the first                      The Zio Monitor satisfies 8[s] because the Zio Monitor includes a processor that is electrically
 electrocardiographic           coupled to the electrodes and the battery. See 1[q].
 electrode, the second
 electrocardiographic
 electrode, and the battery,
 8[t] wherein the processor     The Accused Instrumentalities include a processor wherein the processor is configured to process
 is configured to process the   the electrocardiographic signals sensed via the first electrocardiographic electrode and the second
 electrocardiographic           electrocardiographic electrode. The Zio Monitor satisfies 8[t] because the Zio Monitor processes
 signals sensed via the first   electrocardiographic signals sensed by its electrocardiographic electrodes. See 1[r].
 electrocardiographic
 electrode and the second
 electrocardiographic
 electrode.




                                                            Page 136 of 142
321652514.2
                   Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25             Page 330 of 528 PageID #:
                                                              3083



              Claim 10                                                 Accused Instrumentalities

 10. The wearable               The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography            Claim 8, wherein the wireless transceiver is configured to communicate with an external device via
 monitoring device of           Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim 10
 Claim 8, wherein the           because the Zio Monitor includes a wireless transceiver that communicates with an external device,
 wireless transceiver is        for example, via Bluetooth. See 1[s]; 3; 8[o].
 configured to communicate
 with an external device via
 Wi-Fi, mobile phone
 communication standards,
 or Bluetooth.


              Claim 13                                                 Accused Instrumentalities

 13. The wearable               The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography            Claim 8, wherein the adhesive covering the portion of the first face of the strip is provided on the
 monitoring device of           first end section and the second end section only. The Zio Monitor satisfies Claim 13 because the
 Claim 8, wherein the           Zio Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second face). See 1[b];
 adhesive covering the          6; 8[b]. The Zio Monitor includes two wing portions that are covered in adhesive to adhere the strip
 portion of the first face of   to skin of a patient. See 1[b]; 6; 8[b]. Further, the mid-section portion of the Zio Monitor is not
 the strip is provided on the   covered in adhesive. See 1[b]; 6; 8[b].
 first end section and the
 second end section only.




                                                             Page 137 of 142
321652514.2
                   Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25             Page 331 of 528 PageID #:
                                                              3084



              Claim 15                                                 Accused Instrumentalities

 15[pre] A wearable              To the extent the preamble is deemed to be a limitation, the Accused Instrumentalities include a
 electrocardiography             wearable electrocardiography monitoring device in accordance with this claim. The Zio Monitor
 monitoring device,              satisfies 15[pre] because the Zio Monitor is a device that is worn on the patient’s body. See 1[pre]. In
 comprising:                     an example, the Zio Monitor monitors patient ECG signals. See id.

 15[a] a flexible backing        The Accused Instrumentalities include a flexible backing including a strip. The Zio Monitor
 including a strip               satisfies 15[a] because the Zio Monitor includes a flexible backing including a strip. See 1[a].
 comprising:
 15[b] a first face and a        The Accused Instrumentalities include a first face and a second face, wherein a portion of the first
 second face, wherein a          face is covered in adhesive to adhere the strip to skin of a patient. The Zio Monitor satisfies 15[b]
 portion of the first face is    because the Zio Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second
 covered in adhesive to          face). See 1[b]. A portion of the under side is covered in adhesive to adhere the strip to skin of a
 adhere the strip to skin of a   patient. See id.
 patient,
 1[c] a first end section,       The Accused Instrumentalities include a first end section, a second end section opposite the first
 a second end section            end section, and a mid-section between the first end section and the second end section. The Zio
 opposite the first end          Monitor satisfies 15[c] because the Zio Monitor includes a first end section that is opposite a second
 section, and                    end section. See 1[c]. The Zio Monitor also includes a mid-section between the first end section and
 a mid-section between the       the second end section. See id.
 first end section and the
 second end section,
 wherein the mid-section is
 narrower than the first end
 section and the second end
 section, and
 15[d] wherein the mid-          The Accused Instrumentalities include a mid-section wherein the mid-section is narrower than the
 section comprises a first       first end section and the second end section, and wherein the mid-section comprises a first edge
 edge parallel to a second       parallel to a second edge. The Zio Monitor satisfies 15[d] because the Zio Monitor includes a mid-
 edge;


                                                             Page 138 of 142
321652514.2
                   Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25               Page 332 of 528 PageID #:
                                                              3085



              Claim 15                                                 Accused Instrumentalities

                                section that is narrower than each end section. See, e.g., 1[c]; see also 8[d]. The mid-section has two
                                edges (i.e., a first edge and a second edge) that are parallel to each other. See, e.g., 1[c]; see also 8[d].
 15[e] a flexible circuit       The Accused Instrumentalities include a flexible circuit mounted to the second face of the strip, the
 mounted to the second face     flexible circuit comprising a first circuit trace and a second circuit trace. The Zio Monitor satisfies
 of the strip, the flexible     15[e] because the Zio Monitor includes a flexible circuit comprising two circuit traces (i.e., a first
 circuit comprising a first     circuit trace and a second circuit trace). See 1[d]. The flexible circuit is mounted to the upper side of
 circuit trace and a second     the strip (i.e., second face). See id.
 circuit trace;
 15[f] a first                  The Accused Instrumentalities include a first electrocardiographic electrode and a second
 electrocardiographic           electrocardiographic electrode. The Zio Monitor satisfies 15[f] because the Zio Monitor includes
 electrode and a second         two elecrocardiographic electrodes. See 1[e].
 electrocardiographic
 electrode,
 15[g] wherein the first        The Accused Instrumentalities include wherein the first electrocardiographic electrode and the
 electrocardiographic           second electrocardiographic electrode are configured to sense electrocardiographic signals. The
 electrode and the second       Zio Monitor satisfies 15[g] because the Zio Monitor includes two electrocardiographic electrodes that
 electrocardiographic           sense electrocardiographic signals. See 1[f].
 electrode are configured to
 sense electrocardiographic
 signals,
 15[h] wherein the first        The Accused Instrumentalities include wherein the first electrocardiographic electrode and the
 electrocardiographic           second electrocardiographic electrode are coupled to the flexible circuit. The Zio Monitor satisfies
 electrode and the second       15[h] because the Zio Monitor has electrocardiographic electrodes that are coupled to the flexible
 electrocardiographic           circuit. See 1[g].
 electrode are coupled to the
 flexible circuit,
 15[i] wherein the first        The Accused Instrumentalities include wherein the first electrocardiographic electrode is
 electrocardiographic           conductively exposed at the first face along the first end section of the strip. The Zio Monitor
 electrode is conductively      satisfies 15[i] because the Zio Monitor includes an electrocardiographic electrode conductively

                                                              Page 139 of 142
321652514.2
                   Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25                Page 333 of 528 PageID #:
                                                               3086



              Claim 15                                                   Accused Instrumentalities

 exposed at the first face       exposed on the upper side (i.e., the first face) along one end (i.e., the first end section) of the strip.
 along the first end section     See 1[h].
 of the strip,
 15[j] wherein the second        The Accused Instrumentalities include wherein the second electrocardiographic electrode is
 electrocardiographic            conductively exposed at the first face along the second end section of the strip. The Zio Monitor
 electrode is conductively       satisfies 15[j] because the Zio Monitor includes an electrocardiographic electrode conductively
 exposed at the first face       exposed on the upper side (i.e., the first face) along one end (i.e., the second end section) of the strip.
 along the second end            See 1[i].
 section of the strip,
 15[k] wherein the first         The Accused Instrumentalities include wherein the first circuit trace is electrically coupled to the
 circuit trace is electrically   first electrocardiographic electrode. The Zio Monitor satisfies 15[k] because the Zio Monitor
 coupled to the first            includes circuit traces, one of which is electrically coupled to one of the electrocardiographic
 electrocardiographic            electrodes (i.e., the first electrocardiographic electrode). See 1[j].
 electrode,
 15[l] wherein the second        The Accused Instrumentalities include wherein the second circuit trace is electrically coupled to the
 circuit trace is electrically   second electrocardiographic electrode. The Zio Monitor satisfies 15[l] because the Zio Monitor
 coupled to the second           includes circuit traces, one of which is coupled to one of the electrocardiographic electrodes (i.e., the
 electrocardiographic            second electrocardiographic electrode). See 1[k].
 electrode, and
 15[m] wherein the first         The Accused Instrumentalities include wherein the first electrocardiographic electrode includes an
 electrocardiographic            inline resistor. The Zio Monitor satisfies 15[m] because the Zio Monitor includes an inline resistor
 electrode includes an inline    located on the flexible backing. See 1[l]. Further, the inline resister is integrated into the ECG
 resistor;                       tracings. See id.
 15[n] a battery vertically      The Accused Instrumentalities include a battery vertically aligned with a sealed housing. The Zio
 aligned with a sealed           Monitor satisfies 15[n] because the Zio Monitor includes a battery. See 1[m]. The battery powers the
 housing,                        body worn device. The battery is located in and vertically aligned with a sealed housing. See id.
 15[o] wherein the sealed        The Accused Instrumentalities includes wherein the sealed housing includes rounded edges on a
 housing includes rounded        top surface. The Zio Monitor satisfies 15[o] because the Zio Monitor includes a sealed housing with
 edges on a top surface,         rounded edges on its top surface. See 1[n].

                                                               Page 140 of 142
321652514.2
                   Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25            Page 334 of 528 PageID #:
                                                             3087



              Claim 15                                               Accused Instrumentalities

 15[p] wherein the sealed       The Accused Instrumentalities include a sealed housing wherein the sealed housing is coupled to
 housing is coupled to the      the flexible backing. The Zio Monitor satisfies 15[p] because the Zio Monitor includes a sealed
 flexible backing, and          housing that is coupled to the flexible backing. See 1[o].
 15[q] wherein the sealed       The Accused Instrumentalities include a sealed housing wherein the sealed housing includes a
 housing includes a             processor. The Zio Monitor satisfies 15[q] because the Zio Monitor has a processer in its sealed
 processor,                     housing. See 1[p].
 15[r] wherein the processor    The Accused Instrumentalities include a processor wherein the processor is electrically coupled to
 is electrically coupled to     the first electrocardiographic electrode, the second electrocardiographic electrode, and the battery.
 the first                      The Zio Monitor satisfies 15[r] because the Zio Monitor includes a processor that is electrically
 electrocardiographic           coupled to the electrodes and the battery. See 1[q].
 electrode, the second
 electrocardiographic
 electrode, and the battery,
 15[s] wherein the              The Accused Instrumentalities include a processor wherein the processor is configured to process
 processor is configured to     the electrocardiographic signals sensed via the first electrocardiographic electrode and the second
 process the                    electrocardiographic electrode. The Zio Monitor satisfies 15[s] because the Zio Monitor processes
 electrocardiographic           electrocardiographic signals sensed by its electrocardiographic electrodes. See 1[r].
 signals sensed via the first
 electrocardiographic
 electrode and the second
 electrocardiographic
 electrode; and
 15[t] a wireless transceiver, The Accused Instrumentalities include a wireless transceiver. The Zio Monitor satisfies 15[t]
 wherein the wireless          because the Zio Monitor includes a wireless transceiver and a battery. See 1[s]. The wireless
 transceiver draws power       transceiver draws power from the battery. See 1[s].
 from the battery.




                                                            Page 141 of 142
321652514.2
                   Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25             Page 335 of 528 PageID #:
                                                              3088



              Claim 16                                                 Accused Instrumentalities

 16. The wearable               The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 electrocardiography            Claim 15, wherein the wireless transceiver is configured to communicate with an external device
 monitoring device of           via Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim
 Claim 15, wherein the          16 because the Zio Monitor includes a wireless transceiver that communicates with an external device,
 wireless transceiver is        for example, via Bluetooth. See 1[s]; 15[t]. The wireless transceiver draws power from the battery.
 configured to communicate      See 1[s]; 15[t].
 with an external device via
 Wi-Fi, mobile phone
 communication standards,
 or Bluetooth.



              Claim 19                                                 Accused Instrumentalities

 19. The wearable               The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography            Claim 15, wherein the adhesive covering the portion of the first face of the strip is provided on the
 monitoring device of           first end section and the second end section only. The Zio Monitor satisfies Claim 19 because the
 Claim 15, wherein the          Zio Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second face). See 1[b];
 adhesive covering the          6; 8[b]. The Zio Monitor includes two wing portions that are covered in adhesive to adhere the strip
 portion of the first face of   to skin of a patient. See 1[b]; 6; 8[b]. Further, the mid-section portion of the Zio Monitor is not
 the strip is provided on the   covered in adhesive. See 1[b]; 6; 8[b].
 first end section and the
 second end section only.




                                                             Page 142 of 142
321652514.2
Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25   Page 336 of 528 PageID #:
                                     3089




       EXHIBIT 15
                  Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25             Page 337 of 528 PageID #:
                                                            3090



                                  Claim Chart for U.S. Patent No. 12,171,562 (“the ’562 Patent”)

        The Accused Instrumentalities include, but are not necessarily limited to, the Next-generation Zio Monitor by iRhythm (the “Zio
Monitor”). The Accused Instrumentalities infringe the identified claims of the ’562 Patent, as described below, either directly under 35
U.S.C. § 271(a), or indirectly under 35 U.S.C. §§ 271(b)–(c). The Accused Instrumentalities infringe such claims literally and, to the
extent not literally, under the doctrine of equivalents.

              Claim 8                                                Accused Instrumentalities

 8[pre] A wearable             To the extent the preamble is deemed to be a limitation, the Accused Instrumentalities include a
 electrocardiography           wearable electrocardiography monitoring device in accordance with this claim. The Zio Monitor
 monitoring device,            satisfied 8[pre] because the Zio Monitor is a device that is worn on the patient’s body. In an example,
 comprising:                   the Zio Monitor monitors patient ECG signals.




                               (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                               %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)


                                                             Page 1 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 338 of 528 PageID #:
                                                         3091



              Claim 8                                           Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                         Page 2 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 339 of 528 PageID #:
                                                         3092



              Claim 8                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)

                                                         Page 3 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 340 of 528 PageID #:
                                                       3093



              Claim 8                                      Accused Instrumentalities




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)



                                                    Page 4 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25           Page 341 of 528 PageID #:
                                                         3094



              Claim 8                                            Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/reporting)


                                                         Page 5 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 342 of 528 PageID #:
                                                         3095



              Claim 8                                           Accused Instrumentalities

 8[a] a flexible backing     The Accused Instrumentalities include a flexible backing including a strip. The Zio Monitor
 including a strip           satisfied 8[a] because the Zio Monitor includes a flexible backing including a strip.
 comprising:




                              (https://www.irhythmtech.com/company/news/irhythm-technologies-continues-to-fuel-innovation-in-
                             cardiac-monitoring-and-unveils-two-fda-clearances-for-superior-patient-care)




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                         Page 6 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25         Page 343 of 528 PageID #:
                                                         3096



              Claim 8                                           Accused Instrumentalities

                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                        Page 7 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 344 of 528 PageID #:
                                                         3097



              Claim 8                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                         Page 8 of 192
321819903.2
                  Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25           Page 345 of 528 PageID #:
                                                              3098



              Claim 8                                                Accused Instrumentalities

 8[b] a first face and a         The Accused Instrumentalities include a first face and a second face, wherein a portion of the first
 second face, wherein a          face is covered in adhesive to adhere the strip to skin of a patient. The Zio Monitor satisfies 8[b]
 portion of the first face is    because the Zio Monitor includes an underside (i.e., a first face) and an upper side (i.e., a second
 covered in adhesive to          face). A portion of the underside is covered in adhesive to adhere the strip to skin of a patient.
 adhere the strip to skin of a
 patient,




                                 (Zio Monitor Teardown)




                                 (Zio Monitor Teardown)


                                                              Page 9 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 346 of 528 PageID #:
                                                       3099



              Claim 8                                      Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                   Page 10 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 347 of 528 PageID #:
                                                       3100



              Claim 8                                      Accused Instrumentalities




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                   Page 11 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25         Page 348 of 528 PageID #:
                                                         3101



              Claim 8                                          Accused Instrumentalities




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                             (https://www.irhythmtech.com/company/news/irhythm-technologies-continues-to-fuel-innovation-in-
                             cardiac-monitoring-and-unveils-two-fda-clearances-for-superior-patient-care)

                                                       Page 12 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 349 of 528 PageID #:
                                                       3102



              Claim 8                                      Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                   Page 13 of 192
321819903.2
                  Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25           Page 350 of 528 PageID #:
                                                            3103



              Claim 8                                              Accused Instrumentalities

 8[c] a first end section, a   The Accused Instrumentalities include a first end section, a second end section opposite the first
 second end section            end section, and a mid-section between the first end section and the second end section. The Zio
 opposite the first end        Monitor satisfies 8[c] because the Zio Monitor includes a first end section that is opposite a second
 section, and a mid-section    end section. The Zio Monitor also includes a mid-section between the first end section and the second
 between the first end         end section.
 section and the second end
 section;




                               (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                               %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                           Page 14 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 351 of 528 PageID #:
                                                       3104



              Claim 8                                      Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                   Page 15 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 352 of 528 PageID #:
                                                         3105



              Claim 8                                           Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


                                                        Page 16 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 353 of 528 PageID #:
                                                        3106



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 17 of 192
321819903.2
                  Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25            Page 354 of 528 PageID #:
                                                             3107



              Claim 8                                                Accused Instrumentalities

 8[d] wherein the mid-          The Accused Instrumentalities include a first end section, a second end section opposite the first
 section is narrower than the   end section, and a mid-section between the first end section and the second end section. The Zio
 first end section and the      Monitor satisfies 8[d] because the Zio Monitor includes a mid-section between the first end section
 second end section;            and the second end section that is narrower than the first and second end sections as depicted below.




                                (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                             Page 18 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 355 of 528 PageID #:
                                                         3108



              Claim 8                                           Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                        Page 19 of 192
321819903.2
                  Case 1:24-cv-01355-JDW       Document 48-1 Filed 06/02/25             Page 356 of 528 PageID #:
                                                           3109



              Claim 8                                               Accused Instrumentalities

 8[e] a flexible circuit      The Accused Instrumentalities include a flexible circuit mounted to the second face of the strip, the
 mounted to the second face   flexible circuit comprising a first circuit trace and a second circuit trace. The Zio Monitor satisfies
 of the strip, the flexible   8[e] because the Zio Monitor includes a flexible circuit comprising two circuit traces (i.e., a first
 circuit comprising a first   circuit trace and a second circuit trace). The flexible circuit is mounted to the upper side of the strip
 circuit trace and a second   (i.e., second face).
 circuit trace;




                              (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                              %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                           Page 20 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 357 of 528 PageID #:
                                                         3110



              Claim 8                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                             (Zio Monitor Teardown)




                                                        Page 21 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 358 of 528 PageID #:
                                                         3111



              Claim 8                                          Accused Instrumentalities




                             (https://patentimages.storage.googleapis.com/12/7b/34/ee9a6b3db2a824/US11399760.pdf)

                                                       Page 22 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 359 of 528 PageID #:
                                                         3112



              Claim 8                                          Accused Instrumentalities




                             (https://patentimages.storage.googleapis.com/12/7b/34/ee9a6b3db2a824/US11399760.pdf)




                                                       Page 23 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 360 of 528 PageID #:
                                                         3113



              Claim 8                                          Accused Instrumentalities




                             (https://patentimages.storage.googleapis.com/12/7b/34/ee9a6b3db2a824/US11399760.pdf)




                                                       Page 24 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 361 of 528 PageID #:
                                                         3114



              Claim 8                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/content/patents-trademarks)


                                                        Page 25 of 192
321819903.2
                  Case 1:24-cv-01355-JDW      Document 48-1 Filed 06/02/25          Page 362 of 528 PageID #:
                                                          3115



              Claim 8                                            Accused Instrumentalities

 8[f] a first                The Accused Instrumentalities include a first electrocardiographic electrode and a second
 electrocardiographic        electrocardiographic electrode. The Zio Monitor satisfies 8[f] because the Zio Monitor includes two
 electrode and a second      elecrocardiographic electrodes.
 electrocardiographic
 electrode,




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                         Page 26 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 363 of 528 PageID #:
                                                         3116



              Claim 8                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                             (Zio Monitor Teardown)




                                                        Page 27 of 192
321819903.2
                  Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25            Page 364 of 528 PageID #:
                                                            3117



              Claim 8                                               Accused Instrumentalities

 8[g] wherein the first        The Accused Instrumentalities include wherein the first electrocardiographic electrode and the
 electrocardiographic          second electrocardiographic electrode are configured to sense electrocardiographic signals. The
 electrode and the second      Zio Monitor satisfies 8[g] because the Zio Monitor includes two electrocardiographic electrodes that
 electrocardiographic          sense electrocardiographic signals.
 electrode are configured to
 sense electrocardiographic
 signals,




                               (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                               %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                           Page 28 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 365 of 528 PageID #:
                                                       3118



              Claim 8                                      Accused Instrumentalities




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)


                                                   Page 29 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 366 of 528 PageID #:
                                                       3119



              Claim 8                                      Accused Instrumentalities




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                   Page 30 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 367 of 528 PageID #:
                                                         3120



              Claim 8                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                        Page 31 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 368 of 528 PageID #:
                                                        3121



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 32 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 369 of 528 PageID #:
                                                       3122



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                                                    Page 33 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 370 of 528 PageID #:
                                                       3123



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)

                                                    Page 34 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 371 of 528 PageID #:
                                                       3124



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)


                                                    Page 35 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 372 of 528 PageID #:
                                                       3125



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                             (MAX30003 Datasheet)



                                                    Page 36 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 373 of 528 PageID #:
                                                        3126



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 37 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 374 of 528 PageID #:
                                                       3127



              Claim 8                                       Accused Instrumentalities




                             (MAX32666 Datasheet)

                                                    Page 38 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 375 of 528 PageID #:
                                                       3128



              Claim 8                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)

                                                    Page 39 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 376 of 528 PageID #:
                                                       3129



              Claim 8                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)


                                                    Page 40 of 192
321819903.2
                  Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25           Page 377 of 528 PageID #:
                                                             3130



              Claim 8                                                Accused Instrumentalities

 8[h] wherein the first         The Accused Instrumentalities include wherein the first electrocardiographic electrode and the
 electrocardiographic           second electrocardiographic electrode are coupled to the flexible circuit. The Zio Monitor satisfies
 electrode and the second       8[h] because the Zio Monitor has electrocardiographic electrodes that are coupled to the flexible
 electrocardiographic           circuit.
 electrode are coupled to the
 flexible circuit,




                                (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                            Page 41 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 378 of 528 PageID #:
                                                       3131



              Claim 8                                      Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                   Page 42 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 379 of 528 PageID #:
                                                        3132



              Claim 8                                         Accused Instrumentalities

                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)




                                                      Page 43 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 380 of 528 PageID #:
                                                        3133



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 44 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 381 of 528 PageID #:
                                                        3134



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)


                                                      Page 45 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 382 of 528 PageID #:
                                                        3135



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 46 of 192
321819903.2
                  Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25           Page 383 of 528 PageID #:
                                                            3136



              Claim 8                                               Accused Instrumentalities

 8[i] wherein the first        The Accused Instrumentalities include wherein the first electrocardiographic electrode is
 electrocardiographic          conductively exposed at the first face along the first end section of the strip. The Zio Monitor
 electrode is conductively     satisfies 8[i] because the Zio Monitor includes an electrocardiographic electrode conductively exposed
 exposed at the first face     on the upper side (i.e., the first face) along one end (i.e., the first end section) of the strip.
 along the first end section
 of the strip,




                               (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                               %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                           Page 47 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 384 of 528 PageID #:
                                                       3137



              Claim 8                                      Accused Instrumentalities




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)

                                                   Page 48 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 385 of 528 PageID #:
                                                         3138



              Claim 8                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                             (https://vimeo.com/861741895?)



                                                        Page 49 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 386 of 528 PageID #:
                                                        3139



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 50 of 192
321819903.2
                  Case 1:24-cv-01355-JDW      Document 48-1 Filed 06/02/25           Page 387 of 528 PageID #:
                                                          3140



              Claim 8                                             Accused Instrumentalities

 8[j] wherein the second     The Accused Instrumentalities include wherein the second electrocardiographic electrode is
 electrocardiographic        conductively exposed at the first face along the second end section of the strip. The Zio Monitor
 electrode is conductively   satisfies 8[j] because the Zio Monitor includes an electrocardiographic electrode conductively exposed
 exposed at the first face   on the upper side (i.e., the first face) along one end (i.e., the second end section) of the strip.
 along the second end
 section of the strip,




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                         Page 51 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 388 of 528 PageID #:
                                                         3141



              Claim 8                                           Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                        Page 52 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25        Page 389 of 528 PageID #:
                                                        3142



              Claim 8                                          Accused Instrumentalities




                             (https://vimeo.com/861741895?)




                             (Zio Monitor Teardown)



                                                       Page 53 of 192
321819903.2
                  Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25             Page 390 of 528 PageID #:
                                                              3143



              Claim 8                                                  Accused Instrumentalities

 8[k] wherein the first          The Accused Instrumentalities include wherein the first circuit trace is electrically coupled to the
 circuit trace is electrically   first electrocardiographic electrode. The Zio Monitor satisfies 8[k] because the Zio Monitor includes
 coupled to the first            circuit traces, one of which is electrically coupled to one of the electrocardiographic electrodes (i.e.,
 electrocardiographic            the first electrocardiographic electrode).
 electrode, and




                                 (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                 %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                              Page 54 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 391 of 528 PageID #:
                                                       3144



              Claim 8                                      Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                   Page 55 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 392 of 528 PageID #:
                                                         3145



              Claim 8                                           Accused Instrumentalities




                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)


                                                        Page 56 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 393 of 528 PageID #:
                                                        3146



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)

                                                      Page 57 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 394 of 528 PageID #:
                                                        3147



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 58 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 395 of 528 PageID #:
                                                        3148



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)


                                                      Page 59 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 396 of 528 PageID #:
                                                        3149



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 60 of 192
321819903.2
                  Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25             Page 397 of 528 PageID #:
                                                              3150



              Claim 8                                                  Accused Instrumentalities

 8[l] wherein the second         The Accused Instrumentalities include wherein the second circuit trace is electrically coupled to the
 circuit trace is electrically   second electrocardiographic electrode. The Zio Monitor satisfies 8[l] because the Zio Monitor
 coupled to the second           includes circuit traces, one of which is coupled to one of the electrocardiographic electrodes (i.e., the
 electrocardiographic            second electrocardiographic electrode).
 electrode;




                                 (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                 %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                              Page 61 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 398 of 528 PageID #:
                                                        3151



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 62 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 399 of 528 PageID #:
                                                        3152



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 63 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 400 of 528 PageID #:
                                                        3153



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)


                                                      Page 64 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 401 of 528 PageID #:
                                                        3154



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 65 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 402 of 528 PageID #:
                                                         3155



              Claim 8                                           Accused Instrumentalities




                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)


                                                        Page 66 of 192
321819903.2
                  Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25           Page 403 of 528 PageID #:
                                                             3156



              Claim 8                                               Accused Instrumentalities

 8[m] wherein the first         The Accused Instrumentalities include wherein the first electrocardiographic electrode includes an
 electrocardiographic           inline resistor. The Zio Monitor satisfies 8[m] because the Zio Monitor includes an inline resistor.
 electrode includes an inline
 resistor;




                                (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                            Page 67 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 404 of 528 PageID #:
                                                       3157



              Claim 8                                      Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                   Page 68 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 405 of 528 PageID #:
                                                         3158



              Claim 8                                           Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                        Page 69 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 406 of 528 PageID #:
                                                        3159



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 70 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 407 of 528 PageID #:
                                                        3160



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)




                                                      Page 71 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 408 of 528 PageID #:
                                                        3161



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 72 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 409 of 528 PageID #:
                                                       3162



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                                                    Page 73 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 410 of 528 PageID #:
                                                       3163



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)

                                                    Page 74 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 411 of 528 PageID #:
                                                       3164



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                                                    Page 75 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 412 of 528 PageID #:
                                                       3165



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                                                    Page 76 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 413 of 528 PageID #:
                                                       3166



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                             (MAX30003 Datasheet)


                                                    Page 77 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 414 of 528 PageID #:
                                                         3167



              Claim 8                                           Accused Instrumentalities




                             (MAX30003 Datasheet)




                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)




                                                        Page 78 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 415 of 528 PageID #:
                                                         3168



              Claim 8                                           Accused Instrumentalities




                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)


                                                        Page 79 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 416 of 528 PageID #:
                                                         3169



              Claim 8                                          Accused Instrumentalities




                             (https://patentimages.storage.googleapis.com/12/7b/34/ee9a6b3db2a824/US11399760.pdf)

                                                       Page 80 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 417 of 528 PageID #:
                                                       3170



              Claim 8                                      Accused Instrumentalities




                                                   Page 81 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 418 of 528 PageID #:
                                                         3171



              Claim 8                                          Accused Instrumentalities

                             (https://patentimages.storage.googleapis.com/12/7b/34/ee9a6b3db2a824/US11399760.pdf)




                             (https://patentimages.storage.googleapis.com/12/7b/34/ee9a6b3db2a824/US11399760.pdf)




                                                       Page 82 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 419 of 528 PageID #:
                                                         3172



              Claim 8                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/content/patents-trademarks)


                                                        Page 83 of 192
321819903.2
                   Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25           Page 420 of 528 PageID #:
                                                          3173



              Claim 8                                             Accused Instrumentalities

 8[n] a battery;              The Accused Instrumentalities include a battery. The Zio Monitor satisfies 8[n] because the Zio
                              Monitor includes a battery. The battery powers the body worn device.




                              (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                              %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                              (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                              %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)


                                                         Page 84 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 421 of 528 PageID #:
                                                       3174



              Claim 8                                      Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                   Page 85 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 422 of 528 PageID #:
                                                       3175



              Claim 8                                      Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)


                                                   Page 86 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 423 of 528 PageID #:
                                                        3176



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)

                                                      Page 87 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 424 of 528 PageID #:
                                                        3177



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)


                                                      Page 88 of 192
321819903.2
                  Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25          Page 425 of 528 PageID #:
                                                             3178



              Claim 8                                               Accused Instrumentalities

 8[o] a wireless transceiver;   The Accused Instrumentalities include a wireless transceiver. The Zio Monitor satisfies 8[o]
                                because the Zio Monitor includes a wireless transceiver.




                                (Zio Monitor Teardown)




                                                            Page 89 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 426 of 528 PageID #:
                                                        3179



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 90 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 427 of 528 PageID #:
                                                       3180



              Claim 8                                       Accused Instrumentalities




                             (MAX32666 Datasheet)

                                                    Page 91 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 428 of 528 PageID #:
                                                       3181



              Claim 8                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)

                                                    Page 92 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 429 of 528 PageID #:
                                                       3182



              Claim 8                                       Accused Instrumentalities




                                                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)


                                                    Page 93 of 192
321819903.2
                  Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25            Page 430 of 528 PageID #:
                                                            3183



              Claim 8                                               Accused Instrumentalities

 8[p] a button configured to   The Accused Instrumentalities include a button configured to be pressed to mark an event. The Zio
 be pressed to mark an         Monitor satisfies 8[p] because the Zio Monitor includes a button configured to be pressed by a patient
 event;                        when a symptom (i.e., an event) occurs.




                               (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                               %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                           Page 94 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 431 of 528 PageID #:
                                                       3184



              Claim 8                                      Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                   Page 95 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 432 of 528 PageID #:
                                                       3185



              Claim 8                                      Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                   Page 96 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 433 of 528 PageID #:
                                                       3186



              Claim 8                                      Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                   Page 97 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 434 of 528 PageID #:
                                                        3187



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 98 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25        Page 435 of 528 PageID #:
                                                        3188



              Claim 8                                          Accused Instrumentalities




                             (https://vimeo.com/861741895?)




                                                       Page 99 of 192
321819903.2
                  Case 1:24-cv-01355-JDW      Document 48-1 Filed 06/02/25          Page 436 of 528 PageID #:
                                                          3189



              Claim 8                                            Accused Instrumentalities

 8[q] a sealed housing       The Accused Instrumentalities include a sealed housing having rounded edges on a top surface.
 having rounded edges on a   The Zio Monitor satisfies 8[q] because the Zio Monitor includes a sealed housing with rounded edges
 top surface,                on its top surface.




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                        Page 100 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 437 of 528 PageID #:
                                                         3190



              Claim 8                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                             (https://www.globenewswire.com/news-release/2023/09/26/2749471/0/en/iRhythm-Launches-Next-
                             Generation-Zio-Monitor-and-Enhanced-Zio-Service-Its-Smallest-Lightest-and-Thinnest-Cardiac-
                             Monitor.html)




                                                       Page 101 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 438 of 528 PageID #:
                                                        3191



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)


                                                      Page 102 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 439 of 528 PageID #:
                                                         3192



              Claim 8                                           Accused Instrumentalities

 8[r] wherein the sealed     The Accused Instrumentalities include a sealed housing wherein the sealed housing is coupled to
 housing is coupled to the   the flexible backing. The Zio Monitor satisfies 8[r] because the Zio Monitor includes a sealed
 flexible backing, and       housing that is coupled to the flexible backing.




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                       Page 103 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 440 of 528 PageID #:
                                                         3193



              Claim 8                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                             (Zio Monitor Teardown)




                                                       Page 104 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 441 of 528 PageID #:
                                                        3194



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 105 of 192
321819903.2
                  Case 1:24-cv-01355-JDW      Document 48-1 Filed 06/02/25          Page 442 of 528 PageID #:
                                                          3195



              Claim 8                                            Accused Instrumentalities

 8[s] wherein the sealed     The Accused Instrumentalities include a sealed housing wherein the sealed housing includes a
 housing includes a          processor. The Zio Monitor satisfies 8[s] because the Zio Monitor has a processer in its sealed
 processor,                  housing.




                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)




                                                        Page 106 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 443 of 528 PageID #:
                                                        3196



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 107 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 444 of 528 PageID #:
                                                        3197



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)




                                                      Page 108 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 445 of 528 PageID #:
                                                        3198



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 109 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 446 of 528 PageID #:
                                                       3199



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                                                    Page 110 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 447 of 528 PageID #:
                                                       3200



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)

                                                    Page 111 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 448 of 528 PageID #:
                                                       3201



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)


                                                    Page 112 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 449 of 528 PageID #:
                                                       3202



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                             (MAX30003 Datasheet)



                                                    Page 113 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 450 of 528 PageID #:
                                                        3203



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 114 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 451 of 528 PageID #:
                                                       3204



              Claim 8                                       Accused Instrumentalities




                             (MAX32666 Datasheet)

                                                    Page 115 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 452 of 528 PageID #:
                                                       3205



              Claim 8                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)

                                                    Page 116 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 453 of 528 PageID #:
                                                       3206



              Claim 8                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)


                                                    Page 117 of 192
321819903.2
                  Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25             Page 454 of 528 PageID #:
                                                            3207



              Claim 8                                               Accused Instrumentalities

 8[t] wherein the processor    The Accused Instrumentalities include a processor wherein the processor is electrically coupled to
 is electrically coupled to    the first electrocardiographic electrode, the second electrocardiographic electrode, and the battery.
 the first                     The Zio Monitor satisfies 8[t] because the Zio Monitor includes a processor that is electrically coupled
 electrocardiographic          to the electrodes and the battery.
 electrode, the second
 electrocardiographic
 electrode, and the battery,




                               (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                               %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                           Page 118 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 455 of 528 PageID #:
                                                         3208



              Claim 8                                           Accused Instrumentalities




                             (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                             monitor)

                                                       Page 119 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 456 of 528 PageID #:
                                                       3209



              Claim 8                                      Accused Instrumentalities




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)


                                                   Page 120 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 457 of 528 PageID #:
                                                        3210



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)

                                                      Page 121 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 458 of 528 PageID #:
                                                        3211



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 122 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 459 of 528 PageID #:
                                                        3212



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)


                                                      Page 123 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 460 of 528 PageID #:
                                                        3213



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 124 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 461 of 528 PageID #:
                                                        3214



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 125 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 462 of 528 PageID #:
                                                       3215



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                                                    Page 126 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 463 of 528 PageID #:
                                                       3216



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)

                                                    Page 127 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 464 of 528 PageID #:
                                                       3217



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)


                                                    Page 128 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 465 of 528 PageID #:
                                                       3218



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                             (MAX30003 Datasheet)



                                                    Page 129 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 466 of 528 PageID #:
                                                        3219



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 130 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 467 of 528 PageID #:
                                                       3220



              Claim 8                                       Accused Instrumentalities




                             (MAX32666 Datasheet)

                                                    Page 131 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 468 of 528 PageID #:
                                                       3221



              Claim 8                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)

                                                    Page 132 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 469 of 528 PageID #:
                                                       3222



              Claim 8                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)



                                                    Page 133 of 192
321819903.2
                  Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25           Page 470 of 528 PageID #:
                                                             3223



              Claim 8                                               Accused Instrumentalities

 8[u] wherein the processor     The Accused Instrumentalities include a processor wherein the processor is configured to process
 is configured to process the   the electrocardiographic signals sensed via the first electrocardiographic electrode and the second
 electrocardiographic           electrocardiographic electrode. The Zio Monitor satisfies 8[u] because the Zio Monitor’s processor
 signals sensed via the first   processes electrocardiographic signals sensed by its electrocardiographic electrodes.
 electrocardiographic
 electrode and the second
 electrocardiographic
 electrode.




                                (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                                                           Page 134 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25     Page 471 of 528 PageID #:
                                                       3224



              Claim 8                                      Accused Instrumentalities




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                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf




                                                   Page 135 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 472 of 528 PageID #:
                                                         3225



              Claim 8                                           Accused Instrumentalities




                             (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                             %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                       Page 136 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 473 of 528 PageID #:
                                                        3226



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)



                                                      Page 137 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 474 of 528 PageID #:
                                                        3227



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                             (Zio Monitor Teardown)




                                                      Page 138 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 475 of 528 PageID #:
                                                        3228



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 139 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 476 of 528 PageID #:
                                                       3229



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                                                    Page 140 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 477 of 528 PageID #:
                                                       3230



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)

                                                    Page 141 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 478 of 528 PageID #:
                                                       3231



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)



                                                    Page 142 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 479 of 528 PageID #:
                                                       3232



              Claim 8                                       Accused Instrumentalities




                             (MAX30003 Datasheet)




                             (MAX30003 Datasheet)



                                                    Page 143 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 480 of 528 PageID #:
                                                        3233



              Claim 8                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 144 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 481 of 528 PageID #:
                                                       3234



              Claim 8                                       Accused Instrumentalities




                             (MAX32666 Datasheet)

                                                    Page 145 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 482 of 528 PageID #:
                                                       3235



              Claim 8                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)

                                                    Page 146 of 192
321819903.2
                  Case 1:24-cv-01355-JDW   Document 48-1 Filed 06/02/25      Page 483 of 528 PageID #:
                                                       3236



              Claim 8                                       Accused Instrumentalities




                             (MAX32666 Datasheet)




                             (MAX32666 Datasheet)




                                                    Page 147 of 192
321819903.2
                  Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25           Page 484 of 528 PageID #:
                                                              3237




              Claim 9                                                 Accused Instrumentalities

 9. The wearable                 The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography             Claim 8, wherein the battery is vertically aligned with the sealed housing. The Zio Monitor satisfies
 monitoring device of            Claim 9 because the Zio Monitor includes a battery that is located in the sealed housing, and is,
 Claim 8, wherein the            therefore, vertically aligned with the sealed housing. See 8[n].
 battery is vertically aligned
 with the sealed housing.




                                 (Zio Monitor Teardown)




                                                            Page 148 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 485 of 528 PageID #:
                                                        3238



              Claim 9                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 149 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 486 of 528 PageID #:
                                                        3239



              Claim 9                                         Accused Instrumentalities




                             (Zio Monitor Teardown)




                                                      Page 150 of 192
321819903.2
                  Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 487 of 528 PageID #:
                                                        3240



              Claim 9                                         Accused Instrumentalities




                             (Zio Monitor Teardown)


                                                      Page 151 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 488 of 528 PageID #:
                                                         3241



              Claim 9                                           Accused Instrumentalities




                             (https://www.irhythmtech.com/content/patents-trademarks)




                                                       Page 152 of 192
321819903.2
                  Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 489 of 528 PageID #:
                                                         3242



              Claim 9                                          Accused Instrumentalities




                             (https://patentimages.storage.googleapis.com/0f/68/ad/d5456996abdaf3/US11589792B1.pdf)


                                                      Page 153 of 192
321819903.2
                   Case 1:24-cv-01355-JDW      Document 48-1 Filed 06/02/25           Page 490 of 528 PageID #:
                                                           3243



              Claim 9                                              Accused Instrumentalities




                               (https://patentimages.storage.googleapis.com/0f/68/ad/d5456996abdaf3/US11589792B1.pdf)


              Claim 10                                             Accused Instrumentalities

 10. The wearable              The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography           Claim 8, wherein the wireless transceiver is configured to communicate with an external device via
 monitoring device of          Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim 10
 Claim 8, wherein the          because the Zio Monitor includes a wireless transceiver that communicates with an external device,
 wireless transceiver is       for example, via Bluetooth. See 8[o].
 configured to communicate
 with an external device via
 Wi-Fi, mobile phone
 communication standards,
 or Bluetooth.

                                                          Page 154 of 192
321819903.2
                   Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25            Page 491 of 528 PageID #:
                                                             3244




              Claim 11                                               Accused Instrumentalities

 11. The wearable               The Accused Instrumentalities include wherein the electrocardiographic signals are converted to a
 electrocardiography            different format. The Zio Monitor satisfies Claim 11 because the Zio Monitor includes a processor
 monitoring device of           that converts electrocardiographic signals to a different format. See 8[t]-8[u].
 Claim 8, wherein the
 electrocardiographic
 signals are converted to a
 different format.


              Claim 12                                               Accused Instrumentalities

 12. The wearable               The Accused Instrumentalities include wearable electrocardiography monitoring device of Claim
 electrocardiography            11, wherein the electrocardiographic signals are retrieved by one of a server, a client computer, and
 monitoring device of           a mobile device via the wireless transceiver after the electrocardiographic signals are converted to
 Claim 11, wherein the          the different format. The Zio Monitor satisfies Claim 12 because the Zio Monitor includes a
 electrocardiographic           processor that converts electrocardiographic signals to a different format. See 8[t]-8[u].
 signals are retrieved by one
 of a server, a client
 computer, and a mobile
 device via the wireless
 transceiver after the
 electrocardiographic
 signals are converted to the
 different format.


              Claim 13                                               Accused Instrumentalities

 13. The wearable               The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography            Claim 8, wherein the adhesive covering the portion of the first face of the strip is provided on the
 monitoring device of           first end section and the second end section only. The Zio Monitor satisfies Claim 13 because the

                                                            Page 155 of 192
321819903.2
                   Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25             Page 492 of 528 PageID #:
                                                               3245



              Claim 13                                                 Accused Instrumentalities

 Claim 8, wherein the            Zio Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second face). See 8[b].
 adhesive covering the           The Zio Monitor includes two wing portions that are covered in adhesive to adhere the strip to skin of
 portion of the first face of    a patient. See id. Further, the mid-section portion of the Zio Monitor is not covered in adhesive. See
 the strip is provided on the    id.
 first end section and the
 second end section only.


              Claim 14                                                 Accused Instrumentalities

 14. The wearable                The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography             Claim 8, wherein the battery is vertically aligned with the wireless transceiver. The Zio Monitor
 monitoring device of            satisfies Claim 14 because the Zio Monitor includes a battery that is vertically aligned with the
 Claim 8, wherein the            wireless transceiver. See 8[n]; 9.
 battery is vertically aligned
 with the wireless
 transceiver.




                                 (Zio Monitor Teardown)



                                                              Page 156 of 192
321819903.2
                   Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 493 of 528 PageID #:
                                                         3246



              Claim 14                                         Accused Instrumentalities




                              (Zio Monitor Teardown)




                                                       Page 157 of 192
321819903.2
                   Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 494 of 528 PageID #:
                                                         3247



              Claim 14                                         Accused Instrumentalities




                              (Zio Monitor Teardown)




                                                       Page 158 of 192
321819903.2
                   Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 495 of 528 PageID #:
                                                         3248



              Claim 14                                         Accused Instrumentalities




                              (Zio Monitor Teardown)


                                                       Page 159 of 192
321819903.2
                   Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 496 of 528 PageID #:
                                                          3249



              Claim 14                                           Accused Instrumentalities




                              (https://www.irhythmtech.com/content/patents-trademarks)




                                                        Page 160 of 192
321819903.2
                   Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 497 of 528 PageID #:
                                                          3250



              Claim 14                                          Accused Instrumentalities




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                                                       Page 161 of 192
321819903.2
                   Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 498 of 528 PageID #:
                                                          3251



              Claim 14                                          Accused Instrumentalities




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                                                       Page 162 of 192
321819903.2
                   Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25             Page 499 of 528 PageID #:
                                                              3252



              Claim 15                                                 Accused Instrumentalities

 15[pre] A wearable              To the extent the preamble is deemed to be a limitation, the Accused Instrumentalities include a
 electrocardiography             wearable electrocardiography monitoring device in accordance with this claim. The Zio Monitor
 monitoring device,              satisfies 15[pre] because the Zio Monitor is a device that is worn on the patient’s body. See 8[pre]. In
 comprising:                     an example, the Zio Monitor monitors patient ECG signals. See id.

 15[a] a flexible backing        The Accused Instrumentalities include a flexible backing including a strip. The Zio Monitor
 including a strip               satisfies 15[a] because the Zio Monitor includes a flexible backing including a strip. See 8[a].
 comprising:
 15[b] a first face and a        The Accused Instrumentalities include a first face and a second face, wherein a portion of the first
 second face, wherein a          face is covered in adhesive to adhere the strip to skin of a patient. The Zio Monitor satisfies 15[b]
 portion of the first face is    because the Zio Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second
 covered in adhesive to          face). See 8[b]. A portion of the under side is covered in adhesive to adhere the strip to skin of a
 adhere the strip to skin of a   patient. See id.
 patient,
 15[c] a first end section       The Accused Instrumentalities include a first end section opposite a second end section, wherein a
 opposite a second end           mid-section is disposed between the first end section and the second end section. The Zio Monitor
 section, wherein a mid-         satisfies 15[c] because the Zio Monitor includes a first end section that is opposite a second end
 section is disposed             section. See 8[c]. The Zio Monitor also includes a mid-section between the first end section and the
 between the first end           second end section. See 8[c].
 section and the second end
 section,
 15[d] wherein the mid-          The Accused Instrumentalities include wherein the mid-section is narrower than the first end
 section is narrower than the    section and the second end section, and wherein the mid-section includes a first edge parallel to a
 first end section and the       second edge. The Zio Monitor satisfies 15[d] because the Zio Monitor includes a mid-section that is
 second end section, and         narrower than each end section. See 8[d]. The mid-section has two edges (i.e., a first edge and a
 wherein the mid-section         second edge) that are parallel to each other. Id.
 includes a first edge
 parallel to a second edge;
 and


                                                             Page 163 of 192
321819903.2
                   Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25               Page 500 of 528 PageID #:
                                                              3253



              Claim 15                                                  Accused Instrumentalities

 15[e] a flexible circuit,      The Accused Instrumentalities include a flexible circuit, wherein the flexible circuit comprises a
 wherein the flexible circuit   first circuit trace and a second circuit trace on the second face of the flexible backing. The Zio
 comprises a first circuit      Monitor satisfies 15[e] because the Zio Monitor includes a flexible circuit comprising two circuit
 trace and a second circuit     traces (i.e., a first circuit trace and a second circuit trace). See 8[e]. The flexible circuit is mounted to
 trace on the second face of    the upper side of the strip (i.e., second face). See id.
 the flexible backing;
 15[f] a first                  The Accused Instrumentalities include a first electrocardiographic electrode configured to sense
 electrocardiographic           electrocardiographic signals. The Zio Monitor satisfies 15[f] because the Zio Monitor includes two
 electrode configured to        electrocardiographic electrode (i.e., a first electrocardiographic electrode and a second
 sense electrocardiographic     electrocardiographic electrode). See 8[f]-8[g]. The first electrocardiographic electrode senses
 signals,                       electrocardiographic signals. See 8[f]-8[g].
 15[g] wherein the first        The Accused Instrumentalities include wherein the first electrocardiographic electrode is
 electrocardiographic           conductively exposed at the first face along the second end section of the flexible backing. The Zio
 electrode is conductively      Monitor satisfies 15[g] because the Zio Monitor includes an electrocardiographic electrode (i.e., the
 exposed at the first face      first electrocardiographic electrode) conductively exposed on the upper side (i.e., the first face) along
 along the second end           one end (i.e., the second end section) of the strip. See 8[i].
 section of the flexible
 backing, and
 15[h] wherein the first        The Accused Instrumentalities include wherein the first electrocardiographic electrode is
 electrocardiographic           electrically coupled to the first circuit trace. The Zio Monitor satisfies 15[h] because the Zio Monitor
 electrode is electrically      includes circuit traces, one of which (i.e., the first circuit trace) is electrically coupled to one of the
 coupled to the first circuit   electrocardiographic electrodes (i.e., the first electrocardiographic electrode). See 8[k].
 trace;
 15[i] a second                 The Accused Instrumentalities include a second electrocardiographic electrode configured to sense
 electrocardiographic           electrocardiographic signals. The Zio Monitor satisfies 15[i] because the Zio Monitor includes two
 electrode configured to        electrocardiographic electrode (i.e., a first electrocardiographic electrode and a second
 sense electrocardiographic     electrocardiographic electrode). See 8[f]-8[g]. The second electrocardiographic electrode senses
 signals,                       electrocardiographic signals. See 8[f]-8[g]; 15[f].



                                                              Page 164 of 192
321819903.2
                   Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25               Page 501 of 528 PageID #:
                                                             3254



              Claim 15                                                Accused Instrumentalities

 15[j] wherein the second      The Accused Instrumentalities include wherein the second electrocardiographic electrode is
 electrocardiographic          conductively exposed at the first face along the first end section of the flexible backing. The Zio
 electrode is conductively     Monitor satisfies 15[j] because the Zio Monitor includes an electrocardiographic electrode (i.e., the
 exposed at the first face     second electrocardiographic electrode) conductively exposed on the upper side (i.e., the first face)
 along the first end section   along one end (i.e., the first end section) of the strip. See 8[j].
 of the flexible backing,
 15[k] and wherein the         The Accused Instrumentalities include wherein the second electrocardiographic electrode is
 second                        electrically coupled to the second circuit trace. The Zio Monitor satisfies 15[k] because the Zio
 electrocardiographic          Monitor includes circuit traces, one of which (i.e., the first circuit trace) is electrically coupled to one
 electrode is electrically     of the electrocardiographic electrodes (i.e., the first electrocardiographic electrode). See 8[k].
 coupled to the second
 circuit trace;
 15[l] a sealed housing        The Accused Instrumentalities include a sealed housing having rounded edges on a top surface.
 having rounded edges on a     The Zio Monitor satisfies 15[l] because the Zio Monitor includes a sealed housing with rounded edges
 top surface,                  on its top surface. See 8[q].
 15[m] wherein the sealed      The Accused Instrumentalities include a sealed housing wherein the sealed housing is coupled to
 housing is coupled to the     the flexible backing. The Zio Monitor satisfies 15[m] because the Zio Monitor includes a sealed
 flexible backing,             housing that is coupled to the flexible backing. See 8[r].
 15[n] wherein the sealed      The Accused Instrumentalities include a sealed housing wherein the sealed housing includes a
 housing includes a            processor, wherein the processor is electrically coupled to the first electrocardiographic electrode
 processor, wherein the        and the second electrocardiographic electrode. The Zio Monitor satisfies 15[n] because the Zio
 processor is electrically     Monitor has a processer in its sealed housing. See 8[s]-8[t].
 coupled to the first
 electrocardiographic
 electrode and the second
 electrocardiographic
 electrode,
 15[o] wherein the             The Accused Instrumentalities include a processor wherein the processor is configured to process
 processor is configured to    the electrocardiographic signals sensed via the first electrocardiographic electrode and the second

                                                             Page 165 of 192
321819903.2
                   Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25           Page 502 of 528 PageID #:
                                                             3255



              Claim 15                                              Accused Instrumentalities

 process the                    electrocardiographic electrode. The Zio Monitor satisfies 15[o] because the Zio Monitor’s processor
 electrocardiographic           processes electrocardiographic signals sensed by its electrocardiographic electrodes. See 8[u].
 signals sensed via the first
 electrocardiographic
 electrode and the second
 electrocardiographic
 electrode;
 15[p] a button disposed on     The Accused Instrumentalities include a button disposed on the top surface of the sealed housing,
 the top surface of the         wherein the button is configured to be pressed to mark an event. The Zio Monitor satisfies 15[p]
 sealed housing, wherein        because the Zio Monitor includes a button configured to be pressed by a patient when a symptom (i.e.,
 the button is configured to    an event) occurs. See 8[p]. The button is located on the top of the sealed housing. See id.
 be pressed to mark an
 event;
 15[q] a battery disposed       The Accused Instrumentalities include a battery disposed between the processor and the skin of the
 between the processor and      patient, the battery configured to provide power to the processor of the sealed housing. The Zio
 the skin of the patient, the   Monitor satisfies 15[q] because the Zio Monitor includes a battery. See 8[n]; 9; 14. The battery
 battery configured to          powers the body worn device. See 8[n]; 9; 14. The battery is located between the processor and the
 provide power to the           skin of the patient. See 8[n]; 9; 14.
 processor of the sealed
 housing; and




                                                           Page 166 of 192
321819903.2
                   Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 503 of 528 PageID #:
                                                         3256



              Claim 15                                         Accused Instrumentalities




                              (Zio Monitor Teardown)




                              (Zio Monitor Teardown)



                                                       Page 167 of 192
321819903.2
                   Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 504 of 528 PageID #:
                                                         3257



              Claim 15                                         Accused Instrumentalities




                              (Zio Monitor Teardown)




                                                       Page 168 of 192
321819903.2
                   Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 505 of 528 PageID #:
                                                         3258



              Claim 15                                         Accused Instrumentalities




                              (Zio Monitor Teardown)


                                                       Page 169 of 192
321819903.2
                   Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 506 of 528 PageID #:
                                                          3259



              Claim 15                                           Accused Instrumentalities




                              (https://www.irhythmtech.com/content/patents-trademarks)




                                                        Page 170 of 192
321819903.2
                   Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 507 of 528 PageID #:
                                                          3260



              Claim 15                                          Accused Instrumentalities




                              (https://patentimages.storage.googleapis.com/0f/68/ad/d5456996abdaf3/US11589792B1.pdf)


                                                       Page 171 of 192
321819903.2
                   Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 508 of 528 PageID #:
                                                          3261



              Claim 15                                          Accused Instrumentalities




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                                                       Page 172 of 192
321819903.2
                   Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25           Page 509 of 528 PageID #:
                                                             3262



              Claim 15                                              Accused Instrumentalities

 15[r] a wireless transceiver   The Accused Instrumentalities include a wireless transceiver configured to communicate at least a
 configured to communicate      portion of the electrocardiographic signals. The Zio Monitor satisfies 15[r] because the Zio Monitor
 at least a portion of the      includes a wireless transceiver. See 8[o]. The wireless transceiver is configured to communicate
 electrocardiographic           electrocardiographic signals. Id.
 signals.



              Claim 16                                              Accused Instrumentalities

 16. The wearable               The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 electrocardiography            Claim 15, wherein the wireless transceiver is configured to communicate with an external device
 monitoring device of           via Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim
 Claim 15, wherein the          16 because the Zio Monitor includes a wireless transceiver that communicates with an external device,
 wireless transceiver is        for example, via Bluetooth. See 8[o]; 15[r].
 configured to communicate
 with an external device via
 Wi-Fi, mobile phone
 communication standards,
 or Bluetooth.



              Claim 17                                              Accused Instrumentalities

 17. The wearable               The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 electrocardiography            Claim 15, wherein the electrocardiographic signals are converted to a different format. The Zio
 monitoring device of           Monitor satisfies Claim 17 because the Zio Monitor includes a processor that converts
 Claim 15, wherein the          electrocardiographic signals to a different format. See 8[t]-8[u].
 electrocardiographic
 signals are converted to a
 different format.

                                                           Page 173 of 192
321819903.2
                   Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25            Page 510 of 528 PageID #:
                                                             3263



              Claim 18                                               Accused Instrumentalities

 18. The wearable               The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 electrocardiography            Claim 17, wherein the electrocardiographic signals are retrieved by one of a server, a client
 monitoring device of           computer, and a mobile device via the wireless transceiver after the electrocardiographic signals
 Claim 17, wherein the          are converted to the different format. The Zio Monitor satisfies Claim 18 because the Zio Monitor
 electrocardiographic           includes a wireless transceiver that communicates with an external device, for example, via Bluetooth.
 signals are retrieved by one   See 8[o], 8[t]-8[u]. After the electrocardiographic signals are converted to a different format via the
 of a server, a client          processor, (see 8[t]-8[u]), the electrocardiographic signals are received by one of a server, a client
 computer, and a mobile         computer, and a mobile device.
 device via the wireless
 transceiver after the
 electrocardiographic
 signals are converted to the
 different format.




                                (https://go.irhythmtech.com/hubfs/LB10117.01%20-
                                %20ZIO%20MONITOR%20INSTRUCTIONS%20FOR%20USE%2c%20PRINTED%20(2).pdf)



                                                            Page 174 of 192
321819903.2
                   Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25             Page 511 of 528 PageID #:
                                                               3264



              Claim 19                                                  Accused Instrumentalities

 19. The wearable                The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography             Claim 15, wherein the adhesive covering the portion of the first face of the strip is provided on the
 monitoring device of            first end section and the second end section only. The Zio Monitor satisfies Claim 19 because the
 Claim 15, wherein the           Zio Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second face). See 8[b];
 adhesive covering the           15[b]. The Zio Monitor includes two wing portions that are covered in adhesive to adhere the strip to
 portion of the first face is    skin of a patient. See 8[b]; 15[b]. Further, the mid-section portion of the Zio Monitor is not covered
 provided on the first end       in adhesive. See 8[b]; 15[b].
 section and the second end
 section only.



              Claim 20                                                  Accused Instrumentalities

 20. The wearable                The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography             Claim 15, wherein the battery is vertically aligned with the wireless transceiver. The Zio Monitor
 monitoring device of            satisfies Claim 20 because the Zio Monitor includes a battery that is vertically aligned with the
 Claim 15, wherein the           wireless transceiver. See 8[n]; 9; 14; 15[q].
 battery is vertically aligned
 with the wireless
 transceiver.




                                                              Page 175 of 192
321819903.2
                   Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 512 of 528 PageID #:
                                                         3265



              Claim 20                                         Accused Instrumentalities




                              (Zio Monitor Teardown)




                              (Zio Monitor Teardown)



                                                       Page 176 of 192
321819903.2
                   Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 513 of 528 PageID #:
                                                         3266



              Claim 20                                         Accused Instrumentalities




                              (Zio Monitor Teardown)




                                                       Page 177 of 192
321819903.2
                   Case 1:24-cv-01355-JDW    Document 48-1 Filed 06/02/25       Page 514 of 528 PageID #:
                                                         3267



              Claim 20                                         Accused Instrumentalities




                              (Zio Monitor Teardown)


                                                       Page 178 of 192
321819903.2
                   Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25          Page 515 of 528 PageID #:
                                                          3268



              Claim 20                                           Accused Instrumentalities




                              (https://www.irhythmtech.com/content/patents-trademarks)




                                                        Page 179 of 192
321819903.2
                   Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 516 of 528 PageID #:
                                                          3269



              Claim 20                                          Accused Instrumentalities




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                                                       Page 180 of 192
321819903.2
                   Case 1:24-cv-01355-JDW     Document 48-1 Filed 06/02/25        Page 517 of 528 PageID #:
                                                          3270



              Claim 20                                          Accused Instrumentalities




                              (https://patentimages.storage.googleapis.com/0f/68/ad/d5456996abdaf3/US11589792B1.pdf)




                                                       Page 181 of 192
321819903.2
                   Case 1:24-cv-01355-JDW          Document 48-1 Filed 06/02/25             Page 518 of 528 PageID #:
                                                               3271



              Claim 21                                                 Accused Instrumentalities

 21[pre] The wearable            The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography             Claim 15. The Zio Monitor satisfies Claim 15. See, e.g., 15[pre].
 monitoring device of
 Claim 15,
 21[a] wherein the wireless      The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 transceiver is configured to    Claim 15, wherein the wireless transceiver is configured to communicate with an external device
 communicate with an             via Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim
 external device via Wi-Fi,      21[a] because the Zio Monitor includes a wireless transceiver that communicates with an external
 mobile phone                    device, for example, via Bluetooth. See 8[o]; 15[r]; 16.
 communication standards,
 or Bluetooth,
 21[b] wherein the               The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 electrocardiographic            Claim 15, wherein the electrocardiographic signals are converted to a different format. The Zio
 signals are converted to a      Monitor satisfies Claim 21[b] because the Zio Monitor includes a processor that converts
 different format,               electrocardiographic signals to a different format. See 8[t]-8[u]; 15[n]-15[o].
 21[c] wherein the               The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 electrocardiographic            Claim 15, wherein the electrocardiographic signals are retrieved by one of a server, a client
 signals are retrieved by one    computer, and a mobile device via the wireless transceiver after the electrocardiographic signals
 of a server, a client           are converted to the different format. The Zio Monitor satisfies Claim 21[c] because the Zio Monitor
 computer, and a mobile          includes a wireless transceiver that communicates with an external device, for example, via Bluetooth.
 device via the wireless         See 8[o], 8[t]-8[u]; 16. After the electrocardiographic signals are converted to a different format via
 transceiver after the           the processor, see 8[t]-8[u]; 16, the electrocardiographic signals are received by one of a server, a
 electrocardiographic            client computer, and a mobile device.
 signals are converted to the
 different format,
 21[d] wherein the adhesive      The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 covering the portion of the     Claim 15, wherein the adhesive covering the portion of the first face of the strip is provided on the
 first face is provided on the   first end section and the second end section only. The Zio Monitor satisfies Claim 21[d] because the
 first end section and the       Zio Monitor includes an under side (i.e., a first face) and an upper side (i.e., a second face). See 8[b];


                                                              Page 182 of 192
321819903.2
                   Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25             Page 519 of 528 PageID #:
                                                              3272



              Claim 21                                                Accused Instrumentalities

 second end section only,       15[b]; 19. The Zio Monitor includes two wing portions that are covered in adhesive to adhere the
 and                            strip to skin of a patient. See 8[b]; 15[b]; 19. Further, the mid-section portion of the Zio Monitor is
                                not covered in adhesive. See 8[b]; 15[b]; 19.
 21[e] wherein the battery is The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 vertically aligned with the  Claim 15, wherein the battery is vertically aligned with the wireless transceiver. The Zio Monitor
 wireless transceiver.        satisfies Claim 21[e] because the Zio Monitor includes a battery that is vertically aligned with the
                              wireless transceiver. See 15[q]; 20.


              Claim 22                                                Accused Instrumentalities

 22[pre] The wearable           The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography            Claim 15. The Zio Monitor satisfies Claim 22[pre]. See 21[pre]
 monitoring device of
 Claim 15,

 22[a] wherein the wireless     The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 transceiver is configured to   Claim 15, wherein the wireless transceiver is configured to communicate with an external device
 communicate with an            via Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim
 external device via Wi-Fi,     22[a]. See 21[a].
 mobile phone
 communication standards,
 or Bluetooth,
 22[b] wherein the              The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 electrocardiographic           Claim 15, wherein the electrocardiographic signals are retrieved by one of a server, a client
 signals are retrieved by one   computer, and a mobile device via the wireless transceiver after the electrocardiographic signals
 of a server, a client          are converted to the different format. The Zio Monitor satisfies Claim 22[b]. See 21[c].
 computer, and a mobile
 device via the wireless
 transceiver after the

                                                             Page 183 of 192
321819903.2
                   Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25           Page 520 of 528 PageID #:
                                                              3273



              Claim 22                                                Accused Instrumentalities

 electrocardiographic
 signals are converted to a
 different format,
 22[c] wherein the adhesive      The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 covering the portion of the     Claim 15, wherein the adhesive covering the portion of the first face of the strip is provided on the
 first face is provided on the   first end section and the second end section only. The Zio Monitor satisfies Claim 22[c]. See 21[d].
 first end section and the
 second end section only,
 and
 22[d] wherein the battery is The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 vertically aligned with the  Claim 15, wherein the battery is vertically aligned with the wireless transceiver. The Zio Monitor
 wireless transceiver.        satisfies Claim 22[d]. See 21[e].



              Claim 23                                                Accused Instrumentalities

 23[pre] The wearable            The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography             Claim 15. The Zio Monitor satisfies Claim 23[pre]. See 21[pre].
 monitoring device of
 Claim 15,
 23[a] wherein the wireless      The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 transceiver is configured to    Claim 15, wherein the wireless transceiver is configured to communicate with an external device
 communicate with an             via Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim
 external device via Wi-Fi,      23[a]. See 21[a].
 mobile phone
 communication standards,
 or Bluetooth,




                                                            Page 184 of 192
321819903.2
                   Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25           Page 521 of 528 PageID #:
                                                              3274



              Claim 23                                                Accused Instrumentalities

 23[b] wherein the               The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiographic            Claim 15, wherein the electrocardiographic signals are converted to a different format. The Zio
 signals are converted to a      Monitor satisfies Claim 23[b]. See 21[b].
 different format,
 23[c] wherein the adhesive      The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 covering the portion of the     Claim 15, wherein the adhesive covering the portion of the first face of the strip is provided on the
 first face is provided on the   first end section and the second end section only. The Zio Monitor satisfies Claim 23[c]. See 21[d].
 first end section and the
 second end section only,
 and
 23[d] wherein the battery is The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 vertically aligned with the  Claim 15, wherein the battery is vertically aligned with the wireless transceiver. The Zio Monitor
 wireless transceiver.        satisfies Claim 23[d]. See 21[e].



              Claim 24                                                Accused Instrumentalities

 24. The wearable                The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography             Claim 15. The Zio Monitor satisfies Claim 24[pre]. See 21[pre].
 monitoring device of
 Claim 15,
 24[a] wherein the wireless      The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 transceiver is configured to    Claim 15, wherein the wireless transceiver is configured to communicate with an external device
 communicate with an             via Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim
 external device via Wi-Fi,      24[a]. See 21[a].
 mobile phone
 communication standards,
 or Bluetooth,



                                                            Page 185 of 192
321819903.2
                   Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25           Page 522 of 528 PageID #:
                                                             3275



              Claim 24                                              Accused Instrumentalities

 24[b] wherein the              The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiographic           Claim 15, wherein the electrocardiographic signals are converted to a different format. The Zio
 signals are converted to a     Monitor satisfies Claim 24[b]. See 21[b].
 different format,
 24[c] wherein the              The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 electrocardiographic           Claim 15, wherein the electrocardiographic signals are retrieved by one of a server, a client
 signals are retrieved by one   computer, and a mobile device via the wireless transceiver after the electrocardiographic signals
 of a server, a client          are converted to the different format. The Zio Monitor satisfies Claim 24[c]. See 21[c].
 computer, and a mobile
 device via the wireless
 transceiver after the
 electrocardiographic
 signals are converted to the
 different format, and
 24[d] wherein the battery is The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 vertically aligned with the  Claim 15, wherein the battery is vertically aligned with the wireless transceiver. The Zio Monitor
 wireless transceiver.        satisfies Claim 24[d]. See 21[e].



              Claim 25                                              Accused Instrumentalities

 25[pre]. The wearable          The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography            Claim 15. The Zio Monitor satisfies Claim 25[pre]. See 21[pre].
 monitoring device of
 Claim 15,
 25[a] wherein the wireless     The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 transceiver is configured to   Claim 15, wherein the wireless transceiver is configured to communicate with an external device
 communicate with an            via Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim
 external device via Wi-Fi,     25[a]. See 21[a].

                                                           Page 186 of 192
321819903.2
                   Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25            Page 523 of 528 PageID #:
                                                              3276



              Claim 25                                                Accused Instrumentalities

 mobile phone
 communication standards,
 or Bluetooth,
 25[b] wherein the               The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiographic            Claim 15, wherein the electrocardiographic signals are converted to a different format. The Zio
 signals are converted to a      Monitor satisfies Claim 25[b]. See 21[b].
 different format,
 25[c] wherein the               The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 electrocardiographic            Claim 15, wherein the electrocardiographic signals are retrieved by one of a server, a client
 signals are retrieved by one    computer, and a mobile device via the wireless transceiver after the electrocardiographic signals
 of a server, a client           are converted to the different format. The Zio Monitor satisfies Claim 25[c]. See 21[c].
 computer, and a mobile
 device via the wireless
 transceiver after the
 electrocardiographic
 signals are converted to the
 different format, and
 25[d] wherein the adhesive      The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 covering the portion of the     Claim 15, wherein the adhesive covering the portion of the first face of the strip is provided on the
 first face is provided on the   first end section and the second end section only. The Zio Monitor satisfies Claim 25[d]. See 21d].
 first end section and the
 second end section only.



              Claim 26                                                Accused Instrumentalities

 26[pre] The wearable            The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography             Claim 15. The Zio Monitor satisfies Claim 26[pre]. See 21[pre].



                                                             Page 187 of 192
321819903.2
                   Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25           Page 524 of 528 PageID #:
                                                             3277



              Claim 26                                              Accused Instrumentalities

 monitoring device of
 Claim 15,
 26[a] wherein the wireless     The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 transceiver is configured to   Claim 15, wherein the wireless transceiver is configured to communicate with an external device
 communicate with an            via Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim
 external device via Wi-Fi,     26[a]. See 21[a].
 mobile phone
 communication standards,
 or Bluetooth,
 26[b] wherein the              The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiographic           Claim 15, wherein the electrocardiographic signals are converted to a different format. The Zio
 signals are converted to a     Monitor satisfies Claim 26[b]. See 21[b].
 different format, and
 26[c] wherein the              The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 electrocardiographic           Claim 15, wherein the electrocardiographic signals are retrieved by one of a server, a client
 signals are retrieved by one   computer, and a mobile device via the wireless transceiver after the electrocardiographic signals
 of a server, a client          are converted to the different format. The Zio Monitor satisfies Claim 26[c]. See 21[c].
 computer, and a mobile
 device via the wireless
 transceiver after the
 electrocardiographic
 signals are converted to the
 different format.




                                                           Page 188 of 192
321819903.2
                   Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25           Page 525 of 528 PageID #:
                                                              3278



              Claim 27                                                Accused Instrumentalities

 27[pre] The wearable            The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography             Claim 15. The Zio Monitor satisfies Claim 27[pre]. See 21[pre].
 monitoring device of
 Claim 15,
 27[a] wherein the wireless      The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 transceiver is configured to    Claim 15, wherein the wireless transceiver is configured to communicate with an external device
 communicate with an             via Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim
 external device via Wi-Fi,      27[a]. See 21[a].
 mobile phone
 communication standards,
 or Bluetooth,
 27[b] wherein the               The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiographic            Claim 15, wherein the electrocardiographic signals are converted to a different format. The Zio
 signals are converted to a      Monitor satisfies Claim 27[b]. See 21[b].
 different format, and
 27[c] wherein the adhesive      The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 covering the portion of the     Claim 15, wherein the adhesive covering the portion of the first face of the strip is provided on the
 first face is provided on the   first end section and the second end section only. The Zio Monitor satisfies Claim 27[c]. See 21[d].
 first end section and the
 second end section only.



              Claim 28                                                Accused Instrumentalities

 28[pre] The wearable            The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography             Claim 15. The Zio Monitor satisfies Claim 28[pre]. See 21[pre].
 monitoring device of
 Claim 15,



                                                            Page 189 of 192
321819903.2
                   Case 1:24-cv-01355-JDW       Document 48-1 Filed 06/02/25           Page 526 of 528 PageID #:
                                                            3279



              Claim 28                                              Accused Instrumentalities

 28[a] wherein the wireless     The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 transceiver is configured to   Claim 15, wherein the wireless transceiver is configured to communicate with an external device
 communicate with an            via Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim
 external device via Wi-Fi,     28[a]. See 21[a].
 mobile phone
 communication standards,
 or Bluetooth,
 28[b] wherein the              The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiographic           Claim 15, wherein the electrocardiographic signals are converted to a different format. The Zio
 signals are converted to a     Monitor satisfies Claim 28[b]. See 21[b].
 different format, and
 28[c] wherein the battery is The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 vertically aligned with the  Claim 15, wherein the battery is vertically aligned with the wireless transceiver. The Zio Monitor
 wireless transceiver.        satisfies Claim 28[c]. See 21[e].


              Claim 29                                              Accused Instrumentalities

 29[pre] The wearable           The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography            Claim 15. The Zio Monitor satisfies Claim 29[pre]. See 21[pre].
 monitoring device of
 Claim 15,
 29[a] wherein the wireless     The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 transceiver is configured to   Claim 15, wherein the wireless transceiver is configured to communicate with an external device
 communicate with an            via Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim
 external device via Wi-Fi,     29[a]. See 21[a].
 mobile phone
 communication standards,
 or Bluetooth,


                                                           Page 190 of 192
321819903.2
                   Case 1:24-cv-01355-JDW         Document 48-1 Filed 06/02/25           Page 527 of 528 PageID #:
                                                              3280



              Claim 29                                                Accused Instrumentalities

 29[b] wherein the               The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 electrocardiographic            Claim 15, wherein the electrocardiographic signals are retrieved by one of a server, a client
 signals are retrieved by one    computer, and a mobile device via the wireless transceiver after the electrocardiographic signals
 of a server, a client           are converted to the different format. The Zio Monitor satisfies Claim 29[b]. See 21[c].
 computer, and a mobile
 device via the wireless
 transceiver after the
 electrocardiographic
 signals are converted to a
 different format, and
 29[c] wherein the adhesive      The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 covering the portion of the     Claim 15, wherein the adhesive covering the portion of the first face of the strip is provided on the
 first face is provided on the   first end section and the second end section only. The Zio Monitor satisfies Claim 29[c]. See 21[d].
 first end section and the
 second end section only.



              Claim 30                                                Accused Instrumentalities

 30[pre]. The wearable           The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 electrocardiography             Claim 15. The Zio Monitor satisfies Claim 30[pre]. See 21[pre].
 monitoring device of
 Claim 15,
 30[a] wherein the wireless      The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 transceiver is configured to    Claim 15, wherein the wireless transceiver is configured to communicate with an external device
 communicate with an             via Wi-Fi, mobile phone communication standards, or Bluetooth. The Zio Monitor satisfies Claim
 external device via Wi-Fi,      30[a]. See 21[a].
 mobile phone
 communication standards,
 or Bluetooth,

                                                            Page 191 of 192
321819903.2
                   Case 1:24-cv-01355-JDW        Document 48-1 Filed 06/02/25           Page 528 of 528 PageID #:
                                                             3281



              Claim 30                                              Accused Instrumentalities

 30[b] wherein the              The Accused Instrumentalities includes the wearable electrocardiography monitoring device of
 electrocardiographic           Claim 15, wherein the electrocardiographic signals are retrieved by one of a server, a client
 signals are retrieved by one   computer, and a mobile device via the wireless transceiver after the electrocardiographic signals
 of a server, a client          are converted to the different format. The Zio Monitor satisfies Claim 30[b]. See 21[c].
 computer, and a mobile
 device via the wireless
 transceiver after the
 electrocardiographic
 signals are converted to a
 different format, and
 30[c] wherein the battery is The Accused Instrumentalities include the wearable electrocardiography monitoring device of
 vertically aligned with the  Claim 15, wherein the battery is vertically aligned with the wireless transceiver. The Zio Monitor
 wireless transceiver.        satisfies Claim 30[c]. See 21[e].




                                                           Page 192 of 192
321819903.2
